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RALPH W. BAKER, JR SOHY PROSE OFF ing
Plaintiff 2822 SEP 19 AM iO: 12

By: Ralph W. Baker, Jr.

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

----X Case No. RALPH W. BAKER, JR,

Plaintiff, COMPLAINT
JURY TRIAL
DEMANDED

-against-

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Defendants.

Plaintiff Ralph W. Baker, Jr. as and for his Complaint against defendants TA-NEHISI
COATES, and BCP LITERARY, INC., and THE ATLANTIC, and LAURENE POWELL
JOBS, and DAVID G. BRADLEY, and BERTELSMANN SE & Co. KGaA, and SPIEGEL &
GRAU, and CHRIS JACKSON, and NICOLE COUNTS, and VICTORY MATSUI, and
KENYATTA MATTHEWS, and THE APOLLO THEATER, and MACEO-LYN, and
KAMILAH FORBES, and, SUSAN KELECHI WATSON, and WARNER BROS.
DISCOVERY, INC. and MS. OPRAH WINFREY, and THE WALT DISNEY COMPANY, and
APPLE, INC., and, PLAN-B, and MGM STUDIOS, and RYAN COOGLER, and JOE ROBERT

COLE, and ROXNE GAY, and YONA HARVEY, alleges as follows:

PRELIMINARY STATEMENT

Pursuant to 17 U.S. Code § 501 — Infringement of copyright states anyone who violates any of
the exclusive rights of the copyright owner as provided by sections 106 through 122 or imports
copies into the United States in violation of section 602 is an infringer of copyright or right of the

author.

1. This is an action for inter alia, Ta-Nehisi Coates’ willful copyright infringement in
Coates’ books, articles, and movies including but not limited to, Between the World and Me, We
Were Eight Years in Power: An American Tragedy (“We Were Eight Years In Power”), The
Water Dancer: A Novel (“The Water Dancer’), Black Panther comic book series, Captain

America comic book series, Black Panther movie, and every article Coates has written for The

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Atlantic since 2014, including “The Case For Reparations,” and “The Black Family In The Age
Of Mass Incarceration.”

2. Without authorization, Coates copied portions of Ralph W. Baker, Jr.’s

Shock Exchange: How Inner-City Kids From Brooklyn Predicted the Great Recession and the
Pain Ahead (“Shock Exchange”).

3. Plaintiff alleges that the course of nearly a decade, Coates deconstructed

Shock Exchange. He copied numerous passages, changed the words around (yet keeping the
same expression), and moved the passages out of sequence in order to avoid detection.

4, Coates also attempted to mimic Plaintiff's dense, rhythmic prose — “Shock Exchange
rhythmic prose and tedious talk.” Coates’ actions represent copyright infringement.

5. Shock Exchange was investigated and written by Plaintiff Ralph W. Baker, Jr. Plaintiff
understands Coates attended Howard University and left after five years to pursue a career in
journalism.

6. Plaintiff understands that from 2000 to 2007 Coates worked as a journalist for various
newspapers like The Washington City Paper, The Philadelphia Weekly and The Village Voice.
He was hired at The Atlantic initially as a blogger.

7. Shock Exchange was published electronically in August 2012. A print version was
completed November 2012, Shock Exchange was reviewed by Library Journal in 2013 — only
the second time in history a self-published book was reviewed by a major book reviewer.

8. In the second half of 2013 Mr. Baker sent a copy of Shock Exchange and a review from
Library Journal to several journalists, including someone named “Ta-Nehisi Coates” at The
Atlantic. At the time, Coates had written The Beautiful Struggle (2009), published by Spiegel &

Grau.

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9, Mr. Baker never heard back from Coates, but apparently, he liked it ... a whole lot. After |

hearing all the hype about Coates’ first novel, The Water Dancer, in September 2019 Mr. Baker

chased a copy. Mr. Baker immediately noticed Coates had attempted to mimic his dense

rhythmic prose — Shock Exchange rhythmic prose and tedious talk. |
10. Without authorization, Coates also copied portions of Shock Exchange.
11. Plaintiff began a painstaking investigation into Coates and his previous writings. Due |
diligence revealed Coates’ plunder began long before The Water Dancer.

12. Plaintiff alleges Coates plagiarized numerous articles in The Atlantic, beginning as
early as 2014 with “The Case For Reparations.”

13. Plaintiff alleges Coates plagiarized Between the World and Me (2015), which won the
National Book Award, We Were Eight Years In Power (2017) and The Water Dancer (2019).

Plaintiff alleges Coates attempted to write these books in Plaintiffs voice and replicate

Plaintiffs dense, rhythmic prose.

14. _— Plaintiff alleges Coates deconstructed Shock Exchange, copied numerous passages,
moved the passages out of sequence and called it The Water Dancer, We Were Eight Years In
Power, and Between the World and Me.

15. Plaintiff alleges Coates attempted to mimic Shock Exchange rhythmic prose and tedious

talk for his articles and books, including comic books, Black Panther and Captain America.

16. Plaintiff alleges the dialogue for the movie, Black Panther, was also copied from Shock
Exchange.
17. Plaintiff alleges that over the course of nearly decade Coates copied a substantial portion

of Shock Exchange, and meticulously, methodically tried to mask the piracy.

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18. Penguin Random House, owned by Bertelsmann SE & Co. KGaA, published The Water

Dancer and We Were Eight Years In Power, and Spiegel & Grau, which published Between the i

¢ been publicly silent. They continue to profit from sales of these books and |

have not denounced Coates for his theft. |
19. The Walt Disney Company, which produced The Black Panther movie, has been
publicly silent. The Walt Disney Company continues to profit from sales of the movie and has
not denounced Coates or the movie’s screenwriters — Ryan Coogler and Joe Robert Cole — for
their theft.

20. Marvel Comics, owned by The Walt Disney Company, publishes the Black Panther

comic book series and the Captain America comic book series. It has been publicly silent. The

Walt Disney Company continues to profit from sales of the comic books and has not denounced
Coates (or others) despite the fact they were copied from Shock Exchange.

21. The Atlantic, which published numerous articles plagiarized by Coates, has been publicly
silent. The Atlantic and its co-owners, David G. Bradley and Laurene Powell Jobs, continue to
profit from sales of articles and books related to Coates. They have not denounced Coates despite
the fact such articles and books were copied from Shock Exchange.

22. The Apollo Theater created a theatrical adaptation of Between the World and Me at the
Apollo Theater, the Kennedy Center and Atlanta Symphony Hall. The Apollo Theater continues
to profit from promoting events involving Coates. The Apollo Theater has been publicly silent.
Plaintiff understands Coates works as a writer-in-residence at The Apollo Theater. It has not
denounced Coates despite the fact the book was copied from Shock Exchange.

23. Home Box Office, owned by Warner Bros. Discovery, produced a theatrical production

of Between the World and Me. Warner Bros. Discovery continues to profit from broadcasting the

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theatrical production. It has been publicly silent. Warner Bros. Discovery has not denounced

Coates despite the fact the book was copied from Shock Exchange.

24. Ta-Nehisi Coates (“Coates” or “defendant”) is a journalist and faculty member

at the College of Arts and Sciences at Howard University, artist-in-residence at the Apollo
Theater and comic book writer for Marvel Comics. Plaintiff understands defendant owns the
copyright for Between the World and Me.

25, Upon information and belief, Coates resides in Brooklyn, New York.

26. BCP Literary, Inc. (“BCP”) owns the copyright for The Water Dancer, We

Were Eight Years In Power and is party to the recorded document for Between the

World and Me.

27. Upon information and belief, BCP owns the trademark to the “TA-NEHISI COATES”
name, which is designed to engage in entertainment services and the presentation of literary and
visual arts.

28. Spiegel & Grau is the publisher of Between the World and Me. Celina Spiegel and Julie
Grau founded Spiegel & Grau. It was originally a publishing imprint of Penguin Random House.
29. At all relevant times, Spiegel & Grau published, sold and marketed Between the World
and Me. Spiegel & Grau published, sold and marketed Between the World and Me
internationally.

30. Spiegel & Grau sold and marketed Between the World and Me nationally. Between the

World and Me has been sold in bookstores throughout the country.

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31. Penguin Random House (“Random House”) announced in 2019 that Spiegel & Grau
would be shut down. Plaintiff understands that in 2020 Celina Spiegel and Julie Grau resurrected

Spiegel & Grau as an independent publishing house.

32. Random House has over 300 imprints spanning six continents. Based on revenue, it is
the world’s largest trade book publisher. Through its One World imprint, Random House at all
relevant times, sold and marketed We Were Eight Years In Power, and The Water Dancer.

33. Bertelsmann SE & Co. KGaA (“Bertelsmann”) is a leading “media, services

and education company” with operations in about 50 countries. Its operations include the
entertainment group RTL Group, Random House, the music group BMG, the service provider
Arvato, printing, education and investment services.

34, Plaintiff understands Bertelsmann owns Random House outright. In 2019 it acquired
the 25 percent stake it did not own from its Pearson ple for $675 million, implying [00 percent
of Random House was worth around $2.7 billion.

35. In 2021 Bertelsmann generated revenue of EUR18.7 billion or $22.2 billion

(assumes average exchange rate of 1 EUR = 1.183 USD). Per Bertelsmann’s 2021 annuai report,
Random House generated 2021 revenue of EUR4.03 billion ($4.8 billion) or about 22% of total
revenue. Random House was the company’s second-largest division.

36. The Atlantic is an American magazine with a heavy online presence. It was

founded in 1857 as The Atlantic Monthly, a cultural and literary magazine. After experiencing
financial hardship, the magazine was purchased by David Bradley in 1999 from Mortimer
Zuckerman. In 2017 Bradley sold a majority stake in the online magazine to Emerson collective
for an undisclosed price.

37. Plaintiff understands defendant joined The Atlantic as a blogger in 2008.

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Defendant’s article, The Case For Reparations, which Plaintiff alleges was plagiarized from

Shock Exchange, was published in 2014. Defendant rose to become senior editor at The Atlantic

where his blog grew in popularity. He blogged about politics, race, culture, sports, history, and

Black culture.

38. Defendant departed The Atlantic in 2018. Plaintiff alleges that from 2014 to 2018
numerous articles of his were plagiarized from Shock Exchange.

39, Emerson Collective Corporation-(“Emerson Collective”) works with entrepreneurs,
policy makers, activists, et al., to promote justice in the fields of educations, healthcare, and the
environment, among other things. Emerson Collective was founded by billionaire
businesswoman Laureen Powell Jobs, widow of former Apple CEO Steve Jobs.

40. Chris Jackson is vice president, publisher and editor-in-chief of Random House’s One
World imprint. Since 2006 Jackson was executive editor at Spiegel & Grau. Prior to Spiegel &
Grau he was an editor at Crown, another imprint of Random House.

41. One World was started in 1991. Plaintiff understands Mr. Jackson was the editor

for Between the World and Me, and was named publisher of One World after the wild success of
that book.

42. Nicole Counts (“Counts”) is a Senior Editor at One World. Plaintiff understands Counts
worked with Coates, Chris Jackson and Victory Matsui on The Water Dancer.

43. Victory Matsui (“Matsui”) was previously a senior publishing manager at One World.
Plaintiff understands Matsui worked with Coates, Chris Jackson and Counts on The Water
Dancer.

44, Warner Bros. Discovery (“Warner Bros.”) is a media company that produces, develops

and distributes television, film, gaming and other forms of entertainment in physical and digital

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formats. It owns such brands as Home Box Office (“HBO”), the Discovery Channel and the
Oprah Winfrey Network.

45. The Apollo Theater (“the Apollo”) is a music hall located in the Harlem section of New

York City. It has brandished itself as a venue for African-American performers.

46. Maceo-Lyn is a production company founded by Coates and collaborators

Kamilah Forbes and Kenyatta Matthews. Plaintiff understands that Kenyatta Matthews is Coates’
wife, and Coates, Kenyatta Matthews and Ms. Forbes are long-time friends who met while
attending Howard University in the ‘90s.

47. Plaintiff understands that Kenyatta Matthews is a collaborator in the Maceo-Lyn
production company. Along with Metro-Goldwyn-Mayer Motion Studios Inc. (“MGM”), Harpo
Films, and Plan-B, Maceo-Lyn plans to create a film adaptation of The Water Dancer.

48. Kamilah Forbes is the executive producer at The Apollo. She directed the sold-out world
premiere and tour of the theatrical adaptation of Between the World and Me at the Apollo, the
Kennedy Center and Atlanta Symphony Hall. Ms. Forbes was the executive director of HBO’s

TV adaptation of the book.

49. MGM is a media company that produces and distributes feature films and television
programs. Founded in the 1920s, MGM is one of the oldest and most iconic American motion
picture studios. It was acquired by Amazon in 2021 for over $8 billion.

50. Harpo Films is a division of Ms. Oprah Winfrey’s Harpo Productions, a multimedia
production company. Plaintiff understands Harpo Films has been involved with films such as

Precious and Beloved.

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51. Plan-B Entertainment (“Plan B”) is a production company co-founded in 2001 by Brad
Pitt, Jennifer Aniston and the late Brad Grey. It is currently solely owned by Pitt. Plan B has

produced such notable films as Troy, [2 Years A Slave, and The Departed.

52. Ryan Coogler is a film director and screenwriter. Fruitvale Station, his first feature film
in 2013, won critical acclaim. Coogler directed and co-wrote the Black Panther film in 2018,
which broke box office records.

53. Joe Robert Cole is an American filmmaker, screenwriter and actor. He produced the
Emmy- Winning FX series American Crime Story. The People vs. Os Simpson. Plaintiff
understands he co-wrote the Black Panther film with Ryan Coogler.

54. | Roxane Gay is an American author, professor and cultural critic.

55. | Yona Harvey is an American poet and assistant professor at the University of Pittsburgh.
56. MVL Film Finance, LLC (““MVL Film Finance”) is the copyright claimant for the
Black Panther film. Plaintiff understands MVL Film Finance is the holder of Marvel’s movie
debt and theatrical film rights to 12 characters and supporting characters as collateral.

57. Marvel Entertainment, LLC is an entertainment company based in New York City.
Marvel Entertainment owns Marvel Worldwide, which in turn owns Marvel Comics (“Marvel”).
Marvel publishes, markets and promotes comic books with characters like Captain America,
Spider-Man, and Black Panther. The Walt Disney Company acquired Marvel Entertainment in
2009. The Walt Disney Company, MVL Film Finance, Marvel Entertainment, Marvel
Worldwide, and Marvel are collectively, “Disney.”

58. Mr. Baker resides in Brooklyn, New York. He owns copyright registration
TXu001822615 for Shock Exchange, registered with the United States Copyright office August

1, 2012.

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59. JOHN DOES 1-50, upon information and belief, are individuals and/or entities, related
to the facts, allegations and causes of action, presently unnamed but who may be named as

additional defendants as a result of discovery, investigation, or other legal endeavors directed at,

inter alia, the assessment of their respective or joint liabilities.

JURISDICTION AND VENUE

60. This action arises under 17 U.S.C. § 101, ef seg. for defendants’ authorship, publication,
and sale of The Water Dancer, Between the World and Me, We Were Eight Years In Power,
Black Panther comic book, Captain America comic book, various articles for The Atlantic and
Black Panther movie in violation and infringement of Plaintiff's copyright in Shock Exchange.
61. Injunctive relief, profits and actual damages or statutory damages are sought pursuant to
17 U.S.C, §§ 502-504.

62. Costs, plaintiff's time and efforts and attorneys’ fees are sought pursuant to

17 U.S.C. § 505.

63. The court has jurisdiction of this action pursuant to 28 U.S.C. § 1331.

64. Venue in this Court is proper pursuant to U.S.C. § 1391 (b).

FACTUAL BACKGROUND TO THIS ACTION PURSUANT TO THE WATER DANCER
A. The Water Dancer Stole The Heart Of Shock Exchange

65. Shock Exchange explains the stock market and the economy through the eyes of the New
York Shock Exchange, a travel basketball team and financial literacy program Mr. Baker started
in 2006 for his 11-year-old son and other boys his age. It also allowed Mr. Baker to pass along
his passton for basketball and investing with kids.

66. Mr. Baker spent five years talking about Shock Exchange and another two-and-a-half

years actually researching and writing it.

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67. Shock Exchange described Mr. Baker’s life growing up in Farmville / Prince Edward
County, VA, and the life lessons he learned. Those lessons were the building blocks of the New

York Shock Exchange.

68. Mr. Baker described Grandma, Gramma, Grandpa, Suzie (his mother) and My Daddy in a
tremendous amount of detail. He also described “Up The House,” his grandmother’s farm where
all the happenings occurred.

69. Most readers said their favorite part of the book was his storytelling, particularly about
his family and his time growing up in Prince Edward County.

70. Library Journal noted, “Baker also explores the African American experience from an
economic perspective by telling the story of his early life in Farmville, VA.”

71. Through those stories, Mr. Baker described his modes of thinking on the economy, the
political climate and Black culture.

72. Plaintiff alleges in The Water Dancer, defendant copied stories about Plaintiff's family,
Prince Edward County, VA and his life. Defendant attempted to mimic Plaintiff's storytelling
style, his pacing in telling a story, his sentence structure and cadence. Defendant repeated several!
colloquialisms and turns of phrase.

73. Plaintiff alleges that The Water Dancer’s main character, Hiram, was based on a
description of his life. Plaintiff alleges other characters were based on his parents and
grandparents as described in Shock Exchange.

7A. The setting — Elm County, Starfall and Lockless — was based on Plaintiff's descriptions
of Prince Edward County, Farmville, and Up The House — the farm owned by Plaintiffs
grandmother.

B. Defendant Stole The Sweat Of Mr. Baker’s Brow

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75. Plaintiff spent his entire life telling funny stories all day, every day, growing up in rural
Virginia. Storytelling is a family tradition in rural Virginia, passed down from Plaintiff's parents,

grandparents, aunts, uncles, etc.

76. The Water Dancer was the defendant’s first novel. Plaintiff alleges the defendant was

writing about a place — rural Virginia — that he could possibly know nothing about. He did this in

less than two years after his previous book was published.

77. Plaintiff alleges that defendant and his staff saved several years in time and effort by

plagiarizing Shock Exchange. According to Orgel v. Clark Boardman Co., 301 F.2d 119, 120,

cert. denied, 371 U.S. 817, S.Ct. 31, 9 L.Bd2d 58 (1962); “Appropriation of the fruits of

another’s labor and skill in order to publish a rival work without the expenditure of the time and

effort required for independently arrived at results is copyright infringement.” Plaintiff alleges

Defendant had Shock Exchange open in front of him when he wrote The Water Dancer.

78. Plaintiff alleges the book’s major themes were copied from Shock Exchange. Plaintiff
alleges these major themes represented his consciousness, mode of thinking and approach to life

in rural Virginia, and defendant passed these themes off as original thought.

C. Defendant Demonstrated Arrogance And Disdain In Copying Plaintiffs Work

79. In one of the most obvious examples of arrogance and disdain, in The Water Dancer

defendant openly bragged about copying the Plaintiff's work. Defendant bragged about stealing

Plaintiff’ s identity, copying Plaintiffs unique literary writing style, rendering all of Plaintiff's

features, and learning Plaintiff's word choice.

80. Defendant bragged about how he fancied himself so clever that his plagiarism would

never get detected.

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81. Defendant also bragged about stealing Plaintiff's “special knowledge” and going through
pains to mask the piracy — See Exhibit A.

D. Defendant Copied The Characters From Shock Exchange

82. Plaintiff alleges the main character, Hiram, was based on a description of Plaintiff's life
from Shock Exchange. Defendant described the other characters like Plaintiff described his
parents and grandparents. Plaintiff alleges Defendant copied narrative Plaintiff attributed to
different family members and applied it to certain characters in The Water Dancer. The
description of the characters in Shock Exchange were so detailed and intricate that readers felt
they actually knew these people.

83. Plaintiffs strong character development makes his claim of copyright infringement more
palatable. According to Nichols v. Universal Pictures Corporation, 45 F.2d 119 (2d Cir. 1930),
“Tt follows that the less developed the characters, the less they can be copyrighted; that is the
penalty an author must bear for marking them so indistinctly.” Shock Exchange‘s well-developed
characters make Plaintiff's copyright claim stronger.

84. The similitude in the description of the characters in the two books can only be explained
by the fact that the characters in The Water Dancer were copied from Shock Exchange.

E. Defendant Attempted To Give The Water Dancer The Same “Concept And Feel” Of
Shock Exchange

85. The similarities between The Water Dancer and Shock Exchange ate so numerous and
substantial as to give rise to a strong inference of copying. Defendant mentioned Elm County and
Lockless in the same sentence as if they were the same place and interchangeable. In Shack
Exchange Plaintiff mentioned Prince Edward County and Farmville in the same sentence as if
they were the same place and interchangeable, The setting of The Water Dancer mirrored

Plaintiff's description of Prince Edward County and Up The House.

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86. Defendant’s description of Lockless was similar to how Plaintiff described Up The
House. Defendant referred to going “up to the house,” “the great house,” “the house,” and “this

house” hundreds of times in order to linguistically sound like “Up The House.”

87. Plaintiff alleges major themes in The Water Dancer were copied from Shock Exchange.
88. Defendant used these elements and several others to give The Water Dancer the total
“concept and feel” of Shock Exchange, which is an example of copying. In Roth Greeting Cards
v. United Card Company the court said as much: “It appears to us that in total concept and feel
the cards of United are the same as the copyrighted cards of Roth. With the possible exception of
one United card (exhibit 6), the characters depicted in the artwork. the mood they portrayed, the
combination of artwork conveying a particular mood with a particular message, and the
arrangement of the words on the greeting card are substantially the same as in Roth's cards. In
several instances the lettering is also very similar.”

F. Coates Made Crude Efforts To Give The Appearance Of Dissimilarity With Shock
Exchange

89. Defendant took crude efforts to give the appearance of dissimilarity with Shock
Exchange. Plaintiff alleges Defendant copied real characters and a real story from Shock
Exchange and added some goofiness pursuant to magical realism, conduction (teleportation), the
Underground Railroad and Harriet Tubman to mask the piracy. What other purpose would it
serve to portray Harriet Tubman — a true American hero -- beaming herself through history and
freeing slaves through magic rather than courage and guile?
90. According to Business Trends Analysts v. Freedonia Group 887 F.2d 399 (2d Cir, 1989),
“We view the similarities as inexplicable other than as the result of copying and agree with Judge
|

Conboy that the differences amount only to a ‘crude effort to give the appearance of

dissimilarity’ and are thus themseives evidence of copying.”

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91. Defendant’s crude effort to give the appearance of dissimilarity is evidence of copying.

G. Defendant Attempted To Copy Mr. Baker’s Unique Literary Writing Style And Write
In Mr. Baker’s Voice

92, _ Plaintill spent decades attempting to “write in his own voice.” That way (1) Plaintiff's
writing would remain unique and (2) his writing would capture the essence of his background
and the area he was raised. Shock Exchange described how Plaintiff's high school English
teacher, Lydia Peale, encouraged him in high school and helped Plaintiff and his classmates find
their own voices: “I think it was Galileo who once said, ‘You can’t teach a man anything. You
can only help him find it within himself.” From that perspective, Mrs. Peale never really taught
us anything, she simply gave us the framework to help us find our own voices” — see Exhibit J |
for notes and sources.

93. | Mrs. Peale was gracious enough to help Plaintiff edit Shock Exchange. Plaintiff and Mrs.
Peal communicated over the phone and via email. She sent her mark-ups through the mail. It
gave Plaintiff confidence, knowing he had finally passed Mrs. Peale’s tough grading system.

94. Throughout The Water Dancer, Between the World and Me, We Were Eight Years In
Power, comic books and articles for The Atlantic, Coates methodically and meticulously
attempted to craft sentences like those in Shock Exchange, write in Plaintiff's voice and capture
his expression, Plaintiff alleges Defendant attempted to replicate Shock Exchange rhythmic
prose and tedious talk — see Exhibit B.

95. Plaintiff alleges Defendant attempted to mirror Plaintiff's cadence and pacing in telling a
story. Defendant repeated words in place and replicated the same words over and over
throughout each paragraph or each page of The Water Dancer. Defendant used commas, ellipses,
turns of phrase, syntax and vernacular in a methodical attempt to re-craft Plaintiff's dense,

rhythmic prose.

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96. The Water Dancer is over 400 pages long. Plaintiff alleges the prose and the dialogue are
incoherent. Plaintiff alleges the defendant rarely makes a complete thought. The entire point is

not to say anything of note, but to mimic Shock Exchange rhythmic prose and tedious talk.

97. All of the characters spéak in the same voice. They repeat words in place to mimic Shock
Exchange rhythmic prose and tedious talk.
98. The court in Chicago Record-Herald Co. v. Tribune Ass'n, 275 F. 797 (1921)) protects
my expression and unique literary style from being copied: “News, as such, is not the subject of
copyright; but in so far as the Edwards article involves authorship and literary quality and style,
apart from the bare recital of the facts or statement of news, it is protected by copyright law. That
the entire copyrighted article involves in its production authorship as generally understood, and
manifests literary quality and style in striking degree, is impressively apparent, from its perusal.”
99, The court in Arnstein v. Porter, 154 F.2d 464 (2d Cir. 1946)) raised the question whether
a defendant took from plaintiff's works too much of what was pleasing to the ear: “The
plaintiff's legally protected interest is not, as such, his reputation as a musician but his interest in
the potential financial returns from his compositions which derive from the lay public’s
approbation of his efforts, The question, therefore, is whether defendant took from plaintiffs
works so much of what is pleasing to the ears of lay listeners, who comprise the audience for
whom such popular music is composed, that defendant wrongfully appropriated something that
belongs to the plaintiff.”
100. In April 2020 the rapper Black Thought praised defendant’s cadence and word choice:

I think I am going to call today’s episode Between The World And Us. | am going

to be reading an excerpt from Between the World and Me by Ta-Nehisi Coates.

Coates is one of my favorite writers because I really identify with his cadence and
the way in which he speaks. His choice of words speaks directly to me, in that it’s

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reminiscent of the voice inside my head, so it’s very inspiring. And he’s told me
that I inspire him in the say way for some of the same reasons.

I was very honored when I was asked by Kamilah Forbes to take part a couple
years ago in a reading for s some of this material. We did a performance i at... ]

couple of performances of the same material at The Kennedy Center i in
Washington, D,C.?

Plaintiff alleges the cadence Black Thought referred to was meticulously and methodically
copied by defendant from Shock Exchange. It is evidence that defendant took much of Plaintiffs

work that was “pleasing to the ears of lay listeners,” and thus, represents copyright infringement.

The cadence and “the way it is written” is at the heart of Between the World and Me, The Water
Dancer, We Were Eight Years In Power and several of defendant’s articles for The Atlantic. It is

de facto admission of Plaintiff's striking writing style and it should be protected.

H. Coates Told Fantastical Stories About His Research
101. Ina September 2019 interview with Oprah Winfrey at The Apollo in Harlem, Coates said
Monticello, Thomas Jefferson’s home in Charlottesville, VA, was an invaluable resource for his

research.* In a September 2019 interview with Gayle King on location at Monticello, Coates

implied the story for Lockless, the fictional plantation from The Water Dancer, was based on !
Monticello.* In October 2019 Coates interviewed with Falcon Murphy Falcon in Baltimore, MD.
In a pre-recorded video Coates said he did research at Civil War battlefields, Monticello, the
Whitney Plantation and the Shirley Plantation.°

102. Plaintiff grew up about 50 minutes from Charlottesville (where Monticello is located). He
attended business school at The Darden School of Business at the University of Virginia
(“Darden”) in Charlottesville. Plaintiff alleges he has never been to Monticello and does not

know any Blacks who have. Plaintiff alleges he has driven past signs for Monticello hundreds of

times, yet has never been to Monticello and has never had any interest in going.

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103. The Shirley Plantation is located in Charles City, Virginia. Plaintiff hung 44 points on
Charles City in a high school basketball game, which Plaintiff wrote about in Shock Exchange.

Plaintiff also wrote extensively about his business school experience and his time in

Charlottesville.

104. Plaintiff alleges the defendant visited places he read about in Shock Exchange — as if
defendant was actually “Ralph Baker” — and told book critics and the public the story for The
Water Dancer was derived from those places. Defendant assumed book critics and the public
would be gullible enough to take his word for it.

105. Defendant’s fantastical explanation pursuant to where he derived the story is evidence of
copying.

106. There is no evidence defendant created the story for The Water Dancer independent of
Shock Exchange. According to Roth Greeting Cards v. United Card Co., 429 F.2d 1106, 1110
9th Cir.1970) and Novelty Textile Mills, 558 F.2d at 1092 n. 2: “The absence of any
countervailing evidence of creation independent of the copyrighted source may well render
clearly erroneous a finding that there was not copying.”

I. Defendant Claims The Water Dancer’s Prose Came From Slave Novels

107. Inan August 2019 Vanity Fair article, Jesmyn Ward said, “What Coates has done in his
novel is meld the prose of the early 1800s with a modern sentiment of love and heartbreak. The
novel’s prose is faithfully dated, marked by the linguistic formalities and trends of the time ...””
108. Ina September 2019 interview for Random House, defendant implied the voice in The
Water Dancer was pulled from the past: “Of course, that literature stretches back to 1619, some

400 years. Literally, the way the book is written, by which I mean the actual voice, the way the

guy talks, is pulled from the past. It's me writing, but it's not a story as I would tell it today if that

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makes sense. [ think that's a big difference between The Water Dancer, Between the World and
Me, Beautiful Struggle, and even We Were Eight Years in Power. That's very much my voice.

With The Water Dancer, | felt like I was trying to channel something much, much older,”®

109. Plaintiff alleges defendant attempted to copy Plaintiff's voice, sentence structure, syntax
and pacing in telling a story from Shock Exchange. Defendant tried to convince book critics and
the public the prose in The Water Dancer came from the 1800s or was derived from slave
narratives.

110. In the 2019 interview with Random House, defendant’s statement pursuant to the prose in
Between the World and Me, The Beautiful Struggle and We Were Eight Years in Power —“That’s
very much my voice” — also conflicted with his prior statements. In 2015 defendant was adamant
that the prose in Between the World and Me was his attempt to write like James Baldwin.

111. Defendant’s conflicting statements about where the prose in Between the World and Me,

We Were Eight Years In Power, and The Water Dancer was derived is evidence of copying.

FACTUAL BACKGROUND TO THIS ACTION PURSUANT TO WE WERE

EIGHT YEARS IN POWER

J. Defendant Stole The Sweat Of Plaintiff's Brow

112. Shock Exchange also explained (1) Virginia history, including Reconstruction and Prince
Edward County, VA, (2) the vagaries of the banking industry and how it has evolved and (3) key
tenets of the economy, including the “black Tax” — high unemployment and mass incarceration
amongst Blacks. Plaintiff alleges Defendant copied this analysis via We Were Eight Years In

Power and articles in The Atlantic.

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113. In 2017 defendant wrote We Were Eight Years In Power, a selection of eight articles from
The Atlantic during the President Obama’s eight years in office — what defendant referred to as a

period of “Good Negro Government.” Plaintiff alleges several of the articles and essays were

copied from Shock Exchange.

114. Plaintiff had Dr. Ronald Heinemann’s class on Virginia history at Hampden-Sydney
College in the mid-80s. Plaintiff alleges Dr. Heinemann was the resident expert on Harry Byrd.
Plaintiff alleges Dr. Heinemann impressed upon him the importance of Byrd pursuant to Virginia —
history.

115. In Shock Exchange Plaintiff explained how Byrd dominated Virginia politics after Blacks
were disenfranchised during Reconstruction. Plaintiff alleges defendant copied Plaintiff's
interpretive analysis on Reconstruction for We Were Eight Years In Power.

116. Plaintiff alleges defendant copied his interpretive analysis on mass incarceration in We
Were Eight Years In Power and tor The Atlantic article, “The Black Family In The Age Of Mass
Incarceration.”

117. Plaintiff alleges defendant copied his interpretive analysis on redlining in We Were Hight
Years In Power and for The Atlantic Article, “The Case For Reparations.”

118. Plaintiff worked in retailing banking in 1989 directly after college. Plaintiff alleges his
first assignment was studying and mastering the community reinvestment act (“CRA”), In Shock
Exchange Plaintiff explained how in a stack of bank manuals, he uncovered how Blacks resisted
redlining in Illinois, which he found remarkable.

119. Plaintiff described — from memory — how Blacks in Illinois fought vociferously against
redlining. Plaintiff alleges that defendant copied his interpretative analysis of redlining in We

Were Eight Years In Power and The Atlantic Article, “The Case For Reparations.”

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120. . Plaintiff alleges defendant, his editors and research teams at Random House and The
Atlantic were able to save years in time and effort by such copying. According to Orgel v. Clark

Boardman Co., 301 F.2d 119, 120, cert. denied, 371 U.S. 817, S.Ct. 31, 9 L.Ed.2d 58 (1962);

“Appropriation of the fruits of another’s labor and skill in order to publish a rival work without
the expenditure of the time and effort required for independently arrived at results is copyright

infringement.”
K. Defendant Copied Plaintiff's Analysis On Reconstruction

121. Plaintiff's analysis on the period of Reconstruction in Virginia described the rise of the
Readjuster Party, the disenfranchisement of Blacks that led to the dismantling of the Readjuster
Party, and the rise of Virginia governor Harry Byrd.

122. In We Were Light Years in Power defendant described the success of Black politicians in
South Carolina during Reconstruction. Defendant described how Black politicians rebuilt
schoolhouses and placed the state on the road to prosperity. Defendant also espoused how Black
politicians were stymied by factions that wanted whites to control state politics. These factions
disenfranchised Blacks by adding literacy tests and property requirements to the state
constitution.

123. Defendant cited a book on Reconstruction by W.E.B. Du Bois and claimed his analysis
on Reconstruction was inspired by Obama.

124. Plaintiff alleges that defendant copied Plaintiffs interpretative analysis from Shock
Exchange. The similitude between the defendant’s and Plaintiff’s interpretation gives rise to the
inference of copying — see Exhibit C for a comparison.

’ L. Defendant Plagiarized “The Black Family In The Age Of Mass Incarceration”

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125.- The seventh article in We Were Eight Years In Power was “The Black Family In The Age

of Mass Incarceration,” originally published in The Atlantic in October 2015. Defendant wrote

_ about mass incarceration and the impact on the Black family and implied it was inspired by

Daniel Patrick Moynihan’s The Negro Family: The Case For National Action, published in the
1960s.

126. The article in We Were Eight Years In Power was over 50 pages long and included
narrative on Moynihan’s unique background and several pages about slavery and Jim Crow.
Buried within the article, defendant described mass incarceration and the economic impact on the
Black family that mirrored content from Shock Exchange — see Exhibit D.

127. The basis for Plaintiff's analysis in Shock Exchange came from his extrapolation of a
case study from Dr Bill Hendley’s advanced economics class at Hampden-Sydney College in
1989. It illustrated Plaintiff's ability to take complicated, technical information and explain it in
laymen’s terms.

128. Defendant’s interpretation of mass incarceration sounded strikingly similar to Plaintiffs.
129. The copied material was the heart of The Atlantic article and represented copyright
infringement. According to Burroughs v. Metro-Goldwyn Mayer, Inc., 683 F 2d 610 n. 14 (2d
Cir. 1982), “Copyright infringement may occur by reason of a substantial similarity that involves
only a small portion of each work.”

M. Defendant Plagiarized “The Case For Reparations”

130. The fourth article in We Were Fight Years In Power was “The Case For Reparations,”
originally published in The Atlantic in 2014. Defendant described how Clyde Ross — and other

Blacks — faced redlining in the state of Illinois. Per the defendant, Ross was born in Mississippi

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in 1923, arrived in Chicago, IL in 1947. Per the defendant, while in Chicago, Ross faced
redlining by banks that refused to give Blacks mortgages.

131. The article described how Blacks in Chicago complained vociferously about not being

able to secure a mortgage, and fought back against redlining, In Shock Exchange Plaintiff
explained how Blacks in Illinois complained vociferously about not being able to secure loans
and mortgages, and how they fought back against redlining.

132. “The Case For Reparations” within We Were Eight Years In Power was over 40 pages
long. Buried within the article was narrative on how Blacks fought against redlining in Chicago,
IL. — see Exhibit E.

133. The narrative on how Blacks resisted redlining in Illinois was the

heart of the article and represented copyright infringement. According to Burroughs v. Metro-
Goldwyn Mayer, Inc., 683 F.2d 610 n. 14 (2d Cir. 1982), “Copyright infringement may occur by
reason of a substantial similarity that involves only a small portion of each work.”

N. Defendant Demonstrated Arrogance And Disdain In Copying Plaintiff's Work

134. In one of the most obvious examples of arrogance and disdain,

defendant used a picture with Plaintiff's name in it — “BAKER” — on the front page of the article

for “The Case For Reparations.”

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Source: “The Case For Reparations,” from The Atlantic.

. Plaintiff alleges the picture reflects defendant’s attempt to antagonize him and get Plaintiff's
dander up, and illustrates defendant’s brazen disregard for copyright law.
O. Defendant Used An Example For Reparations That Mirrored Plaintiff's
135. One of the examples the defendant used as a form of reparations — John Randolph’s gift
of land to his slaves — mirrored that of Shock Exchange. Below is a passage from “The Case For
Reparations” that references John Randolph:
Edward Coles, a protégé of Thomas Jefferson who became a slaveholder through
inheritance, took many of his slaves north and granted them a plot of land in Illinois. John
Randolph, a cousin of Jefferson’s, willed that all his slaves be emancipated upon his
death, and that all those older than forty be given ten acres of land. “I give and bequeath

to all my slaves their freedom,” Randolph wrote, “heartily regretting that I have been the
owner of one.”?

Below is a passage from Shock Exchange that describes reparations from John Randolph to his

slaves in Prince Edward County, VA:

Legend has it that when former Congressman John Randolph of Roanoke went away to
college, a black man accompanied him as an aide. Randolph eventually grew so close to

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the man that he treated him almost like a family member, contributing to Randolph’s
decision to free his slaves as soon as he could afford to ... They were given Israel Hill,
which was considered fertile and could be used to promote farming. The free blacks also
blacksmiths; carpenters, and the like.!° .

Case For Reparations” and Shock Exchange that proves copying by the defendant.

P. Defendant. Attempted To Write In Plaintiff's Voice And Literary Writing Style

137. Defendant wrote an essay about the year each of the articles in the book was written.
Plaintiff alleges that defendant attempted to write the essays in Plaintiff's voice, and
linguistically sound like the Plaintiff. Defendant also attempted to replicate Plaintiff's unique
literary writing style. Plaintiff alleges that defendant copied several passages and several turns of
phrase from Shock Exchange. Per Chicago Record-Herald Co. v. Tribune Ass’n and Arnstein v.
Porter, this represents copyright infringement.

Q. The Plagiarized Material Was The Heart Of We Were Eight Years tn Power
138. “The Case For Reparations,” “The Black Family In The Age Of Mass Incarceration,”

defendant’s narrative on Reconstruction and the book’s dense rhythmic prose represents the heart
of We Were Eight Years In Power. They were all copied from Shock Exchange and represent |

copyright infringement.

FACTUAL BACKGROUND TO THIS ACTION PURSUANT TO BETWEEN THE

WORLD AND ME
R. Defendant Stole The Sweat Of Plaintiff's Brow
139. In2015 defendant wrote Between the World and Me in the form of a letter to his son.
Defendant claimed the book was inspired by Baldwin’s The Fire Next Time, written in the form
of a letter to Baldwin’s nephew.
140. Plaintiff alleges that in the book, defendant’s life sounded like Plaintiffs

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life. Defendant described his parents and grandparents similarly to how Plaintiff described his

parents and grandparents. Defendant’s passions sounded like Plaintiff's passions.

_ 141. Plaintiff wrote Shock Exchange to his son, Ralphie: a picture of Plaintiff's son is on the

book cover. Defendant claimed he wrote Between the World and Me to his son.

142. Shock Exchange is a celebration of Plaintiff's family, the teachers and professors who
raised him. Plaintiff celebrated the institutions that influenced him — the churches, Prince Edward
County High School, Hampden-Sydney College and Darden. Plaintiff also wrote about the
authors and books that shaped his worldview and helped him navigate the world.

143. Defendant structured Between the World and Me ina similar fashion. Defendant
attempted to celebrate his family and professors who allegedly influenced him. He also
attempted to celebrate Howard University the way Plaintiff celebrated his alma maters.

144. Plaintiff alleges that defendant copied and pasted several passages from

Shock Exchange, changed the words around — while keeping the same meaning — and moved the
passages out of sequence.

145. Plaintiff spent years researching and writing Shock Exchange. The most-difficult part to
write was about his family. Weaving his family, teachers, professors, churches and the schools
he attended into a story about basketball, economics, finance and financial literacy was very
arduous, painstaking work. Plaintiff alleges that defendant used Shock Exchange as a model for
Between the World and Me.

146. Plaintiff alleges defendant copied several aspects of Plaintiff's life and his family’s life as
if defendant was actually “Ralph Baker.” Defendant and his staff saved years in time and effort
by such copying. According fo Orgel v. Clark Boardman Co., 301 F.2d 119, 120, cert. denied,

371 U.S. 817, S.Ct. 31, 9 L.Ed.2d 58 (1962); “Appropriation of the fruits of another’s labor and

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skill in order to publish a rival work without the expenditure of the time and effort required for

independently arrived at results is copyright infringement.”

S. Defendant Attempted To Copy Mr. Baker’s Unique Literary Writing Style And Write In
Plaintiff s Voice

147. Defendant attempted to write Between the World and Me in Plaintiff's

unique literary writing style, and write in Plaintiff's voice. Defendant attempted to copy Shock
Exchange rhythmic prose and tedious talk. Defendant carefully crafted sentences in Plaintiff's
sentence structure and attempted to capture the pacing of Plaintiff's voice, and mimic Plaintiffs
cadence — see Exhibit F for comparisons.

148. Plaintiff alleges the majority of the passages in Between the World and Me is incoherent.
Defendant did not attempt to say anything of note. The only point was to linguistically sound like -
Shock Exchange, copy Plaintiffs cadence and run it out over a continuous loop. Per Chicago
Record-Herald Co. v. Tribune Ass’n and Arnstein v. Porter, this represents copyright
infringement.

149. When asked about his writing process in a 2015 interview with the Chicago Humanities,
defendant claimed he aimed for Baldwin. Defendant claimed the prose in Between the World and
Me — which looked totally different from the prose in his first book — reflected defendant’s
attempt to write like James Baldwin.!'' Plaintiff alleges that (1) he read James Baldwin in high
school and (2) the writing in Between the World and Me did not come from Baldwin and it was
not Baldwin’s writing. Plaintiff alleges that defendant attempted to copy the prose from Shock
Exchange and deceive the public that it came from Baldwin. Plaintiff alleges that defendant’s

deceptive statement(s) is evidence of copying.

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FACTUAL BACKGROUND TO THIS ACTION PURSUANT TO BLACK PANTHER

COMIC BOOK

T. Defendant Attempted To Write The Black Panther Comic Book In Plaintiff's Voice And
Literary Writing Style

150. Plaintiff understands that in 2016 defendant became a writer for Marvel Comics’ Black
Panther series and Black Panther and the Crew, amongst other comics,

151. Plaintiff alleges the dialogue in the Black Panther comic books is difficult to follow and
has no forward movement. Defendant attempted to arrange words like Plaintiff arranged them in
Shock Exchange. Defendant attempted to copy Shock Exchange rhythmic prose and tedious talk,
copy Plaintiffs cadence, run it in a continuous loop and called it “Black Panther.”

152. Defendant has the characters repeating words in place, with no forward movement. The
only point of the dialogue is to repeat words in place in an attempt to mimic Shock Exchange
rhythmic prose and tedious talk.

153. Per Chicago Record-Herald Co. v. Tribune Ass’n and Arnstein v. Porter, this represents
copyright infringement.

U. Black Panther Comics Stole The Sweat Of Mr. Baker’s Brow

154. Plaintiff alleges that defendant attempted to copy the sentence structure, turns of phrase,
and the pacing of Plaintiff's voice by meticulously, methodically studying Shock Exchange.
Plaintiff spent decades working on his craft, structuring sentences in his unique voice and taking
risks with a witty, whimsical writing style. Plaintiff got his knuckles cracked by Lydia Peale at
Prince Edward County High School when he did not stay in his voice and got yelled at, “Ralph,
what is this? That’s not how you write!” Defendant and his staff were able to save years in time

and effort by such copying. According to Orgel v. Clark Boardman Co., 301 F.2d 119, 120,

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cert. denied, 371 U.S. 817, S.Ct. 31, 9 L.Ed.2d 58 (1962): “Appropriation of the fruits of

another’s labor and skill in order to publish a rival work without the expenditure of the time and

V. The Literary Writing Style Is The Heart Of The Black Panther Comics

155. The prose and “the way it is written” is the heart of the Black Panther comic books
written by the defendant. There are no real characters to speak of. All of the characters speak in
the same voice — Shock Exchange rhythmic prose and tedious talk — so it is difficult to tell which
characters are which. The cadence and literary writing style defendant attempted to copy from
Shock Exchange is the heart of the comic book, and represents copyright infringement. Plaintiff
performed a comparison of the dialogue in Black Panther to the prose in Shock Exchange — see

Exhibit G.

FACTUAL BACKGROUND TO THIS ACTION PURSUANT TO CAPTAIN
AMERICA

W. Defendant Attempted To Write Captain America In Plaintiff’s Voice And Literary
Writing Style
156. Plaintiff understands that in 2018 defendant announced he would be writing the Marvel
Comics Captain America series.
157. Plaintiff alleges the dialogue in Captain America is difficult to follow and has little
forward movement. Defendant simply attempted to arrange words like Plaintiff arranged them in
Shock Exchange. Defendant attempted to copy Shock Exchange rhythmic prose and tedious talk,

copy Plaintiffs cadence, run it in a continuous loop and called it “Captain America.”

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158. Defendant has the characters repeating words in place, with no forward movement. The
only point of the dialogue is to repeat words in place in an attempt to mimic Shock Exchange

rhythmic prose and tedious talk

159. Per Chicago Record-Herald Co. v. Tribune Ass’n and Arnstein y. Porter, this represents
copyright infringement.
X. Captain America Stole The Sweat Of Mr. Baker’s Brow
160. Plaintiff alleges that defendant attempted to copy the sentence structure, turns of phrase,
and the pacing of Plaintiff's voice by meticulously, methodically studying Shock Exchange.
Plaintiff spent decades working on his craft, structuring sentences in his unique voice and taking
risks with a witty, whimsical writing style. Plaintiff got his knuckles cracked by Lydia Peale at
Prince Edward County High School when he did not stay in his voice and got yelled at, “Ralph,
what is this? That’s not how you write!” Defendant and his staff were able to save years in time
and effort by such copying. According to Orgel v. Clark Boardman Co., 301 F.2d 119, 120,
cert. denied, 371 U.S. 817, S.Ct. 31, 9 L.Ed.2d 58 (1962): “Appropriation of the fruits of
another’s labor and skill in order to publish a rival work without the expenditure of the time and
effort required for independently arrived at results is copyright infringement.”
Y. The Literary Writing Style Is The Heart Of Captain America
161. The prose and “the way it is written” is the heart of Captain America. There are no real
characters to speak of. All of the characters speak in the same voice — Shock Exchange rhythmic
prose and tedious talk — so it is difficult to tell which characters are which. The cadence and
literary writing style that defendant attempted to copy from Shock Exchange is the heart of the
comic book, and represents copyright infringement. Plaintiff performed a comparison of the

dialogue in Captain America to the prose int Shock Exchange — see exhibit H.

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FACTUAL BACKGROUND TO THIS ACTION PURSUANT TO BLACK

PANTHER MOVIE

Z. Plaintiff Alleges Ryan Coogler And Joe Robert Cole Attempted To Write The Black

Panther Movie In Plaintiff's Voice And Literary Writing Style

162. The Black Panther movie is a superhero movie launched in 2018. Plaintiff understands it
grossed over $1.3 billion worldwide, making it the highest-grossing movie by a Black filmmaker
and one of the top ten highest-grossing films of all time. Plaintiff understands Joe Robert Cole
co-wrote the screenplay for the movie with writer/director Ryan Coogler. The dialogue is
rhythmic and tedious, involving characters constantly repeating words in place. All of the
characters speak in the same voice.

163. Inthe July 2016 vulture.com article, “Black Panther Director Ryan Coogler: Ta-Nehisi
Coates Has ‘Absolutely’ Influenced The Movie,” Coogler marveled at Coates’ poetic dialogue in
the Black Panther comic book, and intimated he and Joe Robert Cole were inspired by Coates.”
164. Plaintiff alleges the dialogue in the Black Panther is difficult to follow and has little
forward movement. Defendants attempted to arrange words like Plaintiff arranged them in Shock
Exchange. Defendants attempted to copy Shock Exchange rhythmic prose and tedious talk, copy
Plaintiff's cadence, run it out over a continuous loop and called it “Black Panther.”

165. Defendants have the characters repeating words in place, with no forward movement, The
only point of the dialogue is to repeat words in place in an attempt to mimic Shock Exchange
thythmic prose and tedious talk.

166. Per Chicago Record-Herald Co, v. Tribune Ass’n and Arnstein v. Porter, this represents
copyright infringement.

AA. The Black Panther Movie Stole The Sweat Of Mr. Baker’s Brow

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167. Plaintiff alleges Defendants attempted to copy the sentence structure and the pacing of
Plaintiff's voice. Plaintiff spent decades working on his craft, structuring sentences in his unique

voice and taking risks with a witty, whimsical writing style. Plaintiff got his knuckles cracked by

Lydia Peale at Prince Edward County High School when he did not stay in his voice and got
yelled at, “Ralph, what is this? That’s not how you write!” Defendants and their staff were able
to save years in time and effort by such copying. According to Orgel v. Clark Boardman Co.,
301 F.2d 119, 120, cert. denied, 371 U.S, 817, S.Ct. 31, 9 L.Ed.2d 58 (1962): “Appropriation of
the fruits of another’s labor and skill in order to publish a rival work without the expenditure of
the time and effort required for independently amived at results is copyright infringement.”

BB. The Dialogue Is The Heart Of Black Panther

168. ‘The dialogue, the way it is written and the “the way it sounds” is the heart of Black
Panther. All of the characters speak in the same voice — Shock Exchange rhythmic prose and
tedious talk. The emotion felt by the audience from the rhythmic, tedious tone of the dialogue
drives the movie. The dialogue is contrived to sound like Shock Exchange.

169. Plaintiff alleges the Defendants methodically, meticulously attempted to copy his
cadence and pacing in telling a story, which represents copyright infringement. Plaintiff
performed a comparison of the dialogue in the Black Panther movie to the prose int Shock
Exchange — see Exhibit I.

FOR THE CAUSE OF ACTION AGAINST TA-NEHISI COATES
(Copyright Infringement And Unfair Competition)
170. Plaintiffrepeats and realleges all of the foregoing allegations as if fully set forth herein.

171. Plaintiff owns a registered copyright in Shock Exchange.
172. Plaintiff owns the exclusive rights to Shock Exchange, and has not transferred any such

rights to any individual or entity.

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173. Defendant stole a substantial portion of Shock Exchange. He also stole the most unique
aspects of Shock Exchange.

174. Defendant’s theft was obvious, despite attempts to mask the piracy.

175. In all instances of defendant’s copyright infringement, he was stealing from the heart of
Shock Exchange.

176. Taken collectively, defendant’s copying constitutes a gross and willful violation of
Plaintiff's copyright.

177. Defendant, through his books and articles copied from Shock Exchange —and published
by Random House, Spiegel & Grau, The Atlantic, and Marvel Comics — has engaged unfair
competition with Plaintiff and Shock Exchange.

178. Plaintiff has been damaged financially and emotionally. As a direct and proximate result
of defendant’s conduct, Plaintiff has been damaged in an amount to be determined at trial. In
addition to actual damages and profits or statutory damages, Plaintiff is entitled to recover the
costs and reasonable attorneys’ fees incurred in this action.

179. Plaintiff demands that defendant’s social media accounts — Twitter, Instagram, Facebook,
Seeking Alpha (seckingalpha.com) — be provided for review and used as evidence. For the
avoidance of doubt, this includes “@tanehisicoates” — the Twitter account defendant deleted in
December 2017.

180. Plaintiff demands a permanent injunction on the sale, marketing and promotion of books,
comic books, articles, movies, sound recordings and music related to defendant, including
Between the World and Me, We Were Eight Years In Power, The Water Dancer, Black Panther
comics, Captain America, the Black Panther movie, “The Case For Reparations” and “Black

Family In The Age Of Mass Incarceration.”

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181. Plaintiff demands the copyright for books, music, sound recordings, movies, articles et.

al, associated with defendant be transferred to him immediately. These include, but are not

_ limited to, Between the World and Me, We Were Eight Years In Power, The Water Dancer, Black

Panther comics, Captain America, the Black Panther movie, “The Case For Reparations” and
“The Black Family In The Age Of Mass Incarceration.”

182. Defendant’s actions have shown a total disregard for the copyright laws of this country.
Plaintiff demands a permanent injunction against defendant owning a copyright for any work of
art — books, comic books, movies, music, articles, sound recordings, et. al, Plaintiff demands that
any artistic works — books, comic books, movies, music, sound recording, et. al. — that defendant
is involved with or associated with also be precluded from receiving a copyright.

183. Defendant, through his books and articles copied from Shock Exchange,

has engaged in unfair competition with Plaintiff and Shock Exchange. Defendant, The Atlantic,
Bertelsmann, Random House and Spiegel & Grau have brandished defendant as a thought leader
on redlining, mass incarceration, economics, Reconstruction, Virginia history, amongst others.
Defendant and his publishers have caused public confusion resulting in the wrongful belief that
defendant, and not Ralph Baker and Shock Exchange, is the source of these themes and analyses.
Defendant and his publishers have positioned defendant as having crafted a “unique literary
writing style” and having crafted the dense, rhythmic prose included in his books and articles.
They have caused public confusion resulting in the wrongful belief that defendant, and not Ralph
Baker and Shock Exchange, 1s the source of this dense, rhythmic prose.

184. Plaintiff is forced to sue defendant, The Atlantic, Spiegel & Grau, Bertelsmann,

Disney, Marvel Comics, et. al, lest the confusion in the marketplace will continue and defendants

and his employers and business partners will argue that Plaintiffis copying them.

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FOR THE CAUSE OF ACTION AGAINST BCP LITERARY, INC.

185. BCP owns the copyright for certain books that Plaintiff alleges were copied from Shock

- books. BCP has created confusion in the marketplace pursuant by purporting that copied material

was derived from defendant, and not Ralph Baker and Shock Exchange.

186. Asa direct and proximate result of BCP’s conduct, Plaintiff has been damaged in an
amount to be determined at trial. In addition to actual damages and profits or statutory damages,
Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this action.
187. Plaintiff demands that BCP’s ownership of copyright for all material copied from Shock
Exchange be transferred to Plaintiff. This includes, but is not limited to, the copyright for The
Water Dancer, We Were Eight Years In Power and the recorded document for Between the
World and Me.

188. Plaintiff alleges the value of the TA-NEHISI COATES trademark was generated by
content defendant copied from Plaintiff and Shock Exchange. Plaintiff demands that ownership

of the TA-NEHISI COATES trademark be transferred to Plaintiff.

189. Asa direct and proximate result of BCP, Plaintiff has been damaged in an amount to be
determined at trial. In addition to actual damages and profits or statutory damages, Plaintiff is
entitled to recover the costs and reasonable attorneys’ fees incurred in this action.

190. Plaintiff demands a permanent injunction against BCPL, its owners and affiliates from
owning a copyright for any work of art — books, comic books, movies, music, articles, sound 2
recordings, et. al. Plaintiff demands any artistic works — books, comic books, movies, music, |
sound recordings, et. al — that BCP, its owners and affiliates are involved with or associated with

also be precluded from receiving a copyright.

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FOR THE CAUSE OF ACTION AGAINST THE ATLANTIC

191. During defendant’s tenure, The Atlantic became one of the leading magazines for issues

related To race an ack ¢ e. Detendant dbrandishe 5 reputation as a thou

reparations, redlining, mass incarceration, economics, Reconstruction, Black culture, race, etc.

based on material that was allegedly copied from Shock Exchange.

192. Defendant’s copyright infringement inured to the benefit of The Atlantic in the form of
growth in subscriptions, outsized growth in online visitors and growth in advertising dollars.
According to The Atlantic, it was not ailing at the time of its sale in 2017. This was a sharp
departure from similar legacy journalism outfits like the New Republic and The Washington
Post.3

193. Plaintiff alleges the major difference between The Atlantic and similar legacy journalism

organizations was defendant and the fame and notoriety he gained from copying Plaintiff's 2
content, attempting to copy Plaintiff's unique literary writing style and passing it off as original
work. The Atlantic marketed defendant as a thought leader on redlining, reparations,
Reconstruction, mass incarceration, race, Black culture, economics pursuant to Blacks, et. al.
Plaintiff alleges the copyright infringement by The Atiantic and defendant led to outsized growth

in subscriptions, revenue, website traffic, and attendance at live events.

194. Plaintiff alerted The Atlantic editor Jeffrey Goldberg in the form of a letter that Plaintiff

was aware of defendant and The Atlantic‘s copyright infringement, and Plaintiff was pursuing

legal action against them. Plaintiffs correspondence was delivered on May 17, 2022. Plaintiff

never received any return correspondence.

195. The Atlantic engaged in unfair competition with Plaintiff and Shock Exchange

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by publishing articles that included content copied from Shock Exchange and publishing articles
where defendant attempted to copy Plaintiff’s unique literary writing style. Defendant and The

Atlantic created confusion in the marketplace pursuant to where said content was derived.

196. Asa direct and proximate result of defendants’ conduct, Plaintiff has been damaged in an
amount to be determined at trial. In addition to actual damages and profits or statutory damages,
Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this action.

197. Plaintiff demands a permanent injunction on The Atlantic‘s sale, marketing and
promotion of all books, comic books, articles, movies, sound recordings and music related to
defendant.

198. Plaintiff demands that the copyright for the articles, “The Case For Reparations” and
“The Black Family In The Age Of Mass Incarceration” be transferred to Plaintiff immediately.
199. The Atlantic has brazenly infringed on Plaintiffs copyright for nearly a decade. Plaintiff
demands the operations of The Atlantic, including its print and digital magazines, its digital and
live-events division and its consulting division be shut down in perpetuity.

FOR THE CAUSE OF ACTION AGAINST DAVID G. BRADLEY

200. Plaintiff understands David G. Bradley acquired The Atlantic in 1999 from

Mortimer Zuckerman. He sold a majority stake to Emerson Collective in 2017 for an undisclosed
sum. Plaintiff alleges that prior to the sale, The Atlantic and defendant copied content from Shock
Exchange, including works related to redlining, reparations, mass incarceration, economics and
Black culture. The Ailantic’s growth and business value were driven by articles defendant
plagiarized from Shock Exchange. Plaintiff alleges defendant also plagiarized books from Shock
Exchange. The fame and notoriety afforded defendant inured to the benefit of The Atlantic and

spiked its business value.

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201. The value of The Atlantic was underpinned by

the theft of Plaintiffs intellectual property by defendant, Mr. Bradley, et. al. Plaintiff alleges the

_ monetize plagiarized material by defendant and The Atlantic.

202. Plaintiff alerted The Atlantic editor Jeffrey Goldberg in the form of a letter

that he was aware of defendant and The Aflantic’s copyright infringement, and Plaintiff was
pursuing legal action against them. Plaintiff's correspondence was delivered on May 17, 2022. -
Plaintiff never received any return correspondence,

203. Plaintiff demands that one hundred percent of sale price for The Atlantic be transferred to
him. Plaintiff also demands that Mr. Bradley place (1) one hundred percent of the sale price plus
(2) accrued interest in escrow until the funds can be transferred by court order. Plaintiff also

demands that one hundred percent of the proceeds from the sale of all The Atlantic-related

businesses, including but not limited to, CityLab, Atlantic Media Strategies and AtlanticLIVE be
transferred to Plaintiff.

204. Plaintiff understands CityLab was sold to Bloomberg in 2019.

205. As adirect and proximate result of Mr. Bradley’s conduct, Plaintiff has been
damaged in an amount to be determined at trial. In addition to actual damages and profits or
statutory damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees

incurred in this action.

206. The Atlantic published numerous articles plagiarized by defendant during

Mr. Bradley’s time as owner, and promoted defendant at live events held by The Arlantic.

Plaintiff alleges The Atlantic and Mr. Bradley helped defendant promote his plagiarized books.

Mr. Bradley’s actions represent unfair competition. He created confusion in the marketplace that

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defendant and The Atlantic, and not Ralph Baker, were the source of certain articles, books and

interpretative analysis on redlining, mass incarceration, Reconstruction, et. al.

_ infringed on Plaintiff's copyright for nearly a decade. Plaintiff

demands a permanent injunction against Mr. Bradley owning a copyright for any work of art —
books, comic books, movies, music, articles, sound recordings, et. al. Plaintiff demands that any

artistic works — books, comic books, movies, music, sound recording, et. al. — Mr. Bradley is

involved with or associated with also be precluded from receiving a copyright.

FOR THE CAUSE OF ACTION AGAINST LAURENE POWELL JOBS

208. Plaintiff understands that Laurene Powell Jobs owns Emerson Collective, the

vehicle through which she purchased a majority stake in The Atlantic. Plaintiff alleges that at the
time of the transaction, the value of The Atlantic was due to content plagiarized from Shock
Exchange, the theft of Plaintiff's intellectual property by defendant and The Atlantic, live events
featuring defendants, etc. The Atlantic continues to profit from Plaintiff's content, intellectual
property, and the goodwill derived from having created confusion in the marketplace pursuant to
plagiarized content.

209. Plaintiff alerted Ms. Powell Jobs and Emerson Collective in the form of a letter that
Plaintiff was aware of defendant and The Atlantic's copyright infringement, and Plaintiff was
pursuing legal action against them. Plaintiff's correspondence was delivered on May 20, 2022.
Plaintiff never received a return correspondence.

210. As adirect and proximate result of Ms. Powell Jobs’ conduct, Plaintiff has been damaged
in an amount to be determined at trial. In addition to actual damages and profits and statutory
damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this

action.

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211. The Atlantic has benefited from numerous articles plagiarized by defendant during Ms.

Powell Jobs’ time as owner. Ms. Powell Jobs’ actions represent unfair competition and she

Baker, were the source of certain articles, books and interpretive analyses plagiarized by

defendant.

212. Ms. Powell Jobs brazenly infringed on Plaintiff's copyright. Plaintiff demands a

permanent injunction against Ms. Powell Jobs owning a copyright for any work of art — books,
comic books, movies, music, articles, sound recordings, et. al. Plaintiff demands that any artistic

works — books, comic books, movies, music, sound recording, et. al. — that Ms. Powell Jobs is

involved with or associated with also be precluded from receiving a copyright.

FOR THE CAUSE OF ACTION AGAINST BERTELSMANN SE & CO. KGaA

213. Bertelsmann, through its imprints of Random House and One World and its former

imprint of Spiegel & Grau, published at least three books plagiarized by defendant — Between the

World and Me, We Were Eight Years In Power, and The Water Dancer. Bertelsmann and its

various imprints helped defendant brandish himself as a thought leader on redlining, reparations,

mass incarceration, economics, Black culture, Reconstruction, Virginia history, et. al.

214. Bertelsmann helped perpetuate defendant’s narrative that his newfound prose reflected

defendant’s attempt to write like Baldwin. Plaintiff alleges these books won critical acclaim, and

helped garner notoriety for defendant, Bertelsmann, Random House, and Spiegel & Grau.

215. Bertelsmann and its imprints had a financial incentive to publish plagiarized content. In

2021 Bertelsmann generated revenue of EUR18.6 billion. Random House was Bertelsmann’s

third-largest segment with revenue of EUR4.0 billion, or about 22% of total revenue.

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216. Bertelsmann’s acquisition of Random House’s remaining 25 percent stake was acquired

at an implied value of nearly $3 billion. Due to Bertelsmann’s significant capital investment,

_ Bertelsmann has an out-sized incentive to protect and grow its asset.

217. On May 22, 2022 Plaintiff emailed members of Bertelsmann’s communications team and

Dr. Olaf Christiansen, Senior Vice President, Corporate Legal Department — that defendant had
been copying material from Shock Exchange and Plaintiff was pursuing legal action.

218. On May 26, 2022 Plaintiff received an email from Daniel Novak, Assistant General
Counsel at Random House, alerting Plaintiff that the letter had been forwarded to Mr. Novak and
he would “reply in due course.” Plaintiff has not received any more replies from Random House.
219. As adirect and proximate result of Bertelsmann’s conduct, Plaintiff has been damaged in
an amount to be determined at trial. In addition to actual damages and profits and statutory |
damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this
action.

220. ° Bertelsmann and Random House have shown a total disregard for U.S. copyright laws.
Plaintiff demands an injunction against Bertelsmann and its subsidiaries from manufacturing,
marketing and promoting all books, movies, music, articles, comic books, sound recordings, et.
al, related to defendant, including Between the World and Me, We Were Eight Years In Power,

and The Water Dancer.

221. Plaintiff demands an injunction against Bertelsmann and its subsidiaries from
manufacturing, marketing or promoting any new books for a minimum of 50 years. Plaintiff
demands an injunction against Bertelsmann and its subsidiaries from obtaining a copyright for

any new work of art or any derivative work for a minimum of 50 years. Plaintiff demands an

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injunction against Bertelsmann and its subsidiaries from distributing music, broadcasting
television programs or streaming content in the U.S. in perpetuity.

222. Through their books, copied from Shock Exchange, Bertelsmann and its subsidiaries

engaged in unfair competition with Plaintiff and Shock Exchange. Plaintiff alleges they helped
brandish defendant’s image and reputation as a thought leader on redlining, mass incarceration,
economics, Reconstruction, Virginia history, Black culture and themes related to Black culture in
rural Virginia, amongst others.

223. Bertelsmann and its subsidiaries caused public confusion resulting in the wrongful belief
that defendant, and not Ralph Baker and Shock Exchange, was the source of these themes and
interpretative analyses. Bertelsmann and its subsidiaries positioned defendant as having crafted a
“unique literary writing style” and having crafted the dense, rhythmic prose included in his
books and articles. They caused public confusion resulting in the wrongful belief that defendant,
and not Ralph Baker and Shock Exchange, is the source of this dense, rhythmic prose.

FOR THE CAUSE OF ACTION AGAINST BCP SPIEGEL & GRAU

224. Spiegel & Grau published Between the World and Me in 2015. Plaintiff understands that
Spiegel & Grau is now an independent publisher. The book reached the New York Times Best
Seller list and The Guardian ranked it 7" on its list of the 100 best books of the 21‘ century.”
225. The prose in Between the World and Me looked nothing like the prose in defendant’s
previous book, Defendant claimed the prose was inspired by James Baldwin. Plaintiff alleges
defendant attempted to copy Plaintiff's sentence structure, cadence and voice from Shock
Exchange, and told the public it came from Baldwin. Plaintiff alleges defendant closely copied a

description of Plaintiff's life, his family’s life and told the public it was defendant’s life.

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226. Spiegel & Grau gave credence to defendant’s story that the prose was derived from

Baldwin. On July 15, 2022 Plaintiff emailed Spiegel & Grau that he was aware of defendant and

_ i ’s copyright infringement, and Plaintiff was pursuing legal action. Plaintiff never

received any return correspondence.

227. Asadirect and proximate result of Spiegel & Grau’s conduct, Plaintiff has been damaged
in an amount to be determined at trial. In addition to actual damages and profits and statutory :
damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this i
action.

228. Spiegel & Grau showed blatant disregard for U.S. copyright laws. Plaintiff demands an 7
injunction against Spiegel & Grau from manufacturing, and promoting all books, movies, |
articles, music, comic books, sound recordings, et. al, including Between the World and Me.
229. Spiegel & Grau engaged in unfair competition with Plaintiff and Shock Exchange. It
helped brandish defendant's image and reputation as a thought leader on Black culture and |
having crafted his dense, rhythmic prose independent of Shock Exchange. Spiegel & Grau

caused public confusion, resulting in the wrongful belief that defendant, and not Ralph Baker and

Shock Exchange, was the source of various themes related to Blacks and Black culture, and the

dense, rhythmic prose present in Between the World and Me.

FOR THE CAUSE OF ACTION AGAINST CHRIS JACKSON

230. Jackson served as editor for Between the World and Me, We Were Eight Years In Power

and The Water Dancer. Jackson accompanied defendant on book tours and helped give credence

to the belief that defendant wrote certain books and articles independent of Shock Exchange.

231. Plaintiff demands that Mr. Jackson’s social media accounts — Twitter, Instagram,

Facebook, Seeking Alpha (seekingalpha.com) — be provided for review and used as evidence.

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232. Jackson engaged in unfair competition. He caused public confusion resulting in the

wrongful belief, that defendant wrote Between the World and Me, We Were Hight Years In

i ndent of Shock Exchange. |

233. J ackson also caused public confusion resulting in the wrongful belief that defendant, and
not Ralph Baker or Shock Exchange, was the source of the dense, rhythmic prose in those books.
234. As adirect and proximate result of Jackson’s conduct, Plaintiff has been damaged in an
amount to be determined at trial. In addition to actual damages and profits or statutory damages,
Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this action.
235. Jackson has shown a total disregard for copyright laws in the U.S. Plaintiff demands a
permanent injunction against Jackson owning a copyright for any work of art — books, comic
books, movies, music, articles, sound recordings, et. al. Plaintiff demands that any artistic works
— books, comic books, movies, music, sound recording, et. al. — that Jackson is involved with or
associated with also be precluded from receiving a copyright.

FOR THE CAUSE OF ACTION AGAINST NICOLE COUNTS

236. Plaintiff understands that Counts serves as an editor at One World and served as one of
the editors pursuant to The Water Dancer.

237. Plaintiff demands that Ms, Counts’ social media accounts — Twitter, Instagram,
Facebook, Secking Alpha (seekingalpha.com) — be provided for review and used as evidence.
238. Ms. Counts engaged in unfair competition. She caused public confusion resulting in the
wrongful belief, that defendant, and not Ralph Baker or Shock Exchange, was the source for the
characters and the dense, rhythmic prose in The Water Dancer, and the source for the material
pursuant to Hiram and other characters.

239. As adirect and proximate result of Ms. Counts’ conduct, Plaintiff has been damaged in

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an amount to be determined at trial. In addition to actual damages and profits or statutory

damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this

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240. Ms. Counts has shown a total disregard for copyright law. Plaintiff demands a permanent
injunction against Ms. Counts owning a copyright for any work of art — books, comic books,
movies, music, articles, sound recordings, et. al. Plaintiff demands that any artistic works —

books, comic books, movies, music, sound recording, et. al. — that Ms. Counts is involved with

or associated with also be precluded from receiving a copyright.

FOR THE CAUSE OF ACTION AGAINST VICTORY MATSUI

241, Plaintiff understands Ms. Matsui served as an editor at One World and served as one of
the editors pursuant to The Water Dancer. |
242. Plaintiff demands that Ms. Matsui’s social media accounts — Twitter, Instagram,

Facebook, Seeking Alpha (seckingalpha.com) — be provided for review and used as evidence.

243. Ms. Matsui engaged in unfair competition. She caused public confusion resulting in the

wrongful belief, that defendant, and not Ralph Baker or Shock Exchange, was the source for the

characters and the dense, rhythmic prose in The Water Dancer, and the source for the material

pursuant to Hiram and other characters.

244. Asa direct and proximate result of Ms. Matsui’s conduct, Plaintiff has been damaged in

an amount to be determined at trial. In addition to actual damages and profits or statutory

damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this

action.

245. Ms. Matsui has shown a total disregard for copyright law. Plaintiff demands demand a

permanent injunction against Matsui owning a copyright for any work of art — books, comic

books, movies, music, articles, sound recordings, et. al. Plaintiff demands that any artistic works

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— books, comic books, movies, music, sound recording, et. al. — that Ms. Matsui is involved with
or associated with also be precluded from receiving a copyright.

__ FOR THE CAUSE OF ACTION AGAINST KENYATTA MATTHEWS SS

246. Plaintiff understands that Kenyatta Matthews married to the defendant. Plaintiff
understands that along with defendant and college friend, Kamilah Forbes, Kenyatta Matthews is
one of the founders of the production company Maceo-Lyn.

247. According to sources, Maceo-Lyn, defendant, Ms. Oprah Winfrey’s Harpo Films, and
Plan B are set to produce a movie adaptation of The Water Dancer for MGM. Kenyatta
Matthews’ attempt to produce a movie adaptation of The Water Dancer — a derivative work
pursuant to the book — represents copyright infringement.

248. Plaintiff demands that Kenyatta Matthews’ social media accounts — Twitter, Instagram,

Facebook, Seeking Alpha (seekingalpha.com) — be provided for review and used as evidence.
249. Kenyatta Matthews is promoting the narrative that the dense, rhythmic prose, the story,
and the characters in The Water Dancer were all original creations of defendant. She is helping
to creation confusion in the marketplace and thus, is engaging in unfair competition.

250. As adirect and proximate result of Kenyatta Matthews’ conduct, Plaintiff has been
damaged in an amount to be determined at trial. In addition to actual damages and profits or
statutory damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees
incurred in this action.

251. Plaintiff demands a permanent injunction on Kenyatta Matthews’ sale, marketing and
promotion of all books, comic books, movies, music, articles, and sound recordings related to
defendant. Plaintiff demands a permanent injunction against Ms. Matthews from obtaining a

copyright for any work of art, including books, movies, music, comic books, or sound

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recordings. Plaintiff demands that any artistic works — books, comic books, movies, music,

sound recording, et. al. — that Kenyatta Matthews is involved with or associated with also be
____preeluded from receiving a copyright $$$

FOR THE CAUSE OF ACTION AGAINST THE APOLLO

252. The Apollo created a stage adaptation for Between the World and Mein 2018. Plaintiff
understands the Apollo staged productions at the Apollo, the John F. Kennedy Center for the
Performing Arts and the Atlanta Symphony Hall. The production included readings of excerpts
from the book by actress Angela Bassett and rappers Black Thought and Common, amongst
others. Jazz musician Jason Moran performed a musical score for the stage adaptation.

253. The stage adaptations represented derivative works of Between the World and Me, which
Plaintiff alleges defendant copied from Shock Exchange. The stage adaptions also represented an
infringement of Plaintiff's copyright.

254. As adirect and proximate result of the Apollo’s conduct, Plaintiff has been damaged in
an amount to be determined at trial. In addition to actual damages and profits and statutory
damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this
action,

255. The Apollo engaged in unfair competition with Plaintiff and Shock Exchange. It helped
brandish defendant’s reputation as having originated the dense, rhythmic prose in the book.
Plaintiff alleges the Apollo helped defendant promote plagiarized material, and helped create
confusion in the marketplace about where the prose and the content originated. Plaintiff demands
that the ownership of all intellectual property related to the stage adaptation of Between the
World and Me — including Jason Moran’s musical score — be transferred to him immediately.

256. Plaintiff contacted Aldo Scrofani, chief operating officer of the Apollo, on May 13, 2022.

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Plaintiff alerted him of copyright infringement by defendant and the Apollo. Plaintiff never

received a return correspondence. [f the Apollo has not performed an internal investigation into

Apollo. Plaintiff demands a permanent injunction against the marketing and promotion of all
books, articles, movies, music and sound recordings related to defendant by the Apollo.

257. Plaintiff understands that in February 2021 the Apollo signed for representation of its
intellectual property in all areas with United Talent Agency. The representation came after the
success of its stage play. Plaintiff demands a permanent injunction against the Apollo owning a
copyright for any work of art. Plaintiff demands a permanent injunction against the Apollo — or
anyone the Apollo is involved with — from owning a copyright “in all areas” as defined by its
agreement with United Talent Agency.

FOR THE CAUSE OF ACTION AGAINST MACEO-LYN

258. Plaintiff alleges Maceo-Lyn’s financial interest in the movie adaptation of The Water
Dancer, which defendant copied, represents copyright infringement. Plaintiff demands a
permanent injunction against Maceo-Lyn promoting all books, movies, music, comic books, and
sound recordings related to defendant, including The Water Dancer.

259. Maceo-Lyn engaged in unfair competition by promulgating the notion that The Water
Dancer was defendant’s original work and not copied from Shock Exchange. As a direct and
proximate result of Maceo-Lyn’s conduct, Plaintiff has been damaged in an amount to be
determined at trial. In addition to actual damages and profits or statutory damages, Plaintiff ts
entitled to recover the costs and reasonable attorneys’ fees incurred in this action.

260. Plaintiff alleges the value of the TA-NEHISI COATES trademark was generated by

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content defendant copied from Plaintiff and Shock Exchange. Plaintiff demands that ownership

of the TA-NEHISI COATES trademark be transferred to Plaintiff.

from owning a copyright for any work of art — books, comic books, movies, music, articles,

sound recordings, et. al. Plaintiff demands any artistic works — books, comic books, movies,
music, sound recordings, et. al — that Maceo-Lyn, its owners and affiliates are involved with or
associated with also be precluded from receiving a copyright.

FOR THE CAUSE OF ACTION AGAINST KAMILAH FORBES
262. In 2018 Ms. Forbes directed the world premiere and tour of the stage adaptation of

Between the World and Me for the Apollo. She directed tours of the performance at The
Kennedy Center and Atlanta Symphony Hall. Plaintiff understands Ms. Forbes and other
executive producers — defendant and Susan Kelechi- Watson — planned to take the stage
adaptation to television. In November 2020, the stage adaptation was broadcast on HBO.

263. The stage play and theatrical production on HBO represent derivative works of Between
the World and Me, which Plaintiff alleges was plagiarized by defendant. They also represent
copyright mfringement.

264. Plaintiff demands that Ms. Forbes’. social media accounts — Twitter, Instagram,
Facebook, Seeking Alpha (seekingalpha.com) — be provided for review and used as evidence.
265. Plaintiff understands that along with defendant and Kenyatta Matthews, Ms. Forbes is
one of the founders of the production company Maceo-Lyn. Maceo-lyn, along with Harpo Films,
Plan B and MGM, is expected to create a movie adaptation of The Water Dancer, which Plaintiff
_ alleges was plagiarized by defendant.

266. Asa direct and proximate result of the Ms. Forbes’ conduct, Plaintiff has been damaged
in an amount to be determined at trial. In addition to actual damages and profits and statutory

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damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this

action.

Between the World and Me was performed in front of sold-out crowds. Due to the wild success

of the stage play and theatrical production on HBO, Plaintiff understands that in March 2021 Ms.
Forbes signed with United Talent Agency in all areas.°

268. Plaintiff demands a permanent injunction against the marketing and promotion

of all books, articles, movies, music, theatrical productions and sound recordings related to
defendant by Ms. Forbes. Plaintiff demands a permanent injunction against Ms. Forbes owning a
copyright for any work of art. Plaintiff demands a permanent injunction against Ms. Forbes — or
any organization she is involved with — from owning a copyright “in all areas,” as defined by her
agreement with United Talent Agency.

FOR THE CAUSE OF ACTION AGAINST SUSAN KELECHI-WATSON
269. Plaintiff understands Ms. Kelechi-Watson was an executive producer for the theatrical

“production of Between the World and Me on HBO. Plaintiff understands she and other executive
producers — defendant and Ms. Forbes — planned to take the stage adaptation of the book to
television. In November 2020 the stage adaptation was broadcast on HBO.

270. The theatrical production on HBO represents a derivative work of Between the World and
Me, which Plaintiff alleges defendant copied from Shock Exchange. It also represents copyright
infringement.

271. Plaintiff demands that Ms. Kelechi-Watson’s social media accounts — Twitter, Instagram,
Facebook, Seeking Alpha (seckingalpha.com) — be provided to him for review and used as

evidence.

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272. As adirect and proximate result of the Ms. Kelechi-Watson’s conduct, Plaintiff has been

damaged in an amount to be determined at trial. In addition to actual damages and profits and

easonable attorneys’ fees

incurred in this action.

273. An actress, Plaintiff understands Ms. Kelechi-Watson performed in the theatrical
production of Between the World and Me performed at the Apollo and on HBO.

274. Ms. Kelechi-Watson has shown total disregard for U.S. copyright law.

275. Plaintiff demands a permanent injunction against the marketing and promotion

of all books, articles, movies, music, theatrical productions and sound recordings related to
defendant by Ms. Kelechi- Watson. Plaintiff demands a permanent injunction against Ms.
Kelechi- Watson owning a copyright for any work of art. Plaintiff demands that any work of art
she is involved with be precluded from owning a copyright.

FOR THE CAUSE OF ACTION AGAINST WARNER DISCOVERY
276. In November 2020 HBO broadcasted a theatrical production of Between the World and

Me. HBO is owned by Warner Bros. The production included readings of excerpts from the book
by Ms, Oprah Winfrey, Ms. Kelechi- Watson, actress Ms, Angela Bassett, and actor Mahershala
Ali, amongst others.

277. The theatrical production represents a derivative work of the book, which Plaintiff alleges
defendant copied from Shock Exchange. It also represents copyright infringement.

278. Asa direct and proximate result of the Warner Bros.’s conduct, Plaintiff has been
damaged in an amount to be determined at trial. In addition to actual damages and profits and
statutory damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees
incurred in this action.

279. Warner Bros. engaged in unfair competition with Plaintiff and Shock Exchange. It helped

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brandish defendant’s reputation as having originated the dense, rhythmic prose, which he copied

from Shock Exchange. Plaintiff alleges defendant copied aspects of Plaintiff's life from Shock

and helped create confusion in the marketplace about where the prose and the content originated.

Plaintiff demands that ownership of all intellectual property related to the stage adaptation of
Between the World and Me be transferred to Plaintiff immediately.

280. Plaintiff contacted several members of HBO’s corporate communications team on May
14, 2022. Plaintiff alerted them of copyright infringement by defendant and HBO. Plaintiff never

received a return correspondence. If Warner Bros. has not performed an internal investigation

into defendant, then it should have. Plaintiff understands HBO is still broadcasting the theatrical
production of Between the World and Me. Plaintiff demands a permanent injunction against the
marketing and promotion of all books, articles, movies, music and sound recordings related to
defendant.

281. Plaintiff demands that all intellectual property related to the theatrical production on
HBO be transferred to Plaintiff immediately, including, but not limited to, music, books, comic
books, sound recordings, motion pictures and the recorded document number V9984 D707 P1-3
owned by HBO and One Up Story, LLC.

282. Warner Bros. has shown a total disregard for U.S. copyright law. Plaintiff demands that
the Court set a blackout period from 6PM to 2am, each night from Thursday through Sunday at
HBO, HBO max and HBO.com for a minimum of 10 years. For the avoidance of doubt, that
means no programming for HBO, HBO Max, and HBO.com during the blackout period.

FOR THE CAUSE OF ACTION AGAINST MS. OPRAH WINFREY
283. In November 2018 Ms. Winfrey appeared in HBO’s theatrical production of Between the

World and Me. Ms. Winfrey was a vigorous supporter of The Water Dancer. She added it to her

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famous book club, the first in her partnership with Apple to provide content to Apple and Apple

TV +, Apple’s new streaming service.

discuss The Water Dancer. Again, in September 2019 she appeared with Coates and her friend

Gayle King on CBS to promote The Water Dancer.

285. Plaintiff understands Ms. Winfrey had a weekly discussion of The Water Dancer leading
up to her interview with Coates on Apple TV + in November 2019.

286. Months later, it was revealed that Ms. Winfrey, Plan B, MGM, Kamilah Forbes, et. al,
were teaming up for a movie adaptation of The Water Dancer — a derivative work.

287. In May 2022 Plaintiff sent a letter to Ms. Winfrey, alerting her of defendant’s copyright
infringement and demanding that she and Apple TV + cease and desist from (1) marketing and
promoting and (2) producing and reproducing all books, movies, articles and music related to
Coates. In June 2022 Plaintiff received a letter from Barry I. Slotnick of Loeb & Loeb, the
litigation counsel for Harpo Productions and Ms. Winfrey. Litigation counsel indicated the
broadcast interview with defendant was “legitimate news and commentary.”

288. Plaintiff alleges that giving defendant a platform to purport that he wrote The Water
Dancer independent of Shock Exchange is not legitimate news. Secondly, Mr. Slotnick never
addressed the fact that Ms. Winfrey had a financial interest in the movie adaptation of The Water
Dancer.

289. Plaintiff alleges Ms. Winfrey’s financial interest in the movie adaptation of The Water
Dancer, which defendant copied, represents copyright infringement. Plaintiff demands a
permanent injunction against Ms. Winfrey promoting all books, music, comic books, sound

recordings, and movies related to defendant, including The Water Dancer.

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290. As adirect and proximate result of Ms. Winfrey’s conduct, Plaintiff has been damaged in
an amount to be determined at trial. In addition to actual damages and profits or statutory

damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this

action.

291. Ms. Winfrey engaged in unfair competition. Ms. Winfrey helped promulgate the notion
that defendant was capable of writing The Water Dancer, the themes from The Water Dancer
were original creations of defendant and not copied from Shock Exchange, that the dense,
rhythmic prose in the book originated from defendant and was not copied from Shock Exchange.
Plaintiff alleges that in promoting The Water Dancer, Ms. Winfrey was increasing the value of
her financial interest in the movie.

292. Ms. Winfrey has shown a brazen disregard for U.S. copyright law. Plaintiff demands a
permanent injunction on Ms. Winfrey from owning a copyright for any work of art — books,
comic books, movies, theatrical productions, music, articles, sound recordings, et. al. Plaintiff
demands that any artistic works — books, comic books, movies, theatrical productions, music,
sound recording, et. al. — that Ms, Winfrey is involved with or associated with also be precluded
from receiving a copyright.

FOR THE CAUSE OF ACTION AGAINST APPLE

293. In November 2019 Ms. Winfrey interviewed defendant about The Water Dancer for
Oprah’s Book Club. The event was held on Apple TV+, Apple’s new streaming service. It was
the first event ever held on Apple TV+.

294, Plaintiff alleges Apple gave Ms. Winfrey a platform to help her promote The Water
Dancer, making Apple party to the alleged copyright infringement orchestrated by defendant and

Ms. Winfrey.

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295. Apple gained revenue and subscribers from the event with defendant and Ms. Winfrey.

Apple also engaged in unfair competition. It helped brandish defendant’s image and reputation as

Exchange.

296. In May 2022 Plaintiff alerted Apple’s general counsel of defendant’s plagiarism and
demanded that Apple cease and desist from marketing all books, music movies, sound
recordings, comic books, et. al related to defendant, Plaintiff demanded that Apple remove the
interview with defendant and Ms. Winfrey from its streaming service.

297. Asa direct and proximate result of Apple’s conduct, Plaintiff has been damaged in an
amount to be determined at trial. In addition to actual damages and profits or statutory damages,
Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this action.
298. Plaintiff alleges that giving defendant a platform to purport that he wrote The Water
Dancer independent of Shock Exchange is not “legitimate news and commentary.”

299. Apple has shown a desire monetize to defendant’s name, which Plaintiff alleges was built
from years of copying content from Shock Exchange. Plaintiff demands an injunction against
Apple providing any streaming services, including Apple TV+, for a minimum of 10 years.
FOR THE CAUSE OF ACTION AGAINST PLAN B

300. Plan B is adapting The Water Dancer for the screen. In June 2022 Plaintiff sent a letter to
Brad Pitt at Plan B, alerting him of defendant’s copyright infringement and demanding that Plan
B cease and desist from (1) marketing and promoting and (2) producing and reproducing all
books, movies, articles and music related to defendant. Plaintiff was alerted by United Parcel
Service that the doorman at Plan B’s location refused to accept his letter.

301. Plan B’s financial interest in the movie adaptation of The Water Dancer, which defendant

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allegedly plagiarized, represents copyright infringement. Plaintiff demands a permanent

injunction against Plan B promoting all books, movies, music, comic books, sound recordings,

302. Asadirect and proximate result of Plan B’s conduct, Plaintiff has been damaged in an

amount to be determined at trial. In addition to actual damages and profits or statutory damages,

Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this action.
303. Plan B has also engaged in unfair competition. Plan B helped promulgate the narrative
that The Water Dancer and themes from The Water Dancer were original creations of defendant
and not copied from Shock Exchange and the dense, rhythmic prose in the book originated from
defendant. Plaintiff alleges that in promoting defendant, Plan B increased publicity for the movie
and the value of its financial interest.

304. Plan B has shown a brazen disregard for U.S. copyright law. Plaintiff demands an
injunction against Plan B from owning a copyright for a new work of art — books, movies,
theatrical productions, music, sound recording, et. al. — for a minimum of 20 years. Plaintiff
demands an injunction against Brad Pitt, Jeremy Kleiner, and Dede Gardner — owners and
executives at Plan B — from owning a copyright for a new work of art or any project they are
involved with from owning a copyright for a new work of art for a minimum of 20 years.

FOR THE CAUSE OF ACTION AGAINST MGM
305. MGM is adapting The Water Dancer for the screen. MGM’s financial interest in the

movie adaptation of The Water Dancer, which defendant allegedly plagiarized, represents
copyright infringement. Plaintiff demands a permanent injunction against MGM promoting all
books, movies, music, comic books, sound recordings, and movies related to the defendant,
including The Water Dancer.

306. Asadirect and proximate result of MGM’s conduct, Plaintiff has been damaged in an

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amount to be determined at trial. In addition to actual damages and profits or statutory damages,

Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this action.

defendant wrote The Water Dancer independent of Shock Exchange, and the dense, rhythmic
prose in the book originated from defendant. In promoting defendant’s material, which Plaintiff
alleges defendant plagiarized, MGM increased publicity for the movie and the value of its
financial interest.

308. MGM has shown a brazen disregard for U.S. copyright law. Plaintiff demands an
injunction against MGM from owning a copyright for a new work of art — books, movies,
theatrical productions, music, sound recording, et. al. — for a minimum of 20 years. Plaintiff
demands an injunction against any project MGM is involved with from owning a copyright for a

new work of art for a minimum of 20 years.

FOR THE CAUSE OF ACTION AGAINST DISNEY
309. Through its Marvel Comics series Black Panther, Black Panther and the Crew, and

Captain America, Disney published several comic books by defendant. Black Panther: World of
Wakanda was written by defendant, Roxane Gay and Yona Harvey. Plaintiff alleges these comic
books were plagiarized. The dialogue in the comic books was an attempt by defendants to copy
Plaintiffs voice, cadence and unique literary writing style. These comic books constitute a gross
and willful violation of Plaintiff’ s copyright.

310. Plaintiff alleges the Black Panther movie was plagiarized from Shock Exchange. The
dialogue in the movie was an attempt by the screen writers - Ryan Coogler and Joe Robert Cole
— to mimic Plaintiff's unique literary writing style and his cadence. The movie constitutes a gross

and willful violation of my copyright.

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311. The dialogue for all of the Marvel comics written by defendants was copied from Shock

Exchange. Defendants attempted to write in Plaintiffs voice. They attempted to copy the

copy Plaintiff's cadence.

312. The dialogue in the Black Panther movie was also copied from Shock Exchange. Plaintiff
alleges Ryan Coogler and Joe Robert Cole attempted to mimic Plaintiff's cadence and replicate -
Shock Exchange rhythmic prose tedious talk.

313. The dialogue in the comic books is difficult to follow with no forward movement. All of
the characters speak in the same voice — illustrating the dialogue is clearly contrived to replicate
Shock Exchange rhythmic prose and tedious talk.

314. Plaintiff understands the screenplay for the Black Panther movie was written

by Ryan Coogler and Joe Robert Cole. Plaintiff alleges all of the characters spoke in the same
voice — illustrating the dialogue was clearly contrived to replicate Shock Exchange rhythmic
prose and tedious talk.

315. In May 2022 Plaintiff sent a letter to Disney’s general counsel, Horatio

Gutierrez, alerting him of copyright infringement by defendants and Plaintiff was pursuing legal
action against Disney.

316. In June 2022 Plaintiff received a letter from Munger, Tolles & Olson LLP, litigation
counsel for Disney, Marvel and MVL Film Finance. Litigation counsel asserted there was no
evidence defendants ever received or read Shock Exchange.

317. Plaintiff encouraged Disney to perform its own internal investigation into defendant,
Ryan Coogler and Joe Robert Cole. Plaintiff impressed upon Disney and its litigation counsel the

importance of ensuring the truth emerged.

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318. Asadirect and proximate result of Disney’s conduct, Plaintiff has been damaged in an

amount to be determined at trial. In addition to actual damages and profits or statutory damages,

319. Through their comic books and movies, Disney engaged in unfair competition with

Plaintiff and Shock Exchange. Disney and its subsidiaries positioned defendant as having crafted
a “unique literary writing style” and having crafted the dense, rhythmic prose included in its
comic books. They have caused public confusion resulting in the wrongful believe that
defendant, and not Ralph Baker and Shock Exchange, is the source of this dense, rhythmic prose.
320. Plaintiff demands an injunction against Disney and its subsidiaries from manufacturing,
marketing and promoting all books, movies, music, articles, comic books, sound recordings, et.
al, related to defendant, including Black Panther, Captain America and the Black Panther movie.
321. Plaintiff demands an injunction against Disney or its subsidiaries from manufacturing,
marketing or promoting any new comic books or new movies for a minimuin of 50 years.
Plaintiff demands an injunction against Disney owning a copyright for any new work of art or
derivative work for a minimum of 50 years. For the avoidance of doubt, this includes the new
movie Black Panther: Wakanda Forever, expected to be launched November 11, 2022.

FOR THE CAUSE OF ACTION AGAINST RYAN COOGLER

322. Plaintiff understands Mr. Coogler was one of the screenwriters for the

movie Black Panther. Plaintiff alleges the dialogue from the movie was plagiarized from Shock
Exchange. Plaintiff alleges Mr. Coogler attempted write the dialogue in Plaintiffs voice. Mr.
Coogler also attempted to mimic plaintiffs cadence. Mr. Coogler’s actions represent copyright
infringement.

323. Plaintiff demands that Mr. Coogler’s social media accounts — Twitter, Instagram,

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Facebook, Seeking Alpha (seekingalpha.com) — be provided to him for review and used as

evidence.

wrongful belief that he, and not Plaintiff or Shock Exchange, was the source of the dialogue in

the Black Panther movie.

325. As adirect and proximate result of Mr. Coogler’s conduct, Plaintiff has

been damaged in an amount to be determined at trial. In addition to actual damages and profits
or statutory damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees
incurred in this action.

326. Mr. Coogler has shown a total disregard for copyright law. Plaintiff demands a
permanent injunction against Mr. Coogler owning a copyright for any work of art — books, comic
books, movies, music, articles, sound recordings, et. al. Plaintiff demands that any artistic works
— books, comic books, movies, music, sound recording, et. al. — that Mr. Coogler is involved
with or associated with also be precluded from receiving a copyright.

FOR THE CAUSE OF ACTION AGAINST JOE ROBERT COLE

327. Plaintiff understands that Joe Robert Cole was one of the screenwriters for the movie
Black Panther. Plaintiff alleges the dialogue from the movie was plagiarized from Shock
Exchange. Joe Robert Cole attempted write the dialogue in Plaintiff's voice. He also attempted to
mimic Plaintiff's cadence. Joe Robert Cole’s actions represent copyright infringement.

328. Plaintiff demands that Joe Robert Cole’s social media accounts — Twitter, Instagram,
Facebook, Seeking Alpha (seekingalpha.com) — be provided to him for review and used as

evidence.

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329. Joe Robert Cole engaged in unfair competition. He caused public confusion resulting in

the wrongful belief, that he, and not Ralph Baker or Shock Exchange, was the source of the

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dialogue in the Black Panther movie

330. Asa direct and proximate result of Joe Robert Cole’s conduct, Plaintiff has been
damaged in an amount to be determined at trial. In addition to actual damages and profits or
statutory damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees
incurred in this action.

331. Joe Robert Cole has shown a total disregard for copyright law. Plaintiff demands a
permanent injunction against Joe Robert Cole from owning a copyright for any work of art --
books, comic books, movies, music, articles, sound recordings, et. al. Plaintiff demands that any
artistic works — books, comic books, movies, music, sound recording, et. al. — that Joe Rabert
Cole is involved with or associated with also be precluded from receiving a copyright.

FOR THE CAUSE OF ACTION AGAINST ROXANE GAY
332. Plaintiff understands that Ms. Gay co-wrote the Marvel comic book Black Panther:

World of Wakanda with other defendants. Plaintiff alleges the dialogue from the comic books
was plagiarized from Shock Exchange. Plaintiff alleges Ms. Gay attempted write the dialogue in
Plaintiff's my voice. Plaintiff alleges Ms. Gay attempted to mimic his cadence. Ms. Gay’s
actions represent copyright infringement.

333. Plaintiff demands that Ms. Gay’s social media accounts — Twitter, Instagram, Facebook,
Seeking Alpha (seekingalpha.com) — be provided to him for review and used as evidence.

334, Ms. Gay engaged in unfair competition. She caused public confusion resulting in the
wrongful belief, that she, and not Ralph Baker or Shock Exchange, was the source of the
dialogue in the comic book.

335. Asa direct and proximate result of Ms. Gay’s conduct, Plaintiff has been

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damaged in an amount to be determined at trial. In addition to actual damages and profits or

statutory damages, Plaintiff is entitled to recover the costs and reasonable attomeys’ fees

incurred in this action

336. Ms. Gay has shown a total disregard for copyright law. Plaintiff demands a permanent
injunction against Ms. Gay owning a copyright for any work of art — books, comic books,
movies, music, articles, sound recordings, ct. al. Plaintiff demands that any artistic works —
books, comic books, movies, music, sound recording, et. al. — that Ms. Gay is involved with or

associated with also be precluded from receiving a copyright.

FOR THE CAUSE OF ACTION AGAINST YONA HARVEY
337. Plaintiff understands that Ms. Harvey co-wrote the Marvel comic book Black Panther.

World of Wakanda with other defendants. Plaintiff alleges the dialogue from comic books was
plagiarized from Shock Exchange. Plaintiff alleges Ms. Harvey attempted to write the dialogue in
his voice and mimic his cadence. Ms. Harvey’s actions represent copyright infringement.

338. Plaintiff demands that Ms. Harvey’s social media accounts — Twitter, Instagram,
Facebook, Seeking Alpha (seekingalpha.com) — be provided to him for review and used as
evidence.

339. Ms. Harvey engaged in unfair competition. She caused public confusion resulting in the
wrongful belief, that she, and not Ralph Baker or Shock Exchange, was the source of the
dialogue in the comic book.

340. As adirect and proximate result of Ms. Harvey’s conduct, Plaintiffhas been damaged in
an amount to be determined at trial. In addition to actual damages and profits or statutory
damages, Plaintiff is entitled to recover the costs and reasonable attorneys’ fees incurred in this
action.

341. Ms. Harvey has shown a total disregard for copyright law. Plaintiff demands a permanent

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injunction against Ms. Harvey owning a copyright for any work of art — books, comic books,

movies, music, articles, sound recordings, et. al. Plaintiff demands that any artistic works —

or associated with also be precluded from receiving a copyright.

FIRST CAUSE OF ACTION
Direct Copyright Infringement (17 U.S.C. § 101 et seq.)
(Against All Defendants) |

342. Plaintiff repeats and realleges each allegation above as if fully set forth herein.

343. Shock Exchange is original, creative, and copyrightable subject matter under the laws of
the United States.

344. The owner of Shock Exchange is the Plaintiff Ralph W. Baker, Jr.

345. The copyright in Shock Exchange is registered, and the Copyright Office has issued valid
Certificates of Registration for the Shock Exchange.

346. By its actions, alleged above, defendants have infringed and will infringe the publishers’
copyrights in and to Shock Exchange by, inter alia, reproducing, distributing, publicly displaying,
publicly performing, and making derivative works of the works without any authorization or
permission from Plaintiff.

347. Each infringement of the rights of Plaintiff in one of the works or Shock Exchange
constitutes a separate and distinct act of infringement.

348. Defendants’ infringement of Plaintiff's copyrights, including the Plaintiffs works or
Shock Exchange, is willful.

349, Upon information and belief, as a direct and proximate result of its wrongful conduct,

defendants have and will obtain benefits, including, but not limited to, profits to which

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defendants is not entitled.

350. Asa direct and proximate result of defendants’ wrongful conduct, Plaintiff has been, and

determination. Unless restrained by this Court, defendants will cause further irreparable injury to

Plaintiff.

351. Asa direct and proximate result of defendants’ infringement, Plaintiff is entitled to
recover statutory damages, pursuant to 17 U.S.C. § 504(c), with respect to each work infringed.
Alternatively, at the election of Plaintiff, pursuant to 17 U.S.C. § 504(b), Plaintiff is further

entitled to recover from defendants the damages he has sustained and will sustain, as well as any

gains, profits and advantages obtained by defendants because of their acts of infringement
alleged above. At present, the amount of such damages, gains, profits, and advantages cannot be
fully ascertained by Plaintiff.

352. Plaintiff is entitled to recover his attorney’s fees and costs.

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff Ralph W. Baker, Jr., respectfully requests judgment against

defendants as follows:

353. Declaring that the practices of defendants in connection with Shock Exchange constitute
willful copyright infringement.

354. Issuing a preliminary and permanent injunction enjoining defendants, and its agents,
servants, employees, attorneys, successors and assigns, and all persons, firms and corporations
acting in active concert or participation with it, from directly or indirectly reproducing,
distributing, publicly displaying, creating derivative works, otherwise infringing, or causing,
enabling, facilitating, encouraging, or inducing the reproduction, distribution, public display,
creation of derivative works, or other infringement of, any of the respective copyrights owned or
exclusively controlled, in whole or in part, by Plaintiff, whether now in existence or hereinafter
created, and ordering that all unlawful copies be destroyed;

355. Entering judgment for Plaintiff against for statutory damages in an amount based upon
defendant’s willful acts of infringement of Shock Exchange, as alleged above, pursuant to the
Copyright Act, 17 U.S.C. §§ 101, et seq.

356. Entering judgment for Plaintiff against defendants for statutory damages in an amount
based upon defendants’ willful acts of infringement of Shock Exchange, as alleged above,
pursuant to the Copyright Act, 17 U.S.C. §§ 101, et seq.

357. Awarding Plaintiff the costs and disbursements of this action, including reasonable
attorney’s fees, pursuant to 17 U.S.C. § 505.

358. Awarding Plaintiff pre-judgment and post-judgment interest, to the fullest extent

available, on the foregoing; and

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359. Granting such other further and different relief as this Court deems just and proper.

DEMAND FOR JURY TRIAL

360. Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a jury trial on all issues
so triable in this action.

Dated: September 19, 2022

RALPH W. BAKER, JR. — PLAINTIFF

Qalpt Wm bate 9 [1a(22.

Name: Date:

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EXHIBIT A

In one of the most obvious examples of arrogance and disdain, in The Water Dancer defendant

masking the piracy.

The Water Dancer

“But I have not let them dictate to me, Hiram,” she said, holding the envelope. “And I
have not simply read, my boy. I have learned their language and custom — even those
that should be beyond my station, especially those that should be beyond my station,
and that has been the seed of my liberty.”

She walked over and placed the package before me.
“Open it,” she said.

This I did and found inside of it a life of a man. There were letters to family. There
were authorizations. There were certificates of sale.

“This is yours for the week,” she said. We can’t hold on to this man’s effects forever.
What we have here is a selection, random enough so that its absence should not alarm
him.”

“And what am I to do?” I asked.

“Learn him, of course,” she said. “This is a lesson in their customs. A way of
comprehending all of those things beyond your station. He is a gentleman, of some
education and schooling, as are many of the great slave-holders in this country.”

I must have looked confused because Corrine now said, “What do you think you’ve
been studying down here?”

I said nothing. She continued on, “What we do is not idle exercise, nor Christian
improvement. First you learn what they know, in the general. And then you learn them
in the specific — their words and their hand, Own the man’s especial knowledge and
you shall own the measure of the man. Then you might fashion the costume, Hiram,
and make it yours to fit.”

I began to study the very next day. Quickly I ascertained that all the documents were
drawn up by the same hand. Studying them, a portrait began to emerge. From the

‘| artifacts of the author’s life — the balance of his ledgers, his communications with his
wife, his journal entries upon certain deaths, the accounting off consecutive harvests —

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the man, in all his traits and foibles, was summoned before me. I saw his daily habits,
his routines, his particular philosophy, and by the final hour, having never know him, I
could render nearly all his features.

Corrine met me again, a week later, in the library. I provided her with all I had

ascertained, and under her rigorous interrogation, [ provided even more. What was fis
wife’s favorite flower? How regular were their departures? Did this man love his
father? Had he yet turned gray? Where did he stand in society? And how ancient was
his fortune? Was he given to the infliction of random cruelties? I responded to every
query — I had, with my gift of memory, inhaled all the facts of the man’s life. But
Corrine pushed on to questions that went beyond the facts that might be committed to
memory to matters of interpretation. Was he a good man? What did he covet in life?
Was he the sort to revel in perceived wrongs? The next night she picked up this line of
inquiry and pushed me to construct the man down to the last loose thread of his
waistcoat. On the following night of interrogation, I found that the more speculative
questions came easier, and then by the last night they were so easy that I felt them to
matters of my own life. And that was the point of it all.

“Now,” she said. “You have read well enough to know this man to be in possession of
a particular property of which he is most fond.”

“The jockey, yes.” I replied. “Levity Williams.”

“The same,” she said. “This man will need a day-pass for the road, a letter of
introduction for the further portion, and finally free papers signed by his master. You
will provide these.”

She pulled from the case a tin and handed it to me. Opening it, [ saw a fine pen, and by
handling, it, I knew it was the same weight as the one often employed by the object of
my study.

“Hiram, the costume must fit,” she said. “The day-pass must be done with the same
hurried disregard, the letters must have all that official flourish, and the freedom papers
the same arrogance that is surely the right of these vile people.”

There was still the practical fact of copying his signature and penmanship. But here my
memory and gift of mimicry triumphed. It was no different than what I’d done all those
years ago, when Mr. Fields showed me the image of the bridge. Harder were the man’s
beliefs and passion, and my ability to covey them with confidence and ease, as though
they were my own. I never forgot that lesson. It was essential to what I became, to
what I unlocked and saw.

I don’t know if those documents ever loosed Levity Williams. Everything we did was
done under so much secrecy. But still, in forging these documents I felt something new
arising in me and the new thing was power. The power extended out from my right

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arm, projected itself through the pen, and shot out through the wilderness, right at the
heart of those who condemned us.

Soon this became a regular labor. Every few weeks, Corrine presented me with a new
package. And each week I fitted myself to the costume, so that when I finished, I was

sometimes a ITT

My work demanded no less: I must reach beyond all my particular hatred and pain, see
them in their fullness, and then, with my pen, strike out and destroy them...

| And we did much more than that. We returned the documents edited and augmented.
Our forgeries encouraged feuds. We altered inquests. We lent proof of fornication. My
anger was now free and ranged beyond Maynard and my father, aimed now at all
Virginia, an anger I sated each night, under the lanterns, at the long library table.

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EXHIBIT B

Below are side-by-side comparisons of prose from The Water Dancer versus Shock Exchange.

The Water Dancer

Shock Exchange

(1) It was an unusual request to make to a
tasking man, but was not so unusual
between us, at moments when it was only
us, and each day it seemed there were
moments like this. He'd sold off half the
kitchen staff in the past year. The smithy
and the carpentry workhouse were empty
now. Carl, Emmanuel, Theseus, all the other
men who once tasked there had been sent
off Natchez-way. The ice-house had been
fallow for two years. One maid, Ida, worked
the entire house, which meant the order that
I remembered from childhood was no more,
but more than that, meant the warm smile of
Beth and the laugh of Leah and the sad,
vacant eyes of Eva were no more.

P.42

And from then on Grandma had a rule, “If
that boy don’t play, nobody plays!”

To this day my cousins describe me as the
‘demon’ that could do no wrong. Grandma
had about 20 grandkids, 17 great-grandkids
and kept two or three foster kids from time
to time. Add in some additional kids from
the neighborhood and there was an army of
us. The activities went around the clock.
And whatever games were going on, all you
heard was, ‘Let that boy play.’ If there was
a basketball game going on and my older
cousins blew me off, I ran into the house to
tell Grandma, She would come outside and
take the ball away until they let me shoot a
few times, or let me stand on the court and
give the illusion as if I was actually playing.
We also played softball or ‘tennisball.’ And
of course I had to play. At two or three
years old I could barely hold a bat but they
had to stand there and pitch to me until I
finally connected. Then I cried if I got out.
Grandma would come outside and tell my
cousins to put me back on base. They
would put me on base to give the illusion as
if I was “safe” when I was really ‘out.’
When we played football I had to be
‘Number 43’ for Larry Brown, the All-Pro
running back for the Washington Redskins.
Larry Brown was my hero and if I could not
be #43 then I was not playing. And if I
wasn’t playing, nobody was going to play. I
would hold up games for 15-20 minutes at a
time with my nonsense.

P.14

(ID I first went to my room, washed, put on
a set of clothes, the wound my way up the
back stairs until I emerged in the central
corridor, and then, walking down the

Whenever someone broke one of her rules
you knew the penalty — the switch. She
would make you go into the woods and pick
your own. Now there was a strategy to this.

corridor, found my father standing, as if
he’d been waiting for me. Behind him, I saw
Maynard seated at a desk writing and a
gentleman standing over him. The
gentleman was Mr. Fields, who tutored

The bigger the switch, the more stable it
was, the more it would hurt, and the longer
the beating would last. However, if you did
not get a big enough switch Grandma would
have Mr. Allen, the man she remarried later

—____|_Maynard three times a week, He were took

of pained frustration, and Maynard’s own
face was stricken.

My father smiled at me, but this does not
convey the look he gave, because my father
had a variety of smiles — smiles of
displeasure, or disinterest, or shock and
amazement — indeed he smiled so much it
made him hard to read, but I knew the smile
I saw that morning because it was the same
smile I’d seen, mere months ago, down near
the Street, down in the fields where he’d
flicked me the copper coin.

P.30

back with an entire tree branch. Once my
cousin returned with the switch, Grandma
would examine it for length, thickness, and
flexibility. Mr. Allen would add his two
cents and no matter how long or thick the
switch was, he always felt it was inadequate.
Once the switch had passed inspection, the
beating would begin. After hearing (never
seeing) what took place next, that was the
best advertisement Grandma needed as to
what happened when you crossed her.

One way to avoid the switch was to keep
Grandma in a good mood.
P.15

(ILD There I was, my own iife dangling over
the black pit, and now being called to save
another. I had, on many occasions, tried to
teach Maynard to swim, and he took to this
instruction as he took to all instruction,
careless and remiss at the labor, the sore and
bigoted when this negligence bore no fruit. I
can now say that slavery murdered him, that
slavery made a child of him, and now,
dropped into a world where slavery held no
sway, Maynard was dead the minute he
touched the water. I had always been his
protection. It was I, only by good humor,
and debasement, who had kept Charles Lee
from shooting him; and it was I, with special
appeal to our father, who’d kept him
countless times from wrath; and it was I
who clothed him every morming; and I who
put him to bed every night; and it was I who
_ was now tired, in both body and soul; and it
was I, out here, wrestling against the pull of
the current, against the fantastic events that
had deposited me there, and now wresting
with the demand that I, once again, save

I spent several nights up until 1 a.m. — 2
a.m. with a book, a thesaurus and flashlight
(so as not to wake up Dwayne and Mark). I
went lindy hopping with Malcolm Little,
tried to remake myself with Jay Gatsby, and
screamed “run black boy, run!” at Bigger
Thomas ... .

I frankly did not think Wright’s Bigger
character was realistic because no black
person could have possibly been that dumb.
Every black person I knew would have left
her drunk behind on the floor and gone back
to work. The man was hired as a driver only.
Helping his employer’s drunken daughter to
her room was not part of his job description.
Then Ms. Justice wanted to know if I were
in Bigger’s position, would I have confessed
to accidentally murdering the girl instead of
fleeing. Frankly, I was insulted.

My response was, “That could not happen to
me because I am not a fool. If there was a

commotion in the West Wing, then I would

tin tife, go get one. And he -weuld conte —_—__—_—_,
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another, when I could not even conjure the
energy to save myself.
P.7

have been in the East Wing with Sue Ellen
and J.R. If there was a cominotion in the
East Wing, then I would have been in the
West Wing with Pam and Bobby. I would
have made it my business not to be where

' students thought the situation was hopeless

the-trouble-was- brewing interestingly
enough, the class was split along racial lines.
The white students thought Bigger should
have turned himself in because Mary’s death
was an accident. The African-American

and Bigger was as good as dead. I opted for

1?

“run black boy, run!
P.34 - P.35

(IV) But knowing now the awesome power
of memory, how it can open a blue door
from one world to another, how it can move
us from mountains to meadows, from green
woods to fields caked in snow, knowing
now that memory can fold the land like
cloth, and knowing too, how I had pushed
my memory of her into the “down there” of
my mind, how I forgot, but did not forget, I
know now that this story, this Conduction,
had to begin there on the fantastic bridge
between the land of the living and the land
of the lost.

P.4

She ruled more with the “carrot” than the
“stick.” It was not just what she did, but how
she did it. First of all, she would always
make us peanut butter and jelly sandwiches
for lunch. She always bought the crunchy
peanut butter because that’s what we liked.
She would then cut the sandwiches
diagonally across the corners, making two
triangles. For your birthday would bake you
a cake in any style you liked; she had 11
grandchildren in Farmville, which equated
to 11 birthday cakes a year. And whenever —
you would cut your leg or hand from
playing outside or falling off your bike, she
would put hydrogen peroxide on it instead
of alcohol because peroxide didn’t sting: It
seems insignificant now but to a child that
stuff was important. You would never play
with reckless abandon if you knew that the
alcohol was waiting for you.

P.10

(V) Finally, Mr. Fields pulled a sheet of
paper from his satchel, and then he pulled
out a book filled with drawings. He turned
to a drawing of a bridge and he told me to
look at it, to concentrate on it, and after a
‘minute, he closed the book, handed me a
pen, and told me to draw the bridge myself.
I had never done anything quite like this,
and unsure of Mr. Field’s intentions, and
knowing, even then, that the Quality
resented the pride of the Tasked, unless that

Whenever he came home from work
Sharmane usually met him in the driveway
before he could get out of the car ...
Grandpa was seemingly in three states —
going to work, at work, or coming from
work. We never saw him except for on
weekends. He worked the night shift for
decades and I never once heard the man
complain. He did whatever he had to do in
order to provide for his family. As much as
he was a killjoy, he definitely had our

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pride could be fitted to their profit, I gave
him a puzzled look, and pretended that I did
not quite understand. He repeated himself,
and then watched as I took the pen, gingerly
at first, and began my sketch. For effect, I

respect. He worked hard and was a man of
means.

He had a tractor, an antique truck, a pickup
truck, and a “Deuce.and a Quarter,” or what

world olance ity
Yrerurr

d-clance-up,astheugh straining to
recall the picture in my mind. But there
really was no need to recall, for it felt to me
that the bridge was right there, on the blank
paper, and all I need do was trace the lines
to reveal it. So [ traced the stony arch, the
small opening at the right end, the arch over-
top, the rocking outcropping in the back and
the tree-filled ravine over which the bridge
spanned,

P.32

the rest-of America affectionately referredto
as an Electra 225, Back in the day, a black
man with a Cadillac or a Deuce and a
Quarter commanded respect. He kept it so
clean that we didn’t even want to put our fee
on the floor for fear would leave a speck of
dirt.

P.12

(VY) I lived with Thena for a year and a half
before I got to the precise root of her rage.
On a warm summer night I awakened from
the smail pallet I maintained up in the loft of
the cabin by loud moaning. It was Thena,
talking in her sleep. “It’s fine, John. It’s
fine.” And she spoke this with such clarity
that when I first heard it, I thought she was
speaking to someone present. But when I
looked down from the loft, I saw that she
was sleeping. I had already gotten into the
habit of leaving Thena with her ghosts, but
the more she spoke, the more it seemed to
me that this time she was in distress. I
climbed down to rouse her. As I got closer, I
heard her moaning and talking: “It’s fine,
fine, I told you. Fine, John.” I reached out
and pulled on her shoulders, shaking it until
she awoke with a start.

P.15

She ruled more with the “carrot” than the
“stick.” It was not just what she did, but how
she did it. First of all, she would always
make us peanut butter and jelly sandwiches
for lunch, She always bought the crunchy
peanut butter because that’s what we liked.
She would then cut the sandwiches
diagonally across the corners, making two
triangles. For your birthday would bake you
a cake in any style you liked; she had 11
grandchildren in Farmville, which equated
to 11 birthday cakes a year. And whenever
you would cut your leg or hand from
playing outside or falling off your bike, she
would put hydrogen peroxide on it instead
of alcohol because peroxide didn’t sting. It
seems insignificant now but to a child that
stuff was important. You would never play
with reckless abandon if you knew that the
alcohol was waiting for you.

P.10

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(VID) That night I dreamed that I was out in

the tobacco fields again, out there with the
Tasked, and we were, all of us, chained
together and this chain was linked to one
long chain and at the end of it stood

By 8 p.m. everybody had cleared out, but I
would keep shooting until it got dark. That.
was less efficient because I first had to shoot
the ball, and then go find it. Eventually
Grandma put up a street light so I wouldn’t

M.
almost unaware that he was holding all of us
in the palm of his hand, And then I looked
around and saw that I was old, that I was an
old man, and when I looked back I saw
Maynard, not as the young man I knew, but
as a baby crawling in a bowling green, and
then I saw the Tasked slowly disappearing
before me, their familtar faces and bodies
fading, one by one, until it was only me, an
old man held and chained by a baby. Then
everything fell away, the chains, Maynard,
the field itself, and I was enveloped in the
blackness of night. And then the black
branches of a forest sprang up around me,
and I was alone, and afraid and lost until
looking up I saw a silver moon, and then the
heavens blinked out from blackness, and
among them I could distinguish Ursa Minor,
the mystical bear who secreted away the old
gods. I knew this because Mr. Fields had
shown me a star map on our last day
together. And looking at the tail of the bear,
I saw something else: the mark of my future
days, wreathed in brilliant but ghostly blue,

. and the mark was the North Star.

P.44

her heart! I then shot until 1 a.m.,
sometimes 2 a.m. in the morning. People in
the neighborhood thought I was crazy. They
would drive to work in the morning while I
was shooting and then return home in the
afternoon while I was shooting. They would
go out in the evening while I was shooting
and around midnight or so, a car would slow
down and then come to a complete stop.

The driver would watch in amazement at me
still shooting.’ People originally thought I
was peculiar, but it soon became odd when I
was not out there.

Suzie would all Up the House at 9 p.m., the
midnight to check on my whereabouts.
Heck, I thought she was peculiar, for where
else would a teenage boy be at midnight
during summer vacation? By 1 a.m. she
would tell me to come home but I would
stay an extra hour anyway.

P. 35-36

(VIED) I was of the age when it was natural
to seek out a wife, but by then I had seen
tasking women promised to tasking men,
and then seen how such “promises” were
kept. I remember how these young couples
would hold one another, each moming
before going to their separate tasks, how
they would clasp hands at night, sitting on
the steps of their quarter, how they would
fight and draw knives, kill each other, before
without each other, kill each other, because
Natchez-way was worse than death, an
agony of knowing that somewhere in the
vastness of America, the one whom you

There was always something going on Up
the House, like some big-time family
gathering or activity. For Mother’s Day the
boys took on the girls in a family softball
game. The boys won of course, but this
nonsense was a spectacle. You always
knew whose mother was at bat because the
kid would stare at the ground out of
embarrassment or try to hide behind a tree.
First of all, my mother hit from the left side
of the plate. I mean, who does that? Then
she pulled her right leg out before swinging,
as if she was afraid to get hit by the ball.
You were supposed step toward the pitcher,

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loved the most was parted from you, never
again to meet in this shackled, fallen world.
That was the love the Tasked made, and it
was that love that occupied my thoughts
when time came to tend to Maynard.

that way you generate more power when
swinging through the ball. Who didn’t
know that? Then she couldn’t make contact
with the ball ... embarrassing! It took her
about 10 swings before she could ever put

P46

the ballin play and that was usually a weak
ground ball. We would pretend to misplay
the ball so she could get on base. Every year
the boys would destroy the girls.

P.17

(TX) But I had not been brought to the
Underground for vengeance, nor even mere
forgery, but for the power I was believed to
bear. If we could only learn to trigger it, to
control it and harness it. There was one who
knew, one like me, but unlike me she had
mastery of this power. In her section of the
country, she had become so beloved and
famed for fantastic exploits that the coloreds
of Boston, Philadelphia, and New York had
given her the name Moses. The power she
wielded had been dubbed “Conduction” —
the same word Corrine used to describe my
own power — for how it “conducted,”
seemingly at will, the Tasked from shackled
fields of the South to the free land of the
North. But this Moses kept her own counsel
and declined to give the Virginia

Underground any notion of how she worked.

And so I was left to my own devices, or
more properly stated, I was left to their
devices.

P. 170

I was pretty rambunctious as a toddler and
apparently was so out of control that they
had to tie my stroller to a table leg to keep
me from getting away. Well that
rambunctiousness caught up with me
eventually ...

While Ana Mae and Joe had clearly defined
rules in place, I was untouchable Up the
House. My rambunctiousness sometimes

_ crossed the line and my mother made a

concerted effort to put me back in line.
P.12 and P.14

(X) I don’t know that it I about me that
made people want to unburden themselves,
But I knew from her mention of Parnel
Johns’s family where we were going. And
so we went,

P.182

“Get down here,” he said again. And it
occurred to me what he meant. I was to un
too. I had just that year been bought out of

And so it went. My Daddy spent most of his
summers and weekends devising ways to .
torture me, and I devised ways to get out of
it.

P.23

And so it went. I spent several nights up
until 1 a.m. - 2 a.m. with a book, a thesaurus
and a flashlight (so not to wake up Dwayne
and Mark). I went lindy hopping with

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_my lesson with M. Fields. I remember the
eyes of everyone assembled directed toward
mie, and what I saw in them was both
sympathy for me, perhaps, unearned, and
disgust for Maynard. So I was lined with

Malcolm Little, tried to remake myself with
Jay Gatsby, and screamed “run black boy
run!” at Bigger Thomas.

P.34

| three of the others and of f we went in the
August heat to the edge of the field.
P.139

That I followed, and did not question, tells
you exactly how much faith I had in Harriet
by then. She was our Moses and I believed
even in my fear that she would somehow
split the sea that now stood before us. So I
walked.

P.271

In Shock Exchange Plaintiff gave colorful descriptions of people or things. Below are similarities

with The Water Dancer.

The Water Dancer

Shock Exchange

(XI) He laid these rounds on the table face-
up, asked me to look at them for a minute,
and then he turned the rounds over so their
‘blank bottoms showed. And when he asked
me to find the round with a portrait of the
old man with a long nose or the pretty girl
with long locks or the one with the bird
perched on the branch, it was as though he’d
never turned them over, and they were right
there facing me.

P.31

The driver stepped off and nodded to the
ordinary man, who then beckoned me to

board the wagon.
P.141

I turned and saw a colored man in
’ gentleman’s clothes before me. _
P.189

I looked up and saw the colored man
smiling at me. He was perhaps ten years my

And everybody had a picture of Jesus, the
two white guys and the black guy hanging

_ on their wall. Grandma said that Jesus died

to save us humans on earth and the two
white guys were the Kennedys and the black
guy was Martin Luther King, Jr. They died
trying to help black folks.

P.12

My sophomore year in high school (1983)
the Prince Edward County school system
invested in about eight K-Cars from
Chrysler to be used for Drivers Education
(Drivers Ed). We figured they must have
gotten them for a steal because they had
bought so many, and they were hideous —
bright, yellow, box-shaped K-Cars. They
were put on display outside the school and
the kids would just gawk at them as the bus
drove past ...

As he talked I could see a tractor-trailer in
my rearview, but it was a pretty safe
distance away. There was only one

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senior and regarded me with a look of pure
kindness.
P.193

problem, however. I could not get the bright
yellow box-shaped K~+Car to start! I tried to
stay calm but I was literally scared to death.
Again, Coach Scott goes, “Baker, start the
car.” I tried everything, but to no avail. By

~ stalled, it would be too late for him to hit the

_ up!” He made me hop in the passenger side

newcyen-could hearthe teuek driver blowing
aru y¥ eee wir lita LT

the horn behind us. My mind started racing
— I] figured that by the time he realized the
bright yellow K-Car shaped like a box had

brakes and he would kill us all. I saw my
life flash before my eyes and realized how at
age 16, I had actually lived a pretty good
life. Coach Scott then yelled, “Baker! Get

while he took the reins. Embarrassing!
There was a girl in the backseat, Brenda,
who was literally laughing her rear end off.
Like magic, Coach Scott got the bright
yellow K-Car with the box shape to start and
pulled off just in time to avoid the tractor-
trailer ...

When we arrived back at school I swore
Brenda to secrecy. But as always, bad news
has a way of reverberating throughout the
black community. The kids went wild with
talk of “Ralph I heard you can’t drive” and
“Yo man you still alive? I heard you got
Brenda and Coach Scott killed.” I retold the
story about how the bright yellow K-Car
with the box shape stalled in the middle of
the road, going 50 miles an hour no less.
But everybody found the story too
incredible to believe. Who had ever
experienced a car doing that? Nonetheless, I
was witness to what America was about to
find out ~ the K-Car was a piece of trash.*4

The Third Rail sourced the transaction for
GECC; I had worked with him twice before.
On one of the deals we flew to Dayton, Ohio
for two days of due diligence. It was an
hour’s drive from the airport to the company
and the guy did not say a word. And when
he did speak all he did was complain. He

also had a serious issue with the Dillon Read

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analyst representing the target company.
The analyst had worn a double-breasted suit
during the meetings, which the Third Rail
thought was a serious faux pas. He fumed
something to the effect of, “Did you see that

kid with that double-breasted suit? You

must at least be a managing director to wear
a double-breasted suit.”
P.104-105

Below are similar passages between The Water Dancer and Shock Exchange. Defendant also

attempted to write these passages in Shock Exchange rhythmic prose and tedious talk, and tried

to replicate the pacing and certain features of Plaintiff's voice.

The Water Dancer

Shock Exchange

(XII) I drove Corrine in a carriage, one
Saturday, and recalled all that I felt while
taking Sophia to meet my uncle. But no blue
light of Conduction came to me, and when I
finished my story, though my hosts might
well be riveted and my own heart in tatters
from memories, I was always exactly where
I had begun.

The afternoon after the drive, after another
aborted attempt at Conduction, Corrine and I
walked together up to the main house and
into the dining area. Mr, Fields and Hawkins
were there drinking coffee. They greeted us
both and then departed. Summer was well
upon us with its long days, which meant less
cover for our rehearsals. | remember the
earth waking up that year and the
transcendent feeling that I was waking up
with it. But still no Conduction.!”

She clawed at his eyes. She caught his ear in
her teeth. He yelled with pain. Scon others
came, overtook her, threw her to the ground,
kicked her, spat upon her. I did nothing.
Understand that I saw all of this and I did
nothing. | watched these men sell children

In any other year I would have been a shoe-
in to make the team. However, the school
had just gotten rid of the eighth graded and
freshman basketball team, so JV was my
only option. It had been unheard of for an
eighth grader to play JV but Don White,
Luther White and Rodney Vaughan and I set
out to change that.

The last day of tryouts Coach Scott said he
would come by our classroom to inform us
if we got cut. If you did not see him then
you knew you made the team. The next
morning, the kids swore that Coach Scott
had asked me to come by his office to talk
about something. I ignored them. By sixth
period I was on pins and needles; Mrs.
Faggins’ English class seemed to last five
hours. I stared at the door awaiting the axe,
but still no Scott.!®

Mr. Obama was trying to convince the
world that the infrastructure idea had come
to him through a séance with FDR. Did he
have a giant weegie board hidden
somewhere in the White House? Ironically,
FDR was most known for Wall Street

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and beat a mother to the ground, and I did
nothing.
P.135

reform and breaking up the banks into
commercial banks and investment banks.
For his efforts, FDR was labeled a traitor to
his class — the monied class — by Wall Street
sympathizers. Secondly, in giving the credit

forhis grand plan to FDR. an icon who the
for his gr 5

country revered, it still struck me as an
attempt to curry favor with white voters.
“President Obama conveniently failed to
mention the true source of his idea to invest
in roads and bridges to spur the economy,” I
surmised. The deterioration in the U.S.
economy had materialized when Mr. Obama
was.still Senator Obama. The article would
imply that all along, Mr. Obama had the key
to solving the country’s economic malaise,
yet kept “the infrastructure idea” to himself.
As Senator, he had the ability to put the plan
into place, but still he kept quiet.

P.177

(XIII) “New around here, aren’t you?”
I looked up and saw the colored man smiling
at me. He was perhaps ten years my senior

and regarded me with a look of pure kindness.

I must have recoiled at his question, because
he said, “Don’t mean to snoop. In fact not
snooping at all. I can see it in all the new
ones. Just dazzled by the smallest things. It’s
okay, son. Nothing wrong with being new.
Nothing wrong with being dazzled.”

I said nothing.

“Name’s Mars,” the man said. “This is my
place. Me and my Hannah. You from over
near Ninth Street, right? Staying with Otha
over there? Raymond and Otha — they both
my cousin — blood to my dear Hannah — and
you with them, so that make you family to
me.” Still I said nothing.

P.193

She was silent for a few moments. When she
next spoke, her quavering voice was an iron
rod, “You told none of this to Master
Howell?” she asked.

From the day I started the Shock Exchange
other coaches have tried to “recruit” my
players. The incident with the Brooklyn Bears
and Coach William has been a common
occurrence. I have always told my players not
to speak to other coaches when they are
wearing my uniform. Once, I received a call
from a coach concerning my big man. He
wanted to take the kid with them to the AAU
Nationals in Hampton, Virginia but I told him
*no.” He sold the gesture as “excellent
exposure for my big man.” Again, I told him
“no.” I knew that once he built a relationship
with the kid I would never see him again.
P.134

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“No ma’am,” I said. I have sparred him the
details, for the very name of his departed son
is hard upon his ears. The story grieves us all,
I say it only now because you have to heartily
requested and I hope that it shall bring you

some portion of peace”

“Thank you for this,” she said. “You do
yourself more credit than you know.”
Again, she said nothing for the moment.
P.86

“Doubtful,” I responded.

“Doubtful that you are him, certainly,” he
said, “But I have marked you and know that
you are about his age and bear that taint he
must surely wear. We are parted from each
other, but at night when I dream of him, I
dream of a man betrayed. And that man wears
a look much like you.”

I satd nothing.

P.128

(XIV) I thought back to Lockless, and all my —

loved ones, and right there in the middle of
the misty river I saw Thena, on wash day, an
old woman heaving the large pots of steaming
water and, with the last of her powers,
threshing the garments until they were damp
and her hands were raw. And I saw Sophia in
her gloves and bonnet, like a woman of
mastery, because that is what her task
required of her, and I watched, as I had so
many times before, as she hiked the bell of
her dress to her ankles and walked down a
back-path to see the man who held her
chained ... And I saw my aunt Emma, who
worked the kitchen all those years, walking
past with a tray of ginger cookies for all he
assembled Walkers, though none of her or
any of her kin. Perhaps my mother would be
there, and then, at the speed of thought, [ saw
her flittering, before my eyes, water dancing
in the ring.

P.8

Within five minutes of the train’s departure,
Lake Geneva appeared, and it got wider and
wider, longer and longer. The sun began to
set and I understood what the big deal was
all about. It was literally the most beautiful
sight I had ever seen. There was a woman
and her young son sitting next to me. The
kid was whining and would not keep still. I
stayed quiet but thought to myself, “Boy
you had better calm down before you get
some tea.” I suddenly realized what a long
way from home I was and wondered, “How
in the heck did I get here?” I also wondered
if | would ever see Farmville again. Yet the
Farmville 1 longed for was that of my youth
— softball games on Mother’s Day or singing
at Mercy Seat while Annie Mae looked on
approvingly. The little boy was still crying
and acting up while the mother shouted
something in a foreign language. The Swiss
speak about five different languages, but
whatever she was saying, I was certain it
involved some “tea.” Lake Geneva seemed
as if it would go on forever. I thought what

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a shame it was that everybody from
Farmville did not get the opportunity to see
the sun set over Lake Geneva. And then it
happened! The little boy received his tea
and in an instant, I was back in Farmville,

waltinea for Grandma to save me from Suzie

P.113

(XV) it was not only anger in me. I was
nineteen, and a guarded nineteen who’d
worked to feel nothing in this direction, so
that when I did feel it, right there in that
moment, when I did feel that I loved her, it
was not with reason or ritual, nor the way that
makes families and homes, but the way that
wrecks them, I was undone.

P.103

I walked onto the Street, the common area
between two long rows of gabled log cabins
where those of us who tasked in the tobacco
fields made our homes.

P.12

During the lockout my mother attended
school in Charlotte County, where she lived
with a lady named Ms, Edmunds. She and
her younger brother later graduated from
Prince Edward County High School after the
schools were reopened. Of her four siblings,
one graduated high school in Washington,
D.C., where he lived with an aunt. The other
three made their homes in Washington, D.C.
P.8

(XVI) But when he made the circuit around
the great town square, leaning back, way
back in the chaise and grinning large, the
men of society turned their backs to him and
puffed on their cigars. There were no
salutes. He was what he would always be —
Maynard the Goof, Maynard the Lame,
Maynard the Fool, the rotten apple who’d
fallen many miles from the tree. He fumed
and had me drive to the old house at the
edge of our town, Starfall, where he
purchased himself a night with a fancy, and
had the bright notion to bring her back to the
big house of Lockless, and, most fatefully,
in a sudden bout of shame, insisted on
leaving the back way out of town, down
Dumb Silk Road, until it connected to that
old turnpike, which led us back to the bank
ofthe river Goose.

P.5

All the other kids had taken nicknames like
“Doc” and “Ice” so I chose the only name
left — “Silk.” This was the moniker given
Jamaal Wilkes of the L.A. Lakers. My
classmates thought I was a clown. They
knew I would not get much playing time so
why the nickname? They could not stop
laughing at me. I had Suzie go down to the
local sporting goods store and monogram
“Silk” on all my basketball gear.

Sometimes the “S” would fall off and it
would just say “ilk,” but I still wore it. Suzie
and My Daddy started becoming concerned
about me, and hoped it was some type of
phase. The night before the game I slept in
my uniform. I refused to take the thing off.
Mike, Mitchell and Ed showed off and we
beat the daylights out of some poor team.
We were up by 30 points late in the fourth
quarter when Coach Scott called my name. I
pretended I did not hear him. Another player
had to grab me and march me to the scorer’s
table. I checked into the game with my

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wrinkled uniform and the crowd gave me a
standing ovation. Here I was the smallest
guy in school trying to play with the big
boys.

P.31

If a teammate wasn’t paying attention, I
would hit him in the head with a ‘no look’
pass on purpose, and then laugh about it
after the game. That was what Ron Orr saw
when he approached me about playing
pickup with the Longwood basketball team.
Then when I referred to myself as ‘Silk’ my
classmates didn’t think it was funny
anymore — they started calling me cocky.
P.31 - P.32

(XVID) We are all divided ourselves.
Sometimes part of us begins to speak for
reasons we don’t even understand until
years later. The voice that took me away
from the Underground was familiar and old
to me. This was the voice that conspired to
come up off the Street. This was the voice
that consigned my mother to the “down
here.” It was the voice that had spoken to
Thena, and so callously left her behind. It
was the voice of freedom, a cold Virginia
freedom — freedom for me and those I chose.
But now a new voice was rising, one
enriched by the warmth of the house of
Viola White, and the ghost of my aunt
Emma who somewhere deep admonished
me, Don’t Forget Family.

P.216

“T had family all up and down here,” he said.
“Uncles, aunts, cousins. Had to know who I
could marry and who I could not. There was
so many associations. The old folks kept the
memory. Knew who was kin and who was
not.

“That is what they there for,” said Sophia.
“To hold the stories. Keep the blood clean.”
P.341

Family was the most important aspect of my
hometown, My father was from Farmville
and my mother, who spent her early years in
Washington, D.C., was raised by her
maternal grandmother there as a teenager.
Everyone I came into contact with was
either related to me or knew my family.
You needed a linear programming model to
keep track of who was related to whom or
who was married to whom. For those you
were unsure if you were related to or not,
you simply called them cousin or uncle “so
and so.” The bigger picture was that family
stuck together and there was strength in
numbers.

P.9

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And when my father told me the stories,
passed from his grandfather of chasing off
catamounts, of hunting bear with a Bowie
knife, of felling of great trees, hauling up
stones, and diverting creeks, and by his own |

Grandma also had a very serious side,
however. Keeping the family together was
very serious business. She told us stories of
the hardships she had to overcome raising
her family ... how they had to hunt, cut pulp

how could I not want to claim this, the
courage and with and all the glory it built with
its strong arms, as my inheritance?

P34

[hand bringing forth the estate 1 then heheld, | wood and pull tobacco, else they went
2

hungry. Real estate developers offered to
build her a “turnkey” house with minimal
debt. However, she was dead set against
going into hock; instead, she built her home
in stages as the family earned the money.
She was proud of her common sense
approach to building her house, and loved
how I hung on her every word. I envisioned
how things might have been different had
she gone with the turnkey option and
shuddered at the thought.

P.16

(XVITI) It was tobacco that made for the
largess of Lockless, indeed the largess of
Elm County. And every year the tobacco
yields shrank, the entail of those high
families of Virginia shrank with them. The
days of tobacco leaves large as elephant ears
were no more, not in Elm County at least,
where crop after crop had exhausted the
land. But out west, past the Valley and
mountains, on the Mississippi banks, down
Natchez-way, there was land in need of
improvement, in need of masters to
superintend, and men to harvest and hoe,
men such as those in the diminishing fields
of Lockless.

P34

‘Most folks up her would take a boy like you

and put him on the block. Fetch a fortune,
you know. Nothing more valuable than a

colored with brains in him. But that is not

me. I believe in Lockless. I believe in Elm

County. I believe in Virginia.

P37

I was born in Farmville, Virginia in 1967 on
what my Aunt Anna describes as on of the
coldest February days in the state of
Virginia ... Farmville, located within Prince
Edward County, is about 60 miles southwest
of Richmond, the state’s capital. For Civil
War buffs, many of the stops of Lee’s final
retreat and the operations of General Grant’s
successful campaigns against the
confederacy occurred in Prince Edward.

Lee eventually surrendered in neighboring
Appomattox County. Blanche K. Bruce, the
first black man elected to the U.S. Senate
(1875 — 1881), grew up about five minutes
from my house. Prince Edward is not
known for much else than being your
typical, small, college town. Both
Longwood University and Hampden-Sydney
College (“H-SC” or “the College”) are
located there.

P.1

We were not allowed to ride our bikes in the
street during home games because the
College boys would get a little out of
control. We would sit on my grandfather’s
porch and watch them fly up and down the
road after the games. That would be our

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entertainment for the weekend. Farmville
pretty much caters to the college students
given that they drive so much of the town’s
economy.

P.2

Dubois’ conclusion about the Farmville
Negro was mixed, yet he may have walked
away with the “true” value of emancipation
... Well, there is one other thing Prince
Edward was known for. By age five or six I
knew there was a deep, dark secret the
adults only spoke about in hushed tones.
P.3 - P.4

(XTX) “Pm old,” he continued. “I can’t
reconstruct myself for this new world. | will
pass with this Virginia, and these troubled
times will fall to Maynard, which means
they will fall to you. You have to save him,
son. You have to protect him. I don’t mean
tomorrow at race-day. There is so much
coming, so much trouble coming for us all,
and Maynard, whom I love more than
anything, he is not ready. Mind him. Mind
my boy.”

P.43

She was always trying to help people and
took a special interest in children who she
thought were less fortunate. It was a quirk
that we had to deal with and we hoped that
ultimately, it would get her into heaven or
something. However, she lived for her own
children; we were her world, Her main
worry was who was going to take care of her
kids if something happened to her. She
would query different family members from
time to time to ensure someone would step
in if need be. It got to the point where it was
almost an obsession.

P.19

It was almost laughable to us that something
could happen to our mother. The
quintessential “strong” black woman, she
could bend but never break. Even if she
died we figured she would find a way to
come back to life. Yet, there were times
when she put a scare into us. If she was not
home from work by 6:30 p.m. we ran in the
house and sat real still. Then we would call

_ just about every relative we had, inquiring

of her whereabouts. Grandpa had a police
blotter where he could hear about
emergencies, car accidents, fires, and police
chases. We would listen to that for a while
to see if there were any reported car
accidents in the neighborhood. By 7:30
p.m. if she was not home and had not called,

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all hell would break loose. Life in my
Farmville was very predictable — there were
set times for certain things to occur and for
people to be certain places. But there was
also a level of fragility; if some misfortune

hod hafallan ane mother We werd Hever
TH VETO OT TO >

have recovered.
P.14

(XX) And Thena, the meanest woman on the
Street, might have been sweeping he front
yard, beating out an old rug, or rolling her
eyes and sucking her teeth at someone’s
foolishness. But it was winter in Virginia, and
all in possession of good sense were huddled
inside by the fires. So when I walked outside,
there was no one on the Street, no one peering
out the door of their quarters, no one to grab
my arm, swat my bottom twice and yell, “Hi,
this cold bout to be the death of you! And
where is your momma, boy?”

P12

By early evening the sun had set, and the
savory smells of our late supper — fried
chicken, biscuits, ash-cake, and potlikker —
hung over the Street. Men and women form
Starfall, with relations still at Lockless,
brought up pies and treats for dessert.

P.89

Everybody on the Street knew Kidder was
using its balance sheet to earn profits from
principal trading.

P.97

I assumed it must have been a misprint. The
paper mentioned that Joseph Jett was a
managing director and one of the most
powerful African Americans on the Street.
P.95

The former head of mortgage trading at
Lehman described the inability of the Street
to police itself: “From a policy perspective,
the regulators have to step in ... It would be
an awful lot to ask the Street to not look for
revenue opportunities where their
competitors are finding revenue.”

P.281

(XX) Then, by light of the bonfire, with
everyone stuffed and bursting at the seams,
the stories began of the ghosts of Lockless, of
all our lost and gone.

P.89

They lay awake night, listening to the
groaning ghosts of tasking folk past, those
who'd been carried off.

P.113

Citigroup vs. Rakoff and “Ghosts of Thieves
Past.”

Rakoff advised Siegel to sell his home in
New York and uproot his family down to
Florida. After giving prosecutors the details
on the elaborate insider-trading ring he was
part of, the hundreds of millions of dollars
they had made and the “big fish” at
Goldman, Siegel felt like he was doing
something good for society. However, after
Freeman got off with only four months’ jail

_ time, Siegel was distraught. The Feds

admitted to both Siegel and Rakoff that they
bungled the case. The prevailing school of
thought was that Freeman got a slap on the
wrist because he was a member of the

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Goldman fraternity and protected by its
clout. Decades later, after prosecuting
Levine, Milken, Wilkis, Reich, Siegel and
Freeman, nothing has changed. If anybody
can understand the culture of the Street —

entitled incormigible —itis Rakoff, To

understand Rakoff’s need to restore the
public’s faith in the government ... to “make
things right,” one would had to have
witnessed the “Den of Thieves” firsthand.
P.260-261

(XXID The effect of all this was a kind of
watchfulness among the tasking folks, in
particular toward those you did not know.
This worked the other way too, so that if
you were new to Lockless or any of these
other houses of bondage, you took things
slow, you did not question or inquire on
people’s affairs, for if you did you might
then be thought to be among those who were
eye and ears, who tasked among the Task,
and this was a dangerous place because then
you thought yourself might be poisoned or

plotted against.

P.105

We would sce all kinds of people from the
community, some from Mercy Seat,
Hampden-Sydney, Darlington Heights, etc.,
looking like they were in dire straits. [fhe
didn’t know the person, then Grandpa
miraculously was out of liquor. We kids
saw this take place for years and never once
mentioned it, not even amongst ourselves;
we knew better.

P12

(XXII) The Sireet was a communal place
but Thena kept to herself, never joining in
the gossip, small talk, or singing. |

P.15

“I can’t be your mother. I can’t be Rose. She
was a beautiful woman, with the kindest
heart. [ liked her and I do not like many
anymore. She did not gossip and kept to
herself. I can’t be what she was to you. But
you have chosen me, I understand that. I
want you to understand that.”

P.19

Every day a group of guys would sit in the
lunchroom and gossip about what deals
were occurring in the marketplace. Most of
their vitriol was directed at one person — the
Queen Bee. She must have possessed a
special kind of pixie dust because all of her
deals seemed to get done. .
P.102

There were rumors that she had stolen a
colleague’s client with insinuations that the
colleague was “too junior” to lead a deal and
had gotten fired from a rival firm.
Sometimes junior people would engage in
this sort of gossip or pick sides in turf wars;
they would have their careers ended for
picking the wrong side. I stayed neutral,
avoided that lunchroom like the plague and
tended to my own business.

P.102 - P.103

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(XXIV) “You know who I am. You done
heard how they talk about me but you also
know something is broken in old Thena, and
when I seen you up in the loft, I had a feeling
something was broken tn you. And you had

Grandma marveled at the fact that I was
weak, and sickly, I still tried to play with the
bigger kids. At that point I became her “pick.”
And from then on Grandma had a rule, “If
that boy don’t play, nobody plays!”

._____| chosen me, for whatever reasoning, you had

PB

picked me out.”
P.18

(XXV) “I like you, Hiram,” Georgie said. “I
really do. If I was so lucky as to have a
daughter about your season, you would be my
only choice. You are smart. You keep your
mouth where it should be, and you were more
better to Maynard than a man ever deserved.”
P. 102

“Yeah, Georgie. I ain’t ask a whole lot of
questions — you must understand why. This
thing Georgie got himself into, well, I
imagine part of the deal is you don’t talk too
much.

P.111

Again he walked the line, but this time he
stopped before one of the men farther down
the line to my left. “You, Jackson, talked of
murder of your master — but talked too much
boy!

P.142

While most kids loved summer vacation, I
had mixed feelings about it. I knew I could
play all day but there was also a lot of time to
spark my mother’s ire. During summer break
I literally got a beating every day ... usually
something involving a ball or having “too
much mouth.”

P.14

I was one of the littlest kids in class and also
had the most mouth. The kids were part
happy to see somebody finally silence me,
and part happy I was still alive.

P.20

Below are examples of similar characters between the two books.

The Water Dancer

Shock Exchange

(XXVI) My mother was the best dancer at
Lockless, that is what they told me, and I
remembered this because she’d gifted me
with none of it, but more I remembered
because it was dancing that brought her to
the attention of my father, and thus had
brought me to be. And more than that, I
remembered because I remembered ©
everything — everything, it seemed, except
her ...

When I was around two years old my
mother was in Charlotte County helping out
Ms. Edmunds, the lady she lived with during
the school lockout. Ms. Edmunds had gotten
up in age and my mother was there to
support her for a few weeks, One day after
cooking dinner, she poured the leftover
grease into a canister rand placed it ona
shelf above the stove. She then left the room
to wash clothes. I had seen her put the hot
grease into this canister several times and
was curious as to what it was, Seizing my

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And there was never a need to tell me any
story twice, because if you told me that
Hank Powers cried for three hours when his
daughter was bom, I remembered, and if
you told me that Lucille Simms mad a new

opportunity, I grabbed a chair, tiptoed high
enough to reach the canister and
accidentally tipped it over onto myself, hot
grease in all. My mother came running from
the next room but it was too late.

|_dress out of her mother’s work clothes, for
;for

Christmas, I remembered, and if you spoke
of that time Johnny Blackwell pulled a knife
on his brother, I remembered, and if you
told me all the ancestors of Horace Collins,
and where in Elm County they were born, I
remembered, and if Jane Jackson recited all
her generations, her mother, her mother’
mother, and every mother stretching all the
way to the edge of the Atlantic, I
remembered. So it was natural that I recall,
even in the maw of the Goose, even after the
bridge fell away and I stared down my own
doom, that this was not the first pilgrimage
to the blue door.

It had happened before. It had happened
when I was nine years old, the day after my
mother was taken and sold. I awoke that
cold winter morning knowing she was gone
as a fact. But [ had no pictures, no memory,
of any goodbye, indeed no pictures of her at
all. Instead I recalled my mother in
secondhand, so that I was site she had been
taken, in the same way that I was sure that _
there were lions in Africa, though I had
never seen one. I searched for a fully fleshed
memory, and found only scraps. Screams.

... | was terrified, not simply because I lost
my mother, but because I was a boy who
remembered all his yesterdays in the crispest
colors, and textures so rich I could drink
them. And there I was, awakening with a
start of nothing but ephemera, shadows and
screams. |

P.4 and P.11

I remember events before and after the
incident, but not the incident itself. The
grease scalded about three-fifths of my
entire body — the right side of my face, neck,
most of my chest and side of my right leg. I
was in the hospital for a few weeks and
cocoa butter would become my best friend.
On doctor’s orders my mother religiously
placed it over my scars every morning.
Daily I had to show my stomach to my
mother and grandparents so they could see
the progress.

It got to the point where friends of the
family (mostly women) would inquire about
my scars. I hated showing my body to some
stranger but never complained to my mother
about it. Looking back, the more the scars
went away the less guilt she felt for not
doing a better job of protecting me. Around
age 9, a strange car pulled into the
Grandma’s driveway. A lady.got out and
walked inside. About 10 minutes later my
mother called me inside from playing
basketball with the other kids. When she
summoned only me I knew what was about
to take place. I walked into the family room
where the lady, my mother Grandma and
few aunts were talking, They asked to see
my chest, to which I obliged. She gave me
the obligatory “what a miracle it was” and
so on and so forth. I then asked, “May I see
yours?” There was dead silence. My mother
was about to light my rear end up, but I did
not care. I had had enough. Grandma and
my aunts were grinning from ear to ear
though. Grandma intervened with, “Don’t
beat him Suzie.” She knew it had gotten old.
I never had to show my chest to strangers
again after that.

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P.13

(XXVID I was eleven by then: I was a small
boy for my age, but no exception was made,
and I was put to work like a man.

At age 10 or 11, I was small for my age so I
looked like I was around 7 or 8.
P.18

PA6

And then I was running, moving as fast as my
short legs could carry me. I had to get to the
stables.

P.13

The heat, no water, getting tackled, run over,
stepped on and yelled at, cut the wheat from
the chaff pretty quickly. By the time school
started I was still standing and earned the
nickname “Shortcake” and a reputation for
having a big heart.

P.30

I checked into the game with my wrinkled
uniform and the crowd gave me a standing
ovation. Here I was the smallest guy in
school trying to play with the big boys.
P.31

(XXVHIT) When I saw you in that field, and
I saw your parlor tricks, | knew there was
something to you, boy, something that the
others down there couldn’t see. You had a
particular talent, one that I thought could be
useful, for these are not prosperous times,
and we need all the talent we can get up her
in the house.”

P.36

“It’s time for you to take on Maynard. My
days will not be forever, and he will need a
good manservant — one such as you who
knows something of the fields, and
something of the house, and even something
of the larger world. I have watched you,
boy, and what I know is you never forget a
thing. Tell my Hiram something once, and it
is as good as done. There ain’t too many like
you, ain’t too many of such quality.”

P.36

Most folks up her would take a boy like you
and put him on the block. Fetch a fortune,
you know. Nothing more valuable than a
colored with brains in him. But that is not
me. I believe in Lockless. I believe in Elm

Ms. Coles was my favorite teacher in
elementary school. She was one of the first
teachers to identify that I could excel in the
classroom. She recommended that I get
skipped from the second grade into the third
grade. However, Suzie vetoed the idea. My
friend Darryl Johnson and I were later
selected to be in the school’s Gifted and
Talented Program when we were in the fifth
grade. It is funny how you can affect a child
at an early age by putting the notion into his
head that he is highly intelligent.

P.29

I had every intention of avoiding world
civilization freshman year. I had signed up
for another class when Mrs. Peale accosted
me in the hallway and told me she thought it
would be a good idea to take her class. She
also ran the Gifted and Talented Program so
she remembered me, Johnson and Wilhelm
from way back in elementary school.

P.33

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County. I believe in Virginia.
P37

(XXIEX) So the lessons began — reading,

I dug into Invisible Man and soon realized it

arithmetie, seme oratory —and- my world
bloomed with them, my ravenous memory
filling with images and, now, words, which
were so much more than I had before
believed, words with their own shape,
rhythm, and color, words that were pictures
themselves:

P.32

wasthicker thant had assumed, and the
phrasing was so advanced that I had to use a
thesaurus to understand many of the words.
P.34

And so it went. I spent several nights up
until 1 a.m. - 2 a.m. with a book, a thesaurus
and a flashlight (so not to wake up Dwayne
and Mark). I went lindy hopping with
Malcolm Little, tried to remake myself with
Jay Gatsby, and screamed “run black boy
run!” at Bigger Thomas. Mrs. Peale knew
we would need a thesaurus to understand the
material. That was mainly the point — to
help increase our vocabulary and include it
in our writing.

P.34

(XXX) The White family home was across
the Delaware River. I caught the ferry that
evening, then walked across along a cobbled
road until it turned to clay and then to dust.
The heat of the city, the air damp and thick,
faded behind me, and a refreshing breeze
swirled up the road. It was good to be out. It
was my first time in anything like the
country since my arrival, and I now realized
everything that I missed about my old
Southern home ~ the wind in the fields, the
sun pushing through the trees, the drawn-out
afternoons. Everything happened at once in
Philadelphia, all of life one ridiculous crush
of feeling.
P.205

I had by then learned the price of my
silence, the cost of holding my words to
shield my heart. I knew what it was to feel
that someone you deeply loved was gone
from you, and that you would never be able
to tel] them all day what they had meant.
But sitting with Thena, who I thought I’d

I suddenly realized what a long way from
home I was and wondered, “How in the
heck did I get here?” I also wondered if
would ever see Farmville again. Yet the
Farmville I longed for was that of my youth
— softball games on Mother’s Day or singing
at Mercy Seat while Annie Mae looked on
approvingly.

P.113

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lost, whose volume and character had only
been amplified through my knowledge of
Kessiah, felt that I now had a second chance
and I resolved not to waste it.

P.326

“Well, I am upstairs now,” I said.
“Maynard’s old room. Don’t love it but it is
what Master Howell say it be. Holler if you
need me.”

And her only answer to this new information
was to pick up her humming again. But then
as I walked out the doorway, I heard her say,
“Missed supper.”

I turned and said, “Missed more than that.”
P.327

(XXXD) She worked the tobacco and then
went home. He habit was to scowl at us
children for playing our rowdy games within
earshot or sometimes to emerge almost
whimsically from her cabin, wild-eyed,
swinging her broom at us. For anyone else,
this would have brought on conflict of some
sort or the other. But I had heard that Thena
had not always been this way, that in another
life, one lived right here on the Street, she was
a mother not just to five children of her own -
but to all the children on the Street.

P.14

Grandma had about 20 grandkids, 17 great-
grandkids and kept two or three foster kids
from time to time. Add in some additional
kids from the neighborhood and there was an
army of us.

P.13

(XXXII) What was I thinking facing her
door, holding my sack of pork and cornmeal?
Surely there were others who would have
taken me in, others who actually enjoyed the
company of children.

P15

From then on we referred to them as “Suzie”
and “My Daddy.” Suzie and her four siblings
were born in Washington, D.C. and lived in
the Georgetown section there. They fell on
hard times after their parents died and were
taken in by Grandma when she was ‘a
teenager. When they became adults, my
uncles and aunt all moved back to D.C. but
Suzie remained in Farmville, got married and
started a family.

P.19

(XXXII) She was not the meanest woman
at Lockless, but the most honest.
P.15

She did not tolerate laziness, or
insubordination. She also had a thing about
lying and “putting your hands on something
that didn’t belong to you.” She would
threaten my cousins, one in particular, that
“You going to the pen.” I’m thinking like,

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“What pen... the pig pen? And why would
you be sent to the pig pen for being a big
liar?” I was too young to understand but she
was fixated on keeping her grandchildren
“out the pen.”

Dis

i .t

I saw my aunts asking the questions while
Grandma sat back and observed. They
played a version of “good cop, bad cop,”
with one aunt acting hostile to unnerve the
young fella and Grandma coming to the
boy’s rescue when one of my aunt’s had
crossed the line. The women fired questions
from all angles. While one aunt asked a
question, another was preparing one. They
also asked similar questions, but worded
them differently. Only if the boy was telling
the truth could he give the same answer to
four or five similar questions. If he
hesitated, that was a sure sign of a lie. Lack
of eye contact was another dead giveaway.
Offering up one-word answers to serious _
questions, or something as seemingly trivial
as a lack of a firm handshake would send
red flags.

P.18

(XXXIV) The Street was a communal place
but Thena kept to herself, never joining in on
the gossip, small talk. Her habit was to scowl
at us children for playing our rowdy games
within earshot ...

P.14

The activities went around the clock. And
whatever games were going on, all you heard
was, “Let that boy play.” If there was a
basketball game going on and my older
cousins blew me off, I ran into the house to
tell Grandma. She would come outside and
take the ball away until they let me shoot a
few times, or let me stand on the court and
give the illusion as if I was actually playing.
P.14

(XXXV) Nice, ain’t it?” Thena said. “But all
of it start with what’s right down here in the
fields, and with what’s right here in this pipe.
Master of it all was my man Big John.
Weren’t nobody who knew more about the
ways and knacks of the golden leaf than my
man. He could tell you the best way to dig out
the horn-worms, which leaves you s’pose to
sucker and which you might like to leave be.

When I came home from the hospital after the
scalding Grandma had a party for me “Up
The House,” the name we gave her 20-acre
establishment.

P.13

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Was how I got this big house here.
P17

So that gave him a kind of favor with whites. |.

(XXXVI) No one replied and now Thena
locked up and scanned he audience. The truth

Grandma was the matnarch of our family and
pretty much all powerful in our eyes. She

————— + 1s everyone -was afraid of her-But the sitence—_

now emerged from this fear only agitated her
more.
P.90

Cnevertatcd-atrand-omine, Mark, Bb way ne-or—

Sharmane. She did not have to. We were
literally scared to death of her.
P.15

Some of the most frightening moments Up
the House occurred when the wrestling was
not shown. We would try to explain to
Grandma that “it didn’t come on today” but
that would make her even madder.

P.16

(XXXVITI) They bagged me, my brother
Lambert, my momma, Raymond, and Patsy -
whole family save my daddy. We was carried
back. When we got there Momma made it out
as though the escape was all Daddy’s idea.
P.209 .

My parents were Angela and Ralph Baker,
but that is not how my siblings and I
referred to them. The story goes that when
we were toddlers, Mark and I would ask our
mother for something and she would say,
“Go ask you daddy.” Of course he would
tell us to go bother “Suzie.” From then on
we referred to them as “Suzie” and “My
Daddy.”

P.18

(XXXVID “My father never loved me,” he
said. “It was another time, boy. Nothing like
today where you see the young folks open and
frolicking. My daddy’s only concern was
station,

P.336

While Suzie was hands on, My Daddy was
never around. During weekdays he was
always working ... I always had the
impression that My Daddy could not have
cared less about us, since he was never
around, And we sort of liked it that way
because when he was around he was always
barking orders; he was either giving orders
or critiquing the orders we were supposed to

carry out.
P.21- P.22

I thought about my son, then about 7 years
old. This boy had the nerve to tell my
brother Mark, “My daddy doesn’t care
anything about me. He’s never around,”
which ironically, was the same thing I said
about my own father. I figured it was time
for me to get off of the corporate treadmill

and build my own brand somehow; maybe it

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was time to quit procrastinating on that
travel basketball team I had promised to
start.

P.112

(XXXIX) But mostly, I remember my

I went to work during the day and met the

LIMO aT, wito Wad do VWadltir atc tovely a
woman as I ever did know. I remember
Sundays, just laying up in her bosom — all
five of us — like kittens. My daddy was a hard
man, but I think I knew even then that
something about him protected us, that he was
doing something, or had done something, for
all of us to have that cabin, set off at the end.
P.247

handy mairas-soorrast fet heme—_We——_—
worked every night from about 7 p.m. until

1 o’clock in the morning. I remember
putting up some sheetrock and thinking after
30 some-odd years of running from that

- hammer, there it was staring me right back

in the face. I held the nail in place between
my thumb and my pointing finger and tried
to hammer it as straight as I could, just like I
had seen My Daddy deo it. Yeah, I thought
about My Daddy every night and his
prognostications about having to pay “The
Man” — now “The Man” was trying to bury
me. Leading up to the final building
inspection I got on my hands and knees and
prayed for that C of O. I was literally out of
money and out of options. When it was
finally authorized, I gave a sigh of relief that
my ordeal was finally over. It was then that
I understand that he was not trying to make
me a mechanic, or a contractor, but simply
teaching me how to protect myself and to be

' self-sufficient.

P.25

(XL) I knew a few of them — including
Corrine’s man, Hawkins, whom I saw sitting
on the fence with the others. I nodded in
greeting. He nodded back, but did not smile.
That was his way, this Hawkins. There was
something cold and distant about him ... He
scared me. There was something hard about
him, and ] knew just by his manner that he
had endured some terrible, unspeakable
portion of the Task.

P.52

My daddy was a big man in those days, a
headman on the tobacco team, and that is to
say he was as big as you can be when you
was Tasked. “We had our own house at the
end of the Street, set off from the others and

He did whatever he had to do in order to
provide for his family. As much as he was a
killjoy, he definitely had our respect. He
worked hard and was a man of means,

P.2

I would look at them two and for the life of
me [ could not see the attraction. The man
rarely spoke to us. Maybe we would get a
grunt here or there. When he did speak, it
was usually a complaint about something we
were doing, Annie Mae relayed the message
— “Junior, your grandpa said please quit

‘throwing the ball against the house ... Would

ya'll please turn the T.V. down? Your
grandpa is trying to sleep. You know he has
to go to work tonight.” By all accounts the

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bigger too. I thought this was all on account
of my daddy and the high esteem in which
he was held by those up top. He was a hard
man. I do not remember him speaking much,
but I recall that when the Quality came

dude was a killjoy, and I think he reveled in
that distinction. He worked the night shift in
the boiler room at Longwood College.

P.11

a kind of respect that they accorded no other
tasking man.”
P.247

au y_¥ Ot Vai ROY Od

telling war stories, he was pretty much a
killjoy. First of all, he made us go to bed at

_ 9 p.m. on weeknights unless we had

homework to do. Granted, I was not a
morming person but a 9 p.m. bedtime was
darn near criminal.

P.22

(XLI) I knew a few of them-—including  .
Corrine’s man, Hawkins, whom I saw sitting
on the fence with the others. I nodded in
greeting. He nodded back, but did not smile.
That was his way, this Hawkins. There was
something cold and distant about him. He
perpetually wore a look of a man who
suffered no fools, but felt himself
surrounded by them. He scared me. There
was something hard about him, and I knew
just by his manner that he had endured some
terrible, unspeakable portion of the Task.
P.52

But you could sense a dark side in how
Grandpa carried himself ... a real mysterious
side, as if he was a different person in a
previous life. I always attributed his
persona to a hard life he may have had
growing up. He was the total opposite of
Gramma. She was tall. He was short, about
5’5”. She was sweet as pie and he was
mean as a rattlesnake. I would look at them
two and for the life of me I could not see the
attraction. The man rarely spoke to us.
Maybe we would get a grunt here or there.
When he did speak, it was usually a
complaint about something we were doing.
P.11

(XLID Edwin Quinn was the meanest white
man this world has known, I am convinced

of it.
P.388

Big John wasn’t no driver ‘cause he was the
meanest like Harlan. He was a driver
because he was the wisest — wiser than any
of them whites, and their whole lives
depended on him.

P.17

And Thena, the meanest woman on the
Street, might have been sweeping he front
yard, beating out an old rug, or rolling her
eyes and sucking her teeth.at someone’s

As akid, Joe Baker was probably the
meanest black man I had ever met ... She
was sweet as pic and he was mean as a
rattlesnake. I would look at them two and
for the life of me I could not see the —
attraction. The man rarely spoke to us.
Maybe we would get a grunt here or there.
When he did speak, it was usually a
complaint about something we were doing.
P.t1

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foolishness.
P.12

I was, with my brother, tied to the meanest
man in the world and that man married

t—Certtre-and well thatinanis netrittiis
anymore and I am here with you able to
enjoy smail natural things such as this.
P.163

Master Heath, who own us, used to have this
young wife,” she said, “She was cruel as all
hell. I know, I was her serving girl. She was
the type to take the whip to you ‘cause it
rained too hard or the milk was too warm.”
She was as pretty as she was mean, and all
the men knew.

P.182

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In The Water Dancer, defendant also used similar names for the characters in Shock Exchange.

The Water Dancer

Shock Exchange

(XLITD “Tn this state met Lydia. Perhaps,

Prior to high school I had specifically heard |

having been born into Alabama, she knew
more about the weight, and was better fitted
to carry the great burden of a bonded light.
P.259

I had a whole other life down there. I met a
girl — my Lydia — and we made a family. I
tasked hard. I was a man well regarded in
slavery, which is to say I was never regarded
as aman at all.

P.210

how hard Marcella Rigby (algebra), Gerald
Roach (general business), and Lydia Peale
(world civilization, American civilization)
were. I made a mental note to avoid these
teachers. P.32

I think it was Galileo who once said, “You
can’t teach a man anything. You can only
help him find it within himself.” From that
perspective, Mrs. Peale never really taught
us anything, she simply gave us the
framework to help us find our own voices.
P35

(XLIV) No, only I saw her from the driver’s
seat of the chaise and she was just as they'd.
described her, just as they’d said she’d been
in the olden days when she would leap into a
circle of all my people — Aunt Emma,
Young P, Honas, and Uncle John — and they
would clap pound their chests, and slap their
knees, urging her on in double time, and she
would stomp the dirt floor hard, as if
crushing a crawling thing under her heel,
and bend at the hips and bow, then twist and
wind her bent knees in union with her hand,
the earthen jar still on her head.

P.4

People do not write books about Gramma,
Grandpa, Grandma, Suzie, My Daddy, the
teachers who shaped me, or my Aunt Anna
— who died just prior to the book being
published. So I wrote it myself.

P.331

Even in the black community it was seen as
persona non grata. Uncle Jesse railed
against it on the way to Sunday school,
during Sunday school, and on the way home
from Sunday school. Thomas, Mark and I
had heard that “welfare speech” so many
times that we could recite it by heart.

P.51

(XLV) “Me and Helen, we were friends. At
least we was friends, once. I loved her, you
know. I think I can say that —I loved her,
and when I think of Helen, J think only of
the best of times.”

P.98

Annie Mae, Grandpa, Aunt Frances, Uncle
George, Aunt Ellen, Thomas and Eva
Wilson at one of many family gatherings.
P.147

(XLVI) And across from there was Pap and
Grease, brothers, and next to them was
Georgie Parks. So I walked out of the
madness of the square and to the southern
end of the town, and there found myself
before Ryland’s jail, which marked the
beginnings of the free colored section of

Annie Mae, Grandpa, Aunt Frances, Uncle
George, Aunt Ellen, Thomas and Eva Wilson
at one of many family gatherings. °

P.147

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Starfall.
P57

(XLVII) This path right here, used to lead

——— tight pte Phinny’s place?’ she said Hada

whole passel of people here. Had a aunt who
used to cook for the first Phinny himself.
P.342

Coach Finney, then the JV coach, would sic

T

iI
would put the clamps on him. The kids
called me Finney’s “whipping boy” because
he always rode me in practice for seemingly
minor mistakes.

P.31

(XLVIID Man’s name is Parnel Johns. He
done did something to get him in bad with
the local tasking folks.

P.178

“You see, Johns whatever his cowardly
ways, is a hell of a fieldhand,” said
Hawkins.

P.179

Barbara Johns was the niece of Vernon
Johns, a famous preacher at the Dexter
Avenue Baptist Church in Montgomery,
Alabama. Johns also hailed from Prince
Edward County and was considered one of
the top African-American preachers of his
day.

P.5

While Johns was in Montgomery during the
school walkout, he advised his niece over
the telephone.

P.5

(XLIX) Edmund Quinn was the meanest
white man this world has known, I am
convinced of it.

P.388

During the lockout my mother attended
school in Charlotte County, where she lived
with a lady named Ms. Edmunds, She and
her younger brother later graduated from
Prince Edward County High after the
schools were reopened.

P.13

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EXHIBIT C

Below is a description of of defendant’s description of Reconstruction in We Were Eight Years

In Power versus that of Shock Exchange:

We Were Eight Years In Power

Shock Exchange

In 1895, two decades after his state moved
the egalitarian innovations of .
Reconstruction to an oppressive
‘Reconstruction,’ South Carolina
congressman Thomas Miller appealed to the
state’s constitutional convention:

We were eight years in power. We had built
schoolhouses, established charitable
institution, built and maintained the
penitentiary system, provided for the
education of the deaf and dumb, rebuilt the
ferries. In short, we had reconstructed the
State and placed it upon the road to

prosperity.

By the 1890s, Reconstruction had been
painted as a fundamentally corrupt era of
‘Negro Rule.’ It was said that South
Carolina stood under threat of being
‘Africanized’ and dragged into barbarism
and iniquity. Miller hoped that by
highlighting black achievement in
governance and marshaling a credible
defense of black morality, he might
convince the doubtlessly fair-minded people
of South Carolina preserve the citizenship
rights of African Americans. His plea went
unheeded. The 1895 constitution added both
literacy tests and property requirements as
qualifications for enfranchisement. When
those measures proved insufficient to
enforcing white supremacy, black citizens
were shot, tortured, beaten, and maimed.

Assessing Miller’s rebuttal and the 1895
convention, W.E.B. Du Bois made a
sobering observation. From Du Bois’s

Harry Byrd was a Virginia Democratic
senator when the Brown decision was
rendered. His father was a wealthy apple
planter in the Shenandoah Valley section of
the state and publisher of the Winchester
Star, which Byrd later inherited. At the time,
the Winchester Star was heavily in debt. To
save the paper, Byrd repaid indebtedness out
of cash flow from operations. As state
senator (1915-1925), he upgraded many of
Virginia’s secondary roads paid for by cash
receipts generated by the state or new taxes
levied to cover such construction. In
addition, Byrd served as governor (1926-
1933), and U.S. Senator (1933-1965}. Prior
to the Conservative Democrats gaining favor
in the late 1880s, Virginia politics was
controlled by the Readjuster Party; co-
founded by Confederate General Robert
William Mahone and Harrison Riddleberger,
a lawyer from Woodstock, Virginia. After
the Civil War, Virginia was left with debt of
approximately $50 million.

The majority of that indebtedness was
incurred from infrastructure investments like
roads and railroads. After West Virginia
seceded from the state, ‘Readjusters’ felt the
debt should be readjusted downward and
West Virginia should pay its fair share of
the debt burden. Mahone and Riddleberger
formed coalitions with progressive thinking
factions and took advantage of blacks’
growing political power. William E.
Cameron was elected governor from the
Readjuster Party in 1882. At the time, three
state senators and 11 delegates were black.
Cameron’s administration passed

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perspective, the 1895 constitutional
convention was not an exercise in moral
reform, or an effort to purge the state of
corruption. This was simply cover for the
convention’s true aim — the restoration of a

progressive legislations like the abolition of
anti-black voting regulations, the
establishment of Virginia State University,
and increased funding for public schools.
‘Both Republicans and Democrats alike

not that South Carolina’s Reconstruction-era
government had been consumed by .

opposite. The very successes Miller
highlighted, the actual record of
Reconstruction in South Carolina,
undermined white supremacy. To redeem
white supremacy, that record was twisted,
mocked, and caricatured into something that
better resembled the prejudices of white
South Carolina, ‘If there was one thing that
South Carolina feared more than bad Negro
government,’ wrote Du Bois, ‘it was good
Negro government ...’

The central thread of this book is eight .
articles written during the eight years of the
first black presidency — a period of Good
Negro Government.

Pages xiii — xv

unprecedented graft. Indeed, it was the exact

—________1—_-despetic white supremacy—The problem was——wanted to quell black advancement, which

meant destroying the Readjuster Party. By
1883 the Readjusters had lost majority
control of the state legislature and the
governorship to the Conservative
Democrats. By 1902 the state legislature
passed laws which eliminated voting rights
of blacks, and stated for the first time that
the races were to be educated at separate
schools.

During Byrd’s rise to power in the 1920s he
used his web of connections, mainly in the
rural areas of the state, to control Virginia
politics for over 40 years and vigorously
maintain segregation.

P.6

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Below is a summary of defendant’s analysis on Reconstruction, which is highly similar to

Plaintiffs interpretative analysis from Shock Exchange.

| —__ We Were Eight Years In-Power———

op
‘a

(D) Blacks in South Carolina were eight years
in power in the late 1800s.

In the late 1880s Virginia politics was ruled
by the Readjuster Party, which took
advantage of blacks’ growing power in the
general assembly.

(11) Blacks in South Carolina were eight years
in power in the late 1800s.

By the time William Cameron was elected
governor from the Readjuster Party in 1882,
three state senators and 11 delegates were
Black.

(IIT) Under black influence, South Carolina
passed progressive legislation. It built
schoolhouses, established charitable
institutions, built and maintained the
penitentiary system, provided education for
the deaf and dumb and rebuilt ferries.

Under black influence, the Readjuster Party
passed progressive legislation. It abolished
anti-black voting regulations, it established
Virginia State University and increased
funding for public schools.

(IV) Blacks helped South Carolina
reconstruct the state.

After the Civil War, Virginia was left with
$50 million in debt. Readjusters felt the debt
should be readjusted downward and West
Virginia should pay its fair share of the debt
burden. After readjusting the debt and passing
progressive legislation, the Readjuster Party
had reconstructed the state of Virginia.

(V) The success of Thomas Miller and blacks
in South Carolina undermined white
supremacy. The goal of the state’s
congressional committee was to restore white
supremacy.

Republicans and Conservative Democrats
wanted to quell black advancement, which
meant destroying the Readjuster Party.

(VI In 1895 the constitution added literacy
and property requirements as qualifications
for enfranchisement.

By 1902 the state legislature passed laws
eliminating voting rights for blacks, and
stated for the first time the races were to be
educated at separate schools.

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EXHIBIT D
Below is an excerpt from “The Black Family In The Age Of Mass Incarceration” included in We

Were Eight Years In Power.

Through the middle of the twentieth century, America’s imprisonment rate
hovered at about 110 people per 100,000. Presently, America’s incarceration rate
(which accounts for people in prisons and jails) is roughly 12 times the rate in
Sweden, eight times the rate in Italy, seven times the rate in Canada, five times
the rate in Australia, and four times the rate in Poland. America’s closest to-scale
competitor is Russia—and with an autocratic Vladimir Putin locking up about 450
people per 100,000, compared with our 700 or so, it isn’t much of a competition.

China has about four times America’s population, but American jails and prisons
hold half a million more people. “In short,” an authoritative report issued last year
by the National Research Council concluded, “the current U.S. rate of
incarceration is unprecedented by both historical and comparative standards ...”

The incarceration rate rose independent of crime-——but not of criminal-justice
policy. Derek Neal, an economist at the University of Chicago, has found that by
the early 2000s, a suite of tough-on-crime laws had made prison sentences much
more likely than in the past. Examining a sample of states, Neal found that from
1985 to 2000, the likelihood of a long prison sentence nearly doubled for drug
possession, tripled for drug trafficking, and quintupled for non-aggravated assault.

That explosion in rates and duration of imprisonment might be justified on
grounds of cold pragmatism if a policy of mass incarceration actually caused
crime to decline. Which is precisely what some politicians and policy makers of
the tough-on-crime *90s were claiming. “Ask many politicians, newspaper
editors, or criminal justice ‘experts’ about our prisons, and you will hear that our
problem is that we put too many people in prison,” a 1992 Justice Department
report read. “The truth, however, is to the contrary; we are incarcerating too few
criminals, and the public is suffering as a result.”

History has not been kind to this conclusion . .. After studying California’s tough
“Three Strikes and You’re Out” law—which mandated at least a 25-year sentence
for a third “strikeable offense,” such as murder or robbery—researchers at UC
Berkeley and the University of Sydney, in Australia, determined in 2001 that the
law had reduced the rate of felony crime by no more than 2 percent. Bruce
Western, a sociologist at Harvard and one of the leading academic experts on
American incarceration, looked at the growth in state prisons in recent years and
concluded that a 66 percent increase in the state prison population between 1993
and 2001 had reduced the rate of serious crime by a modest 2 to 5 percent—at a
cost to taxpayers of $53 billion.

This bloating of the prison population may not have reduced crime much, but it
increased misery among the group that so concerned Moynihan. Among all black

1

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males born since the late 1970s, one in four went to prison by their mid-30s;
among those who dropped out of high school, seven in ten did...

The emergence of the carceral state has had far-reaching consequences for the

economic viability of black families. Employment and poverty statistics

recalculated the jobless rz rates for the j year "2000 to include incarcerated § young
black men, he found that joblessness among all young black men went from 24 to
32 percent; among those who never went to college, it went from 30 to 42
percent. The upshot is stark. Even in the booming *90s, when nearly every
American demographic group improved its economic position, black men were
left out. The illusion of wage and employment progress among African American
males was made possible only through the erasure of the most vulnerable among
them from the official statistics.

These consequences for black men have radiated out to their families. By 2000,
more than 1 million black children had a father in jail or prison—and roughly half
of those fathers were living in the same household as their kids when they were
locked up. Paternal incarceration is associated with behavior problems and
delinquency, especially among boys.

“More than half of fathers in state prison report being the primary breadwinner in
their family,” the National Research Council report noted. Should the family
attempt to stay together through incarceration, the loss of income only increases,
as the mother must pay for phone time, travel costs for visits, and legal fees. The
burden continues after the father returns home, because a criminal record tends to
injure employment prospects. Through it all, the children suffer.

Many fathers simply fall through the cracks after they’re released. It is estimated
that between 30 and 50 percent of all parolees in Los Angeles and San Francisco
are homeless. In that context—employment prospects diminished, cut off from
one’s children, nowhere to live—one can readily see the difficulty of eluding the
ever-present grasp of incarceration, even once an individual is physically out of
prison.

P.231 - P.234

Below is Plaintiff's description of mass incarceration from Shock Exchange.

Before quantifying the black tax — unemployment and incarceration — I would
expect to see a sharp rise in unemployment starting in the late 1970s and early
1980s as the U.S. manufacturing base began te erode. Black men worked their
way into middle class status by traveling to northern cities and California where
manufacturing jobs were in abundance. The decline in U.S. manufacturing has
hurt the economy overall, but African Americans especially. The inverse of this
conclusion is that black men, for whatever reason, have been less successful in

2

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transitioning from the manufacturing sectors to the service Sectors of the
economy.

The above chart illustrates the employment-to-population T@atio by sex and race

and measures the proportion of the population employed. This mav he a better

proxy tor the tn ~population ratio fi
African-American men in 2010 was 53.1%, as compared to 65.1%, 67.5% nh 1.

68.0% for white, Asian and Hispanic men, respectively. Pri. .

would have expected a sharp decline in the ratio for black tse startin in ae I
mid-80s as the country’s manufacturing base began to erodes _. However, the
figures were relatively unchanged in 1980 (60.4%) and in 200 (60.2% ) yet fell
precipitously by 2010. It reiterates the adage that “when At erica cat ches cold
black America catches pneumonia.” ,

There was no noticeable difference in the employment-popu_y ation ratio amonest
women from different racial groups. Overall, the employmesyy¢-to-p opulation ho
for all women has increased since the early 1970s as more omen have entered
the workplace. Yet the differential in the ratio between blacde women and black
men is the smallest vis-a-vis other ethnic groups. For instatigs in 2010 the
differential in the ratio between black men and black womery (1.6%) was much
less than that of whites (11.1%), Asians (14.5%) and Hispanic, (10.4% ). The
differential may be symptomatic of a U.S. service economy More com fo rtable

with black women in the workplace.

The rate of incarceration also reflects the additional costs of }
America. One could say that unemployment and incarceraticg,
that one (high unemployment) leads to crime and ultimately,
abnormally high rate for African Americans is a known truth
community. After doing some research, I found that the U.S.
incarceration rate of any country in the “free world.”

eing black in

N1 rates are linked in
incarceration, The
in the black

has the highest

The U.S. incarceration rate has increased from 200 per 100,0
the mid-90s to 743 per 100,000 residents in 2010. The incar
function of admissions, times length of stay. Simply based On the number of
admissions per capita, the U.S. would not be the world’s largess jailor. The U.S
prison policy, highly affected by mandatory drug sentencing, has a higher ‘en
of stay relative to the rest of the world. Critics have also blamed the so-calle 7:
“war on drugs” for the abnormally high incarceration rate of African-American
males (4,797 per 100,000 U.S. residents) as compared to that of white males (708
per 100,000 U.S. residents). Even more damning is the fact that a high percentage
of white males are incarcerated in local jails with shorter stays, causing less of
disruption for their families. In contrast, the majority of black males are jailed in
federal prison with longer stays — a phenomenon that has Practically ravaged the
black family. Instead of reducing the level of violent crime in America he war
on drugs has resulted in a frequent number of arrests for low-level drug
transactions and non-violent offenders; about 50% of the U.S.
represents non-violent crimes. Nor will it ever reduce drug tr

00 U.S. residents in
Ceration rate is a

Prison population
afficking.

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Senior year, Dr. Hendley presented us with a case involving a town with an
exploding population of dogs. The town manager had a dilemma — to control the
population by etther spading male dogs or female dogs. The logical answer
would be to spade the male dogs, since they were the “obvious” culprits.

However, if the r ratio was 10 female dogs per 10 male dogs and he spaded as

emale dogs

Instead, the town 1 manager er spaded the female dogs ‘and the doe population

decreased proportionately. To that point, attempting to “spade” drug dealers does
not have the same impact on the drug trade as spading the user through
incarceration, treatment, or education. In no way am | attempting to dissect the
criminal justice system, but simply presenting data that supports what Grandma
always knew — if you are black in America, odds are you are going to the pen.

P.52 - P.54

Below is a summary of the two analyses side-by-side.

“Black Family In Age Of Mass
Incarceration” —

Shock Exchange

(1D U.S. accounts for less than 5 percent of the
world’s inhabitants — and about 25 percent of
incarcerated inhabitants

U.S. has higher incarceration rate of any

‘country in the free world.

(II) From the mid-70s to the mid-80s,
America’s incarceration rate doubled, from
about 150 people per 100,00 to about 300 per
100,000. From the mid-1980s to the mid-
1990s, it doubled again. By 2007, it had
reached a historic high of 767 people per
100,000, before registering a modest decline
to 707 people per 100,000 in 2012.

U.S. incarceration rate increased 200 per
100,000 U.S. residents in the mid-90s to 743
per 100,000 residents in 2010.

(IH) America’s closest-to-scale competitor is
Russia — and with an autocratic Vladimir
Putin locking up about 450 per 100,000,
compared to our 700 or so, it isn’t much of a

Shack Exchange included a chart of the U.S.
at 743 per 100,000 residents and its closest-

to-scale competitors, Rwanda (595), Russia

(568), Georgia (547) and U.S. Virgin Isles

economic viability of black families.

competition. (549).
(IV) The emergence of the carceral state has | Rate of incarceration reflects additional cost
had far-reaching consequences on the - of being black in America.

(V) That explosion in rates and duration of
imprisonment might be justified on grounds —
of cold pragmatism if policy of mass

incarceration actually caused crime to decline.

Incarceration is function of admissions and
length of stay.

(VI) “If greatly increased severity of
punishment and higher imprisonment rates
caused American crime rates to fall after
1990,” the researchers Michael Tonry and

Incarceration is function of admissions and
length of stay.

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David P. Farrington have written, then “what
caused the Canadian rates to fall?”

(VID Neal found that from 1985 to 2000, the
likelihood of a long prison sentence doubled
for drug possession, tripled for drug dealing,

Majority of black males jailed in federal
prison with longer stays — a phenomenon that

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Sit Vee Ces

has ravaged the black family.

(VITER) The emergence of the carceral state has
had far-reaching consequences on the
economic viability of black families.

Majority of black males jailed in federal
prison with longer stays — a phenomenon that
has ravaged the black family.

(IX) The bloating of the prison population
may not have reduced crime much, but it
increased misery among the group that so
concerned Moynihan.

Majority of black males jailed in federal
prison with longer stays — a phenomenon that
has ravaged the black family.

(X) The consequences for black men have
radiated out to their families. By 2000, more
than 1 million black children had a father in
jail or in prison.

Majority of black males jailed in federal
prison with longer stays — a phenomenon that
has ravaged the black family.

(XD) Paternal incarceration is associated with
behavior problems and delinquency,
especially among boys.

Majority of black males jailed in federal
prison with longer stays — a phenomenon that
has ravaged the black family.

(XID “More than half of fathers in state
prison report being the primary breadwinner
in the family ...” should the family attempt to

income only increases, as the mother must
pay for phone time, travel costs for visits, and
legal fees.

stay together through incarceration, the loss of |

Majority of black males jailed in federal
prison with longer.stays — a phenomenon that
has ravaged the black family.

(XID But the relationship between crime and
incarceration is more discordant than it
appears ... Then, from the early 1990s to the
present, violent crime rates fell while
imprisonment rates increased.

Instead of reducing the level of violent crime,
the war on drugs resulted in frequent number

of arrests for low-level drug transactions and

non-violent offenders.

(XIV) The incarceration rate rose independent
of crime — but not of criminal justice policy.

Instead of reducing the level of violent crime,
the war on drugs resulted in frequent number
of arrests for low-level drug transactions and
non-violent offenders.

(XV) The burden continues after the father
returns home, because a criminal record tends
to injure employment prospects. Through it
all, the child suffers.

Instead of reducing the level of violent crime,
the war on drugs resulted in frequent number
of arrests for low-level drug transactions and

non-violent offenders.

(XVI) Derek Neal, an economist at the
University of Chicago has found that by the
early 2000s, a suite of tough-on-crime laws
had made prison policy sentences much more
likely than in the past.

The U.S. prison policy, highly-affected by
mandatory drug sentencing, has a higher
length of stay relative to the rest of the world.

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(XVID Neal found that from 1985 to 2000,
the likelihood of along prison sentence
doubled for drug possession, tripled for drug
dealing, and quadrupled for nonagegravated
assault.

The U.S. prison policy, highly-affected by
mandatory drug sentencing, has a higher
length of stay relative to the rest of the world.

of imprisonment might be justified on
grounds of cold pragmatism if a policy of
mass incarceration caused crime to decline.

Instead of reducing the level oFnolent crime,

the war on drugs resulted in frequent number
of arrests for low-level drug transactions and
non-violent offenders.

(XTX) “Ask many politicians, newspaper
editors, or criminal justice ‘experts’ about our
prisons, and you hear that our problem is that
we put too many people in prison,’ a 1992
Justice Department report read. “The truth,
however, is to the contrary; we are
incarcerating too few criminals, and the
public is suffering as a result. “History has
not been kind to this conclusion.

Instead of reducing the level of violent crime,
the war on drugs resulted in frequent number
of arrests for low-level drug transactions and

non-violent offenders.

(XX) The bloating of the prison population
may not have reduced crime much, but it
increased misery among the group so that so
concerned Moynihan. Among all black males
born since the 1970s, one in four went to
prison by their mid-thirties; among those who
dropped out of high school, one in ten did,

Critics blamed the war on drugs for
abnormally high incarceration rates for
African Americans (4,797 per 100,000)
versus white males (708 per 100,000).

(XXI) Crime rates rose and fell in the U.S.
and Canada at roughly the same clip — but in
Canada, imprisonment rates held steady. “If
greatly increased severity of punishment and
higher imprisonment rates caused American
crime rates to fall after 1990,” the researchers
Michael Tonry and David P. Farrington have
written, then “what caused the Canadian rates
to fall?”

Nor will it (criminalization) ever reduce drug’
trafficking ... Attempting to “spay” drug
dealers does not have the same impact on the
drug trade as spaying the user through
incarceration, treatment, or education.

(XXII) In the latter half of the twentieth
century, crime rose and then fell in Nordic
countries as well. During the period of rising
crime, incarceration rates held steady in
Denmark, Norway, Sweden — but declined in
Finland. “If punishment affects crime,
Finland’s crime rate should have shot up,”
Tony and Farrington write, but it did not.

Nor will it (criminalization) ever reduce drug
trafficking ... Attempting to “spay” drug
dealers does not have the same impact on the
drug trade as spaying the user through
incarceration, treatment, or education.

(XXIID After studying California’s tough
“Three Strikes and You’re Out” law — which
mandated at least a twenty-five year sentence
for a third “strikeable offense,” such as

Nor will it (criminalization) ever reduce drug
trafficking ... Attempting to “spay” drug
dealers does not have the same impact on the

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murder or robbery — researchers at UC
Berkeley and the University of Sydney, in
Australia, determined 2001 that the law had
reduced the rate of felony crime by no more
than 2 percent.

drug trade as spaying the user through
incarceration, treatment, or education,

Nay sal

GOXTY) Bruce-Western—a-seciolesistat
Harvard and one of the leading academic
experts on American incarceration, looked at
growth in state prisons in recent years and
concluded that a 66 percent increase in state
prison population between 1993 and 2001 had
reduced the rate of serious crime by a modest
2 to 5 percent — at a cost to taxpayers of $53
billion.

Nerwititteriminalization ever reduee-drug
trafficking ... Attempting to “spay” drug
dealers does not have the same impact on the
drug trade as spaying the user through
incarceration, treatment, or education.

(XXYV) “Prison is no longer a rare or extreme
event among our nation’s most marginalized
groups,” Devah Pager, a sociologist at
Harvard has written, “Rather it has become a
normal and anticipated marker in the
transition to adulthood.”

She had a thing about lying and “putting your
hands on something that didn’t belong to
you.” She would threaten my cousins, one in
particular, that “You going to the pen ...” she
was fixated on keeping her grandchildren “out
the pen ...” Presenting the data supports what
Grandma always knew — if you are black in
America, odds are you going to the pen.

(XXVI) The emergence of the carceral state
has had far-reaching consequences on the
economic viability of black families.

Unemployment and incarceration rates are
linked in that one (high unemployment) leads
to crime and incarceration.

(XXVID Employment and poverty statistics
traditionally omit the incarcerated from the
official numbers.

The “black tax” — the cost of being black in
America — is reflected by high rates of
incarceration and unemployment.

(XXVIIT) Employment and poverty statistics
traditionally omit the incarcerated from the
official numbers.

The unemployment rate only includes those
both unemployed and actively looking for
work, It omits Americans who do not want to
work. A better picture of unemployment
would be the employment-to-population ratio.

CXXIX) Many fathers fall through the cracks
after they’re released. It is estimated that
between 30 and 50 percent of all parolees in
Los Angeles and San Francisco are homeless.
| In that context, employment prospects
diminished, cut off from one’s children,
nowhere to live — one can readily see the
difficulty of eluding the ever-present grasp of
incarceration.

Unemployment and incarceration rates are .
linked in that one (high unemployment) leads
to crime and incarceration.

EXHIBIT E

Several sections of “The Case For Reparations” within We Were Hight Years In Power were
similar to Plaintiff's book. Here is a selected passage from the article.

created the Federal Housing Administration. The FHA insured private mortgages,
causing a drop in interest rates and a decline in the size of the down payment
required to buy a house. But an insured mortgage was not a possibility for Clyde
Ross. The FHA had adopted a system of maps that rated neighborhoods according
to their perceived stability. On the maps, green areas, rate ‘A,’ indicated ‘in
demand’ neighborhoods that, as one appraiser put it, lacked a ‘single foreigner or
Negro.’ These neighborhoods were considered excellent prospects for insurance.
Neighborhoods where black people lived were rated ‘D’ and were usually
considered ineligible for FHA backing. They were colored in red. Neither the
percentage of black people living there nor their social class mattered. Black
people were viewed as a contagion. Redlining went beyond FHA-backed loans
and spread to the entire mortgage industry, which was already rife with racism,
excluding black people from most legitimate means of obtaining a mortgage.
P.169 .

4 O24

Below is a passage from Shock Exchange describing redlining.

I started with Sovran Bank in Lynchburg, Virginia, commuting from my parents’ -
house every day, 51 miles one way. The first assignment from the branch manager
was to memorize something called the Community Reinvestment Act (CRA). I sifted
through some banking policy manuals on CRA and expected to be bored to death.
What I uncovered totally blew my mind. The act came about after a group of
African-American customers in I/linois complained about discrimination in their local
bank’s lending practices. Year after year residents complained that they deposited
money with said bank but could not secure a loan. In the mind of the declined
customers, the one common denominator amongst them was not low credit scores,
limited work history, or inability to repay the loan — it was race.

They complained so much that local regulators reviewed the bank’s lending policies.
Their review process was as follows — (i) secure a map of the bank’s lending area(s),
(ii) review all loan applications, (iii) match up the zip codes of all declined loan
applicants and (iv) color in red the areas on the map where the declined loan
applicants lived. After this process was over, regulators had drawn a red line through
the neighborhoods where only African Americans lived — hence the term “redlining”
was coined. Based on the dispersion of the loan declines, it appeared that the bank’s
loan officers had predetermined to decline all loans from African-American
neighborhoods. This was not true of course, but the bank’s lending practices had the
same effect as if it were true. As a result, CRA was enacted that legally required
banks to prove they served the needs of the community, including the need for credit.
P.58

__|_____*The Case For Reparations”

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Below is a side-by-side analysis of content defendant copied from Shock Exchange, and

sprinkled throughout “The Case For Reparations.”

Shock Exchange

(I) Clyde Ross fled Jim Crow Mississippi for
Chicago. In 1961 he bought a house in North.
Lawndale on Chicago’s West Side. He had
not signed a normal mortgage. He bought “on
contract” — a predatory agreement to with the
disadvantages of renting.

My first assignment was to memorize the
Community Reinvestment Act (CRA). What I
uncovered blew my mind. The act arose after
African-American customers in Hlinois
complained about discrimination in their
banks’ lending practices.

(IT) Ross tried to get a legitimate mortgage,
but a loan officer told him there was no
financing available.

African-American residents complained that
they deposited money with local banks but
could not secure a loan.

(IIE) The truth was there was no financing for
people like Clyde Ross.

In the mind of the declined customers, the one
common denominator amongst them was not
low credit scores, limited work history, or ~
inability to pay — it was race.

(IV) Neighborhoods were black people lived
were usually considered ineligible for FHA
backing. Neither the percentage of black
people living there nor their social class
mattered. Black people were viewed as a
contagion.

In the mind of the declined customers, the one
common denominator amongst them was not
low credit scores, limited work history, or
inability to pay — it was race.

(V) But fight Clyde Ross did. In 1968 he
joined the Contract Buyers League — a
collection of black homeowners on Chicago’s
South and West Sides, all who had been
locked into the same system of predation.

A group of African-American customers in
Tilinois complained about discrimination in
their local bank’s lending practices.

(VI) The Contract Buyers League fought
back, Members — who would eventually
number more than 500 — went out to the posh
suburbs where speculators lived and
embarrassed them by knock on their
neighbors’ doors and informing them of the
details of the contract-lending trade.

| A group of African-American customers in

Dlinois complained about discrimination in
their local bank’s lending practices.

(VII) They refused to pay their installments,
holding monthly payments in escrow.

A group of African-American customers in
Iilinois complained about discrimination in
their local bank’s lending practices.

(VIL) They brought a suit against the
contract sellers, accusing them of buying
properties and reselling in such a manner “to
reap from members of the Negro race large
and unjust profits.”

A group of African-American customers in
Illinois complained about discrimination in
their local bank’s lending practices.

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(TX) In return for the “deprivations of their
tights and privileges under the Thirteenth and
Fourteenth Amendments,” the league demand
“prayers for relief” — payback of all moneys
paid on contracts and all moneys paid for

| Year after year residents complained that they

deposited money with said bank but could not
secure a loan.

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CX) Ross and the Contract Buyers League
were longer appealing to the government for
equality. They were charging society with a
crime against their community.

Year after year residents complained that they
deposited money with said bank but could not
secure a loan.

(XD From the 1930 through the 1960s, black
people across the country were largely cut out
of the legitimate home-mortgage market

CRA was enacted that legally required banks
to prove they served the needs of the
community, including the need for credit.
CRA was enacted nationwide to address
redlining not just in Illinois, but across the
country.

(XID They wanted the crime publicly ruled as
such. They wanted the crime’s executors
declared to be offensive to society. And they
wanted restitution for the great injury brought
upon them by said offenders.

The group of African-American residents
complained so much that local regulators
reviewed the bank’s lending policies.

(XIID The FHA had adopted a system of
maps that rated neighborhoods according to
their perceived stability.

Regulators secured a map of the bank’s
lending areas and matched up the zip codes of
all declined loan applicants.

(XIV) Neighborhoods where black people
lived were colored in red.

Regulators colored in red the areas of the map
where the declined loan applicants lived.
After this process was over, regulators had
drawn a red line through the neighborhoods
where only African Americans lived — hence
the term “redlining” was coined.

(XV) Neighborhoods where black peopled
lived were rated “D” and were usually
considered ineligible for FHA backing.

Based on the dispersion of the loan declines,
it appeared the bank’s loan officers had
predetermined to decline all loans from
American-American neighborhoods.

(XVID Redlining went beyond FHA-backed
loans and spread to the entire mortgage —
industry, which was already rife with racism,
excluding black people from most legitimate
means of obtaining a mortgage.

CRA was enacted that legally required banks
to prove they served the needs of the
community, including the need for credit.
CRA was enacted nationwide to address
redlining not just in Illinois, but across the
country.

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EXHIBIT F

Below are a few side-by-side comparisons of the prose in Between the World and Me versus

Shock Exchange.

Between the World and Me

Shock Exchange

(I) I still had my journalism. My response
was, in this moment, to write. I was lucky I
had even that. Most of us are forced to drink
our travesties straight and smile about it. I
wrote about the history of the Prince
George’s County police. Nothing had ever
felt so essential to me. Here is what I knew
at the outset: The officer who killed Prince
Jones was black. The politicians who
empowered this officer to kill were black.
Many of the black politicians, many of them
twice as good, seemed unconcerned ... I
was back at Moorland again, called by great
mysteries. But by then I didn’t need any call
slips; the Internet had blossomed into an
instrument of research. That must strike you
as novel. For all of your life, whenever

you ve had a question you have been able to
type that question out on a keyboard, watch
it appear in a rectangular space bordered by
a corporate logo, and within seconds revel in
the flood of potential answers. But I still
remember when typewriters were useful, the
dawn of the Commodore 64, and days when
a song you loved would have its moment on
the radio and then disappear into the
nothing. | must have gone five years without
hearing the Mary Jane Girls sing ‘All Night
Long.’ For a young man like me, the
invention of the Internet was the invention
of space travel.

P.83 - P.84

And from then on Grandma had a rule, “If
that boy don’t play, nobody plays!”

To this day my cousins describe me as the
‘demon’ that could do no wrong, Grandma
had about 20 grandkids, 17 great-grandkids
and kept two or three foster kids from time
to time. Add in some additional kids from
the neighborhood and there was an army of
us. The activities went around the clock.
And whatever games were going on, all you
heard was, ‘Let that boy play.’ Ifthere was
a basketball game going on and my older
cousins blew me off, I ran into the house to
tell Grandma. She would come outside and
take the ball away until they let me shoot a
few times, or let me stand on the court and
give the illusion as if { was actually playing.
We also played softball or ‘tennisball.’, And
of course I had to play. At two or three
years old I could barely hold a bat but they
had to stand there and pitch to me until I
finally connected. Then I cried if I got out.
Grandma would come outside and tell my
cousins to put me back on base. They
would put me on base to give the illusion as
if 1 was “safe” when I was really ‘out.’
When we played football I had to be
‘Number 43’ for Larry Brown, the All-Pro
running back for the Washington Redskins.

. Larry Brown was my hero and if I could not

be #43 then I was not playing. And if]
wasn’t playing, nobody was going to play. I
would hold up games for 15-20 minutes at a

time with my nonsense.
P.14

(IE) Your maternal grandmother once visited
us during the pregnancy. She must have

I spent several nights up until 1 a.m. — 2
a.m. with a book, a thesaurus and flashlight

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been horrified. We were living in Delaware.
We had almost no furniture, I had left
Howard without a degree and was living on
the impoverished wages of a freelance
writer. On the last day of her visit, I drove

(so as not to wake up Dwayne and Mark). I
went lindy hopping with Malcolm Little,
tried to remake myself with Jay Gatsby, and
screamed “run black boy, run!” at Bigger
Thomas ...

sirnort—Y our

airport_Y our
mother was her only child, as you are my
only child. And having watched you grow, I
know that nothing could possibly be more
precious to her. She said to me, “You take
care of my daughter.” When she got out of
the car, my world had shifted. I felt that I
had crossed some threshold, out of the foyer
of my lift and into the living room.
Everything that was the past seemed to be
another life. There was before you, and then
there was after, and in this after, you were
the God I’d never had. I submitted before
your needs, and I knew then that I must
survive for something more than survival’s
sake. I must survive for you.
P.67

I frankly did not think Wright’s Bigger
character was realistic because no black
person could have possibly been that dumb.
Every black person I knew would have left
her drunk behind on the floor and gone back
to work. The man was hired as a driver only.
Helping his employer’s drunken daughter to
her room was not part of his job description.
Then Ms. Justice wanted to know if I were
in Bigger’s position, would I have confessed.
to accidentally murdering the girl instead of
fleeing. Frankly, I was insulted.

My response was, “That could not happen to
me because I am not a fool. If there was a
commotion in the West Wing, then I would
have been in the East Wing with Sue Ellen
and J.R. If there was a commotion in the
East Wing, then I would have been in the
West Wing with Pam and Bobby. I would
have made it my business not to be where
the trouble was brewing.” Interestingly
enough, the class was split along racial lines.
The white students thought Bigger should
have turned himself in because Mary’s death
was an accident. The African-American
students thought the situation was hopeless
and Bigger was as good as dead. I opted for
“run black boy, run!”

P.34 - P.35

(I) I think back on those boys now and all
I see is fear, and all I see is them girding
themselves against the ghosts of the bad old
days when the Mississippi mob gathered
‘round their grandfathers so that the
branches of the black body might be
torched, then cut away.

P.14

She did not tolerate laziness, or
insubordination. She also had a thing about
lying and “putting your hands on something
that didn’t belong to you.” She would
threaten my cousins, one in particular, that
“You going to the pen.” I’m thinking like,
“What pen ... the pig pen? And why would
you be sent to the pig pen for being a big
liar?” I was too young to understand but she

was fixated on keeping her grandchildren “out

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In that fashion, the security of these
neighborhoods flowed downward and
became the security of the bodies living
there.

P.23

the pen.”
P.15

In no way am I attempting to dissect the
criminal justice system, but simply presenting

data that cunpnerts what Grandma always
SPLLCte CLE vrPPpes Cy FV Sarr

I recall learning these laws clearer than I
recall learning my colors and shapes,
because these laws were essential to the
security of my body.

P.24

You have seen all the wonderful life up
above the tree-line, yet you understand that
there is no real distance between you and
Trayvon Martin, and thus Trayvon Martin
must terrify you in a way that he could
terrify me. You have seen so much more
that is lost when they destroy your body.
P.25

And I wanted desperately to communicate
this evidence to the world, because I felt —
even if | did not completely know — that the
larger culture’s erasure of black beauty was
intimately connected to the destruction of
black bodies.

P.44

Our history was inferior because we were
inferior, And our inferior bodies could not
possibly be accorded the same respect as
those that built the West. Would it not be
better, then, if our bodies were civilized,
improved, and put to some legitimate
Christian use?

P.44

knew — if you are black in America, odds are
you are going to the pen.
P.54

{ shuddered to think of what benefits she was
getting out of the arrangement, and of what
state of mind Bentley had to have been in to
think he would ever get away with it. The
woman’s children complained to the bank’s
higher-ups that Bentley had taken advantage
of her, and pilfered tens of thousands of
dollars from her trust account. All] could say
was, “This boy wants to go to the pen doesn’t
he?”

P.82

After the conversation with Campanis, the
quip from that managing director seemed less
odd. Maybe he too knew that our offer,
having matched that of the next highest
bidder, was more than a mere coincidence. It
also explained why Leatherman II never spent
long hours in my office engaging in idle
chitchat or gossip, like he had with the others.
I had made it known to everyone, in no
uncertain terms, that I was not going to be a
party to anything untoward — I wasn’t going.
to the pen for anybody.

P.232

(IV) If he hated, he hated because it was
human for an enslaved to hate the enslaver,
natural as Prometheus hating the birds.
P,36

The trouble came almost immediately. I did
not find a coherent tradition marching
lockstep but instead factions, and factions
within factions. .

She would threaten my cousins, one in
particular, that “You going to the pen.” [’'m
thinking like, “What pen ... the pig pen?
And why would you be sent to the pig pen
for being a big liar?” I was too young to
understand but she was fixated on keeping
her grandchildren “out the pen.”

P.15

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P.47

(V) That was the week you learned that the
killers of Michael Brown would go free. The
men who had left his body in the street like
some awesome declaration of their

She ruled more with the “carrot” than the
“stick.” It was not just what she did, but how
she did it. First of all, she would always
make us peanut butter and jelly sandwiches

| ielable- power -weuld never be- punished.

far linch Shae alyrasyra hanoht the crunchy
DT TS VE Oe CY

It was not my expectation that anyone would
ever be punished. But you were young and
you still believed. You stayed up all night
till 11 p.m. that night, waiting the
announcement, and when instead it was
announced that there was none you said,
“T’ve got to go,” and you went into your
room, and [ heard you crying. I came in five
minutes after, and I didn’t hug you, and I
didn’t comfort you, because I thought it
would be wrong to comfort you. I did not
tell you that it would be okay, because I
have never believed it would be okay. What
I told is what your grandparents tried to tell
me: that this is your country and this is your
world, that this is your bod, and you must
find some way to live within the all of it. I
tell you now that the question of how one
should live within a black body, within a
country lost in the Dream, is the question of
my life, and the pursuit of this question, I
have found, ultimately answers itself.

P.12

peanut butter because that’s what we liked.
She would then cut the sandwiches
diagonally across the corners, making two
triangles. For your birthday would bake you
a cake in any style you liked; she had 11
grandchildren in Farmville, which equated
to 11 birthday cakes a year. And whenever
you would cut your leg or hand from
playing outside or falling off your bike, she
would put hydrogen peroxide on it instead
of alcohol because peroxide didn’t sting. It
seems insignificant now but to a child that
stuff was important. You would never play
with reckless abandon if you knew that the
alcohol was waiting for you.

P.10

(VI) The boy with the small eyes reached
into his ski jacket and pulled out a gun. I
recall it in the slowest motion, as though in a
dream. There the boy stood, with the gun
brandished, which he slowly untucked,

’ tucked, then untucked once more, and in his
small eyes I was a surging rage that could,
in an instant, erase my body. That was 1986.
That year I felt myself drowning in the news
reports of murder. I was aware that these
murders very often did not land upon the
intended targets but fell upon great-aunts,
PTA mothers, overtime uncles, and joyful
children — fell upon them random and
relentless, like great sheets of rain. I knew
this in theory but could not understand it as
fact until the boy with the small eyes stood

By 8 p.m. everybody had cleared out, but I
would keep shooting until it got dark. That
was less efficient because I first had to shoot
the ball, and then go find it. Eventually
Grandma put up a street light so I wouldn’t
have to shoot in the dark anymore ... bless
her heart! I then shot until 1 a.m.,
sometimes 2 a.m. in the morning, People in
the neighborhood thought I was crazy. They
would drive to work in the morning while I
was shooting and then return home in the
afternoon while I was shooting. They would
go out in the evening while I was shooting
and around midnight or so, a car would slow
down and then come to a complete stop.

The driver would watch in amazement at me
still shooting. People originally thought I

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across from me holding my entire body in
his small hands. The boy did not shoot. His
friends pulled him back. He did not need to
shoot.

P19

was peculiar, but it soon became odd when I
was not out there.
P35 - P.36

(VII) Now I had the privilege of welcoming
it back like a long-lost friend, though our
reunion was laced with grief; I mourned
over all the years that were lost. The
mourning continues. Even today, from time
to time, I find myself on beaches watching
six-year-olds learn to surf, or at colleges
listening to sophomores slip from English to
Italian, or at cafes seeing young poets flip
through “The Waste Land,” or listening to
the radio where economists explain
economic things that I could explored in my
lost years, mourning, hoping that I in all my
wonder, my long-lost friend, have not yet
run out of time, though I know that we ali
run out of time, and some of us run out of it
faster.

P.36

There was always something going on Up
the House, like some big-time family
gathering or activity. For Mother’s Day the
boys took on the girls in a family softball
game, The boys won of course, but this
nonsense was a spectacle. You always
knew whose mother was at bat because the
‘kid would stare at the ground out of
embarrassment or try to hide behind a tree.
First of all, my mother hit from the left side
of the plate. I mean, who does that? Then
she pulled her right leg out before swinging,
as if she was afraid to get hit by the ball.
You were supposed step toward the pitcher,
that way you generate more power when
swinging through the ball. Who didn’t
know that? Then she couldn’t make contact
with the ball ... embarrassing! It took her
about 10 swings before she could ever put
the ball in play and that was usually a weak
ground ball. We would pretend to misplay
the ball so she could get on base. Every year
_the boys would destroy the girls.
P.17

In Shock Exchange the Plaintiff described a person or thing based on color, physical features, etc.

Plaintiff alleges Defendant linguistically attempted to mimic Plaintiff.

(VIID When your grandmother was sixteen
years old a young man knocked on her door.
The young man was your Nana Jo’s
boyfriend. No one else was home. Ma
allowed this young man to sit and wait until
your Nana Jo returned. But your great-
grandmother got there first. She asked the
young man to leave.

P.16

And everybody had a picture of Jesus, the
two white guys and the black guy hanging
on their wall. Grandma said that Jesus died
to save us humans on earth and the two
white guys were the Kennedys and the black
guy was Martin Luther King, Jr. They died -
trying to help black folks.

P.12

My sophomore year in high school (1983)
the Prince Edward County school system

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I focused in on a light-skinned boy with a
long head and small eyes ... The boy with
the small eyes reached into his ski jacket
and pulled out a gun ... There the boy stood,
with the gun brandished, which he slowly

invested in about eight K-Cats from
Chrysler to be used for Drivers Education
(Drivers Ed). We figured they must have
gotten them for a steal because they had
bought so many, and they were hideous —

|_ yntucked_tucked then untucked- once more—

and in his small eyes I saw a surging rage
that could, in an instant, erase my body. I
knew this in theory but could not understand
it as fact until the boy with the small eyes
stood across from me holding my entire
body in his small hands.

P.19

The girl with the long dreads lived in a
house with a man, a Howard professor, who
was matried to a white woman ... The girl
with the long dreads helped me out and onto
the street ... The girl with the long dreads
who slept with whomever she chose, that
being her own declaration of control over
her body, was there.

P.58

I fell in love at The Mecca on last time, lost
my balance and all my boyhood confusion,
under the spell of a girl from Chicago ... I
stood with a blunt in one hand and a beer in
another. I inhaled, passed it off to this
Chicago girl, and when I brushed her long
elegant fingers, I shuddered a bit from the
blast ... The girl from Chicago understood
this too, and she understood something more

P.64

I was going to see the mother of a dead
black boy ... The mother of this murdered
black boy was then taking her case before
journalists and writers ... Then the mother
of the murdered boy rose, turned to you, and

said, ‘You exist.’
P.112

rs They
2 3 = ——!
were put on display outside the school and
the kids would just gawk at them as the bus
drove past ...
As he talked I could see a tractor-trailer in
my rearview, but it was a pretty safe
distance away. There was only one
problem, however. I could not get the bright
yellow box-shaped K-Car to start! I tried to
stay calm but I was literally scared to death.
Again, Coach Scott goes, “Baker, start the
car.” I tried everything, but to no avail. By
now you could hear the truck driver blowing
the horn behind us. My mind started racing
—I figured that by the time he realized the
bright yellow K-Car shaped like a box had
stalled, it would be too late for him to hit the
brakes and he would kill us all. I saw my
life flash before my eyes and realized how at
age 16, I had actually lived a pretty good
life. Coach Scott then yelled, “Baker! Get
up!” He made me hop in the passenger side
while he took the reins. Embarrassing!
There was a girl in the backseat, Brenda,
who was literally laughing her rear end off.
Like magic, Coach Scott got the bright
yellow K-Car with the box shape to start and
pulled off just in time to avoid the tractor-
trailer ...
When we arrived back at school I swore
Brenda to secrecy. But as always, bad news
has a way of reverberating throughout the
black community. The kids went wild with
talk of “Ralph I heard you can’t drive” and
“Yo man you still alive? I heard you got
Brenda and Coach Scott killed.” I retold the
story about how the bright yellow K-Car
with the box shape stalled in the middle of
the road, going 50 miles an hour no less.
But everybody found the story too |
incredible to believe. Who had ever

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experienced a car doing that? Nonetheless, I
was witness to what America was about to
find out - the K-Car was a piece of trash.**

The Third Rail sourced the transaction for

GECC-Thad worked-with him taice before,

On one of the deals we flew to Dayton, Ohio
for two days of due diligence. It was an
hour’s drive from the airport to the company
and the guy did not say a word. And when
he did speak all he did was complain. He
also had a serious issue with the Dillon Read
analyst representing the target company.
The analyst had worn a double-breasted suit
during the meetings, which the Third Rail
thought was a serious faux pas. He fumed
something to the effect of, “Did you see that
kid with that double-breasted suit? You
must at least be a managing director to wear
a double-breasted suit.”

P.104 - P.105

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- Below are similar passages between the two books,

Between the World and Me

Shock Exchange

(TX) And so in my Baltimore it was known

——— that -when-Cherry-Hill rolled through -you——

My Farmville -- Family, God And Prince —
evr Coutlly Tiedt Sete [Sneek __

rolled the other way, that North and Pulaski
was not an intersection but a hurricane,
leaving only splinters and shards in its wake.
In that fashion, the security of these
neighborhoods flowed downward and became
the security of the bodies living there. You
steered clear of Jo-Jo, for instance, because he
was cousin to Keon, the don of Murphy
Homes. In other cities, indeed in other
Baltimores, the neighborhoods had other
handles and the boys went by other names,
but their mission did not change: prove the
inviolability of their block, of their bodies,
through their power to crack knees, ribs and
arms,

P.22

Exchange, page 9]

Life in my Farmville was very predictable —
there were set times for certain things to occur
and for people to be certain places. But there
was also a level of fragility; if some
misfortune had befallen our mother, we would
never have recovered.

P.14

(X) When I was in trouble in school (which
was quite often) she would make me write
about it. Why did I feel he need to talk at the
same time as my teacher? Why did I not
believe that my teacher was entitled to
respect? How would I want someone to
behave while I was talking? What would I do
the next time I felt the urge to talk to my
friends during the lesson?

P.29

By the time we reached high school it had
been well documented how “our mama
was.” My third grade social studies teacher,
Ms. Bell, gave me a “D” during one of the
marking periods and wrote some nonsense
like “Ralph spends too much time in class
talking to Lee Taylor.” I didn’t even know
what a “D” looked like. It only added insult
to injury that Ms. Bell was telling stories on
me for no apparent reason. A few weeks
later I was in the back of social studies class
hamming it up with Lee. Suddenly, in mid-
sentence, Lee stopped talking. He seemed
fixated on something behind me. | reacted
like “Lee, are you okay? What’s wrong
man?” Lee never said a word, just poimted
upward behind me. When I turned around,
the room sort of got dark. I didn’t know if it
was Godzilla or Megalon.

P.20

was quite often) she would make me write
about it ... [have given you these same
assignments. I gave them to you not because I
thought they would curb your behavior — the

(XD) When I was in trouble in school (which _

When I was in the fifth grade My Daddy
thought I needed to learn about the stock
market. He was working as an insurance
salesman at the time and had to keep abreast

of the economy and the market. Each day he

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certainly did not curb mine — but because
these were the earliest acts of interrogation, of
drawing myself into consciousness. Your
grandmother was not teaching me how to
behave in class. She was teaching me to

would make me read something called The
Wall Street Journal; he would simply give it
to me and say, “Read it.” I was convinced he
lay awake at night thinking of new ways to
torture me.

ruthlessly interrogate the subject that elicited”

the most sympathy rationalizing myself.
P.29 ,

... [would regurgitate what I had heard on
the news or read in the paper — ‘the Dow
Jones Industrial Average dropped because of
concerns over inflation,’ or ‘the
transportation index fell because of
increasing gas prices.’ But of course, this
was not good enough for My Daddy.
‘Why?’ he would ask. He would make be
comb the Journal until I could find a
sufficient answer, which could take hours,
Suzie would look on with a smirk on her
face. To shut My Daddy’s mouth, I cross-
referenced various news sources to create
my own story, and reference previous
versions of The Journal to prove prices were
indeed going up.

P.23

I figured it was time for me to get off of the
corporate treadmill and build my own brand -
somehow; maybe it was time to quit
procrastinating on that travel basketball team
I had promised to start. But the trick was to
make it educational somehow. I had tried
teaching my son about the stock market but I
was away from home too much to be
consistent with it. If I fused the two together
— basketball and investing, I thought it would
be a fun way to spend a lot of time together
and formally teach him and other kids about
the fundamentals of investing.

P.113

(XII) She taught me how to love in new
ways. In my old house your grandparents
ruled with the fearsome rod. I have tried to
address you differently — an idea begun by
seeing all the other ways of love on display
at The Mecca.

P.60

My mother was from the school of “spare
the rod, spoil the child,” and she seemed to
purposely try to undo all of the good work
Grandma had created. She seemed to
purposely try to undo all of the good work
Grandma had created ... When my own son
Ralph was 7 years old I was doing some
painting around the house and I asked him

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to bring me a new paintbrush. Instead of
walking the paintbrush over to me, the kid
threw it and accidentally smashed the
window. I never said a word ... He could
not believe he was not going to get in

trouble tor it 1 simply told him that as a kid
I had gotten enough beatings for the both of
us.

P.14

(XII) I would take breaks from my reading,
walk out to the vendors who lined the
streets, each lunch on the Yard. I would
imagine Malcolm, his body bound in a cell,
studying the books, trading his human eyes
for the power of flight. And I too felt bound
by my ignorance, by the questions that I had
not yet understood to be more than just
means, by my lack of understanding, and by
Howard itself.

P.48

And so it went. I spent several nights up
until 1 a.m. - 2 a.m. with a book, a thesaurus
and a flashlight (so not to wake up Dwayne
and Mark). I went lindy hopping with
Malcolm Little, tried to remake myself with
Jay Gatsby, and screamed ‘run black boy
run!’ at Bigger Thomas.

P.34

(XIV) And I am afraid. I feel the fear most
acutely whenever you leave me. But I was
afraid long before you, and in this I was
unoriginal. When I was your age the only
people I knew were black, and all of them
powerfully, adamantly, dangerously afraid. I
had seen this fear all my young life, though I
had not always recognized it as such.

P14

For the white kids, the school you attended
had political implications. The majority of
the Caucasian students attended Prince
Edward Academy. Those who could not
afford to attend it, attended Prince Edward;
then there were the white families who
actually wanted to send their kids to the
public school. And that is saying a lot
because Prince Edward was all black. I
actually thought blacks ran the world. Just
about everybody I came into contact with at
church, at school and in the neighborhood
was black. —

P.27

(XV) An unceasing interrogation of the
stories told to us by the schools now felt
essential. It felt wrong to ask why, and then:
ask it again. I took these questions to my
father, who very often refused to offer an
answer, and instead referred me to more
books. My mother and father were always ©
pushing me away from secondhand answers
— even the answers they themselves
believed. I don’t know that I have ever

Of all the Sunday school lessons, the one
that vexed me the most was the crucifixion
of Jesus Christ. [ loved to read about the
miracles Jesus had performed. If he could
perform miracles like healing the sick,
helping blind men see and feeding 40 people
with a fish and a loaf of bread, that was a
good thing right? Then why was he so hated
upon? I asked these questions of Doris Day
repeatedly and would not let it go. [also
asked Reginald Smith (deacon) and

10

found any satisfactory answers of my own.
P.34

Grandma. No answer was satisfactory.
How someone as good as Jesus could be
crucified vexed me throughout my
childhood.

P.26

2

— ‘Either I can beat him or the police.’
Maybe that saved me. Maybe it didn’t. All I
know is, the violence rose from the fear like
smoke from fire, and I cannot say whether
that violence, even administered in fear and
love, sounded the alarm or choked us at the
exit. What I know is that fathers who
slammed their teenage boys for sass would
then release them to streets where their boys
employed, and were subject to, the same
justice. And I knew all the mothers who
belted their girls, but the belt could not save
these girls from drug dealers twice their age.
P.17

| She would take my belt and wear my rear

end out. The beatings would go on fora
while and then Grandma would step in with,

~ ‘Don’t kill that boy Suzie!’ Then my mother

would stop ... | would yell a little bit in the
beginning after about 15-20 seconds I would
be thinking, ‘Grandma where are you?
Grandma, come on now!’ And with her
extrasensory perception Grandma would
step in and save my life.

P.34

(XVID) Your grandmother taught me to read
when I was only four. She taught me to
write, by which I mean organizing a set of
sentences into a series of paragraphs, but
organizing them as a means of interrogation.
P.29

It was in Sunday school that people in the
community knew I was pretty smart. In
second grade I was probably on a sixth-
grade reading level already. I prided myself
on understanding the meaning of words and
being able to spell correctly.

P.26

(XVIII) I needed more books. At Howard
University, one of the greatest collection of
books could be found in the Moorland-
Spingarn Research Center, where your
grandfather once worked. Moorland held
archives, papers, collections and virtually
any book ever written by black people ... I
would open the books and read, while filling
my composition books with notes on my
reading, new vocabulary words, and
sentences of my own invention.

P.46

And so it went. I spent I spent several nights
up until 1 a.m. - 2 a.m. with a book, a
thesaurus and a flashlight (so not to wake up
Dwayne and Mark). I went lindy hopping
with Malcolm Little, tried to remake myself
with Jay Gatsby, and screamed “run black
boy run!” at Bigger Thomas. Mrs. Peale
knew we would need a thesaurus to
understand the material. That was mainly
the point — to help increase our vocabulary
and include it in our writing.

P.34

(XIX) That is the best of what the old heads
meant when they spoke of being “politically
conscious” — as much a series of actions as a
state of being, a constant questioning as
ritual, questioning as exploration rather than
a search for certainty. Some things were

When I was not reading trade magazines
from the apparel industry, I was reading
books to help me learn more about Wall
Street. I did not just read them; I devoured
them — Greed and Glory on Wail Street: The
Fall of the House of Lehman, Our Crowd,

11

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clear to me: The violence that undergirded
the country, so flagrantly on display during
Black History Month, and the intimate

_ violence of “Yeah, nigger, what’s up now?”

The Predators’ Bail, Liar’s Poker,
Barbarians at the Gate, Den.of Thieves and
the history of Salomon Brothers. But my
favorite was The House of Morgan, written
by Ron Chernow in 1990.

were unrelated. And this violence was not

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But what exactly was the design? And why?
I must know. I must get out ... but into
what? J devoured the books because these
were the rays of light peeking out from the
doorframe, and perhaps past that door there
was another world, one beyond the gripping
fear that undergirded the Dream.

P.34

is

12

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EXHIBIT G

Below is a comparison of the dialogue in the Black Panther comic book versus the prose from

Shock Exchange.

Black Panther

Shock Exchange

(I) Nakia: “And when have we not been
desperate, M’Baku? Who knows if we’ll truly
find soldiers down there worthy of the
maroons. But what we do know is this: We
are not the only ones who are desperate.”
Black Panther: The Intergalactic Empire Of
Wakanda, Part One, 1

Whenever he came home from work
Sharmane usually met him in the driveway
before he could get out of the car ... Grandpa
was seemingly in three states — going to work,
at work, or coming from work. We never saw
him except for on weekends. He worked the
night shift for decades and I never once heard
the man complain. He did whatever he had to
do in order to provide for his family. As
much as he was a killjoy, he definitely had
our respect. He worked hard and was a man
of means.

P.12

(II) Daoud: “You new here so Daoud tell you
how this works.” Daoud king-mule. You need
something? You ask Daoud first. Nothing —
not even water — move without Daoud. Did
you hear Daoud mule?! Daoud say — Daoud
try telling you nice-like boy. Daoud be
peaceable. But you push Daoud. And Daoud
push back!“

Lady In Blue Face: “Stop! Are you so lost
that you will let them reduce to this? What do
you hope to prove by killing him? That you
truly are a beast? They have stolen your
name, your culture, your god. Do not let them
steal your mind.”

Lady With White Hair: “Promise you’ ll come
back home ...”

Daoud:” Maroon girl right! Leave Daoud! -
Daoud want no help from you mule! Daoud
kill you! ...”

Daoud: “Daoud want no help ... Daoud kill

23

Whenever he came home from work
Sharmane usually met him in the driveway
before he could get out of the car ... Grandpa
was seemingly in three states — going to work,
at work, or coming from work. We never saw
him except for on weekends. He worked the
night shift for decades and I never once heard
the man complain. He did whatever he had to
do in order to provide for his family. As
much as he was a killjoy, he definitely had
our respect. He worked hard and was a man
of means.

P.12

Case 1:22-cv-07986-JPO-SLC Document2 _ Filed 09/19/22 Page.130 of 162

Unknown Lady: “Shut up Daoud ...”

Black Panther: The Intergalactic Empire Of
Wakanda, Part One, 1

(IIT) Soldier #1: “Attention! Attention! Asset

She ruled more with the “carrot” than the

in the southwest quadrant. Assets are the
exclusive property of Emperor N’Jdaka!
Asset must be retrieved whole and alive! Fail
to act according to the dictum and one of you
will take the asset’s place in the mines! Hurry,
he’s through here, Huh? Where ...

Soldier #2: “One more year out here in Goree
— and that’s it for me. No more mules. No
more mines. No more — “

Random Soldier: “Let’s kill him!”

Soldier #1: “No! Not unless you want to end
up in the vibranium mines yourself! Stun
only!”

Voice From The Shadows: “Come home ...”

M’Baku: “How do we know they’ lI even
fight?”

Nakia: “We don’t. But if we’re ever going to
go beyond those ragtag hit-and-runs, we need
more soldiers. And we’ve got intelligence that
Goree is a factory for them.”

M’Baku: “I don’t know Nakia. It feels
desperate,”

Nakia: “And when have we not been
desperate, M’ Baku? Who knows if we’ll truly
find soldiers down there worthy of the
maroons. But what we do know is this: We
are not the only ones who are desperate.”

Random Soldier: “That one there walks
around like he’s some sort of king ... Go
show him he’s just a mule like the rest of

she did it. First of all, she would always make
us peanut butter and jelly sandwiches for
lunch. She always bought the crunchy peanut
butter because that what we liked. She would
then cut the sandwiches diagonally across the
corners, making two triangles.

For your birthday would bake you a cake in
any style you liked; she had 11 grandchildren
in Farmville, which equated to 11 birthday
cakes a year, And whenever you would cut
your leg or hand from playing outside or
falling off your bike, she would put hydrogen
peroxide on it instead of alcohol because
peroxide didn’t sting. It seems insignificant
now but to a child that stuff was important.
You would never play with reckless abandon
if you knew that the alcohol was waiting for
you.

P.10

you.”

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Case 1:22-cv-07986-JPO-SLC Document2 Filed 09/19/22 Page 131 of 162

Daoud: “You new her so Daoud tell you how
this works.” Daoud king-mule. You need
something? You ask Daoud first. Nothing —
not even water — move without Daoud. Did

you hear Daoud mule?! Daoud say — Daoud

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peaceable. But you push Daoud. And Daoud
push back!“

Lady In Blue Face: “Stop! Are you so lost
that you will let them reduce to this? What do
you hope to prove by killing him? That you
truly are a beast? They have stolen your
name, your culture, your god. Do not let them
steal your mind.”

Lady With White Hair: “Promise you'll come
back home ...”

Daoud:” Maroon girl right! Leave Daoud!
Daoud want no help from you mule! Daoud
kill you! ...”

Daoud: “Daoud want no help ... Daoud kill

”
.

Unknown Lady: “Shut up Daoud ...”

Black Panther: The Intergalactic Empire Of
Wakanda, Part One, 1

(IV) Captain: “May I offer you anything?
Something to make you more comfortable?
No, of course not. You are nameless. What
need you have of comforts? This is what you
are thinking, yes? I understand. I worked the
mines once. But I tell you, comforts are not
all bad, soldier. It’s really a matter of sources.
This, for instance, gives me great comfort.
One slaver killed, one maroon saved. They
say you carried one of your own under the
hail of fire. Impressive.

I am told that you know who we are, that you
are aware of what we do. And that you are
eager to join the battle against the empire.

The only pet peeves we had with Annie Mae
was her living room and the Kool-aid. She
was fixated on her living room and adamant
that no one walk in there, breathe in their or
even look at it. The thought of not walking
through the living room had never even
crossed my mind until she said not to. And
the more she fussed about it, the more we
wanted to do it. The carpet was all plush and
clean and stuff and the furniture looked like it
hadn’t been moved in decades. It looked
more like a mausoleum or something. When
company came it was a treat for us because
we knew we could finally visit the living

Case 1:22-cv-07986-JPO-SLC Document2 _ Filed 09/19/22 Page 132 of 162

Know that my marcons have committed their
lives to the empire’s destruction. But also
know that it is not enough for a man to
declare what he would die fighting against.
He must too know what he lives to fight for.

room, walk on the carpet and test out the
furniture.

But the Kool-Aid was another story. Gramma

T'Challa: “Home. I... I fight to get back
home.”

Captain: “Where is home?”

T’Challa: “I .|. Ido not know. I feel it, more
than I recall it. I cannot remember ...
anything. I do not even know my name.”

Captain: Of course. They took that from you,
took it from us all, and left us with only
scraps of some other life.”

Black Panther: The Intergalactic Empire Of
Wakanda, Part One, 1

must have had to ration sugar during the
Great Depression or something because she—t
went real light on the sugar when making
Kool-Aid for us. We would frown up our
faces even before we drank it because we
knew the deal. It tasted more like sour water
and the tartness of it seemed to paralyze your
tongue and send the rest of your body into a
spasm, twisting and turning, looking down at
the floor trying to avoid making eye contact
with her. We would complain in private to
my mother, hoping that she would break the
bad news because we would never do
anything to her Gramma’s feelings. Even my
mother “chickened out” and kept quiet. For
years “Annie Mae’s sour Kool-Aid” was a
must have whenever you visited.

P.10

(V) Captain: “And what if I told you that this
T’challa of legend walks amongst us?”

Nakia: “I would say that “T’challa” is the
most common name in the empire. And it is
often adopted by those wishing a
reincarnation.”

Captain: “Quite so. And yet three years ago, a
man appeared claiming to be the true
T’challa. This man was mocked at first, much
as you mock now. He was subjected to trials
of strength and courage — and outlasted them
all. We know that on planet Bast this man was
hailed as the second coming. That he
journeyed out to Nehanda’s Lattice. That he
fought the Shi’ar on behalf of the empire. And
there met an untimely end.”

Nakia: “But do you not believe he met an
untimely end?”

Secondly, I played defensive back and I was
wearing a defensive lineman’s number which
only meant one thing — I was not going to
play. While the rest of the guys charged out
of the locker room hollering and screaming,
Wesley Hackney and I charged out carrying
the water cooler filled with some new drink
called “Gatorade.” It tasted good too. When
the starters came off the field the
benchwarmers got chewed out for drinking all
the Gatorade.

I spent my first year of high school football
trying to keep bad stuff from happening. Do
not get lit up in practice. Do not drink all the
Gatorade. Huddle together with the other
benchwarmers to avoid frostbite on the -
sidelines, And if by a miracle J did play and
happened to get jacked up, do not let my
mama come onto the field. I had given Suzie
strict instructions that no matter what, she was

to keep her behind in the stands; I never

Case 1:22-cv-07986-JPO-SLC Document 2

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Captain: “No. I do not. Nakia, I know that I
can be a dreamer. Dreaming is what saved
from the mines. Dreaming brought me to the
maroons. But this is no dream. T’challa ~ our
T’challa — is the ultimate. The avenger. He

would have lived down the embarrassment of
being called a “Mama’s boy.”
P.30-

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Haw:

many times has he changed an enemy column
alone and left splinters in his wake? What
other theory can you offer?”

Nakia: “Respectfully, captain ... the absence
of my own theory is not proof of yours.”

Captain: “Indeed, Which is why I share this
only with you. If my theory were known and
wrong, it might spread false hope. And if it
were known and right ... N’Jadaka would
never stop hunting us.”

Black Panther: The Intergalactic Empire Of
Wakanda, Part One, 3

(VD Man With Gray Hair: “Like all empires,
the empire of Wakanda is counterfeit. It is a
confederacy of villains who’ve elevated
criminality to galactic law. The empire creates
nothing. It enlightens no one. Because as the
great Changamire taught, empires do not
enlighten, they plunder. In this field, I must
admit, the empire has been a pioneer.

The font of the empire’s great power is the
atchive — its vast collection of knowledge. All
of it plundered from the memories of the
millions they’ ve enslaved.

More than the might of N’Jadaka, the archive
is the font of imperial power. It is the archive
that gave the empire its culture and
technology. From the Rigellians, the empire
acquired its vast knowledge of the stars. From
the Teku-Maz, they pilfered literature and
song. From the Kronan, they learned the true
power of vibranium — life-blood of the
empire. From the shadow people they stole
knowledge of governance and hierarchy.

She ruled more with the “carrot” than the
“stick.” It was not just what she did, but how
she did it. First of all, she would always make
us peanut butter and jelly sandwiches for
lunch. She always bought the crunchy peanut
butter because that what we liked. She would
then cut the sandwiches diagonally across the
corners, making two triangles. For your
birthday would bake you a cake in any style
you liked; she had 11 grandchildren in
Farmville, which equated to 11 birthday cakes
a year.

And whenever you would cut your leg or
hand from playing outside or falling off your
bike, she would put hydrogen peroxide on it
instead of alcohol because peroxide didn’t
sting. It seems insignificant now but to.a child
that stuff was important. You would never
play with reckless abandon if you knew that
the alcohol was waiting for you.

P.10

Case 1:22-cv-07986-JPO-SLC Document2 _ Filed 09/19/22 Page 134 of 162

This man we’ve captured — Kofi — is the
empire’s chief technologist. He has many
responsibilities ... including maintenance of
the archive. We are going to do to him

precisely what he has done to so many. Mine

————+ every ineh- of his brain for inteHigenee And
he, 2 ATTA

then use it to neutralize the archive.

The empire evolves too fast for us to fight,
because the archive is alive. It does not hold
knowledge. It analyzes and dissects it.
Searching for partners for new ways to —
conquer and new ways to enslave. .

But we aren’t just going to neutralize the
archive. We are to avenge the victims, and
make them whole. Because the empire didn’t
simply steal our technologies and culture —
they stole our lives. Let them fight for our
memories, comrades. Let us recover our
names.”

Black Panther: The Intergalactic Empire Of
Wakanda Part Two, 7

(VID Farouk: “Jafari and his revolutionary
guard have deceived you. Do you even know
what the Jengu is?”

Girl With Afro: “A revered creature among
the Teku-Maza.”

Farouk: “The Jengu is not merely revered.
She is our mother. Eons ago the Jengu ruled
the seas of Agwe. From the Jengu, we Teku-
Maza evolved into our cutrent form. We built
a great civilization beneath the waves. But we
never forgot whose whim truly moved the
waves. And then the imperials came. We
fought them of course, But the empire was not
to be denied. And our beloved Jengu were
hunted to extinction. You know the empire,
you know what came next. Our people were
enslaved, our memories ripped from us, our
culture plundered.”

Whenever someone broke one of her rules
you knew the penalty — the switch. She
would make you go into the woods and pick
your own. Now there was a strategy to this.
The bigger the switch, the more stable it was,
the more it would hurt, and the longer the
beating would last. However, if you did not
get a big enough switch Grandma would have
Mr. Allen, the man she remarried later in life,
go get one. And he would come back with an
entire tree branch. Once my cousin returned
with the switch, Grandma would examine it
for length, thickness, and flexibility. Mr.
Allen would add his two cents and no matter
how long or thick the switch was, he always
felt it was inadequate.

Once the switch had passed inspection, the
beating would begin. After hearing (never
seeing) what took place next, that was the best
advertisement Grandma needed as to what

Girl With Afro: “And how did you just tell us
that wonderful story with no memories?”

Farouk: “Don’t you know? Is that not why
-| you are here? Only Jengu survived

happened when you crossed her.
P.15

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depths of the planet, in the deepest oceans.
And when we rebelled again, she joined the
battle. The Jengu is the last of its kind, but its
connection to this planet is inviolable. It was
the Jengu who told us the old stories. It is the
Jengu who holds the last vestiges of what we

_| once were.

You are being told that we have kidnapped
the Jengu. That we work with the empire.
You have been told wrong.”

Girl With Afro: “Wrong how?”
Farouk: “Follow me, please. I will show you.”
T’Challa: “Follow you where?”

Farouk: “You came to see the Jengu, did you
not? I will show her to you, but first — why
she is even here, why there is even this
rebellion. Three years ago, the empire
teturned and we had to fight to preserve our
victory. N’ Yami had left to join the larger
resistance years prior. And so our first
thought was to forge an alliance with you —
N’Yami’s maroons. But when our entreaties
went unanswered — new measures were
considered.”

Girl With Afro: “For us, we were running for
our lives.”

Farouk: “You ally Jafari came up with a novel
idea: sue for peace with the empire ... by
offering up the Jengu.”

Girl With Afro: “What? Jafari is a freedom
fighter.”

Case 1:22-cv-07986-JPO-SLC Document2_ Filed 09/19/22 Page 136 of 162

Farouk: “He still is fighting for freedom — his
freedom. Jafari is not concerned with the
empire’s doings elsewhere. He only cares for
Agwe.”

+’Chelia: “And yeu eppesed him. That is
wT * * tis

what began this current war.”

Farouk: “It was a betrayal of all that N’ Yami
stood for. But I suspect Jatari has now gone
much further. So far he has failed to deliver
the Jengu, and has thus likely promised
something more.”

Girl With Afro: “Something ... like us.”
T’Challa: “That would be Jafari?”
Farouk: “No ... much worse.”

Black Panther: Intergalactic Empire Of
Wakanda, Part Two, 9

(VITE) N’ Kano (Man In Green): “You know,
Brian, before the wrecking crew, I was a
scientist. Dignified and respectable. They
used to call me “The Black Bruce Banner.”
Why am I still down here?”

Brian: “For the same reason they didn’t call
you “The white Eliot Franklin.”

N’Kano: “Oh, so you’re woke now or
something.”

Brian: “Yeah, a regular Malcolm Farrakhan.”
N’Kano: “I gotta make some changes ...”

Brian: “And I gotta get the door. It’s our job,
| remember? Huh, no one — “

N’Kano: “Wait, piledriver, don’t! Allow me
to reintroduce myself, my name is —*

Lady In Lavender: “N’Kano ... that line is
almost as old as Wakanda.”

Whenever someone broke one of her rules
you knew the penalty — the switch. She
would make you go into the woods and pick
your own. Now there was a strategy to this.
The bigger the switch, the more stable it was,
the more it would hurt, and the longer the
beating would last. However, if you did not
get a big enough switch Grandma would have
Mr. Allen, the man she remarried later in life,
go get one.

And he would come back with an entire tree
branch. Once my cousin returned with the
switch, Grandma would examine it for length,
thickness, and flexibility. Mr. Allen would
add his two cents and no matter how long or
thick the switch was, he always felt it was
inadequate. Once the switch had passed
inspection, the beating would begin.

After hearing (never seeing) what took place
next, that was the best advertisement
Grandma needed as to what happened when
you crossed her. One way to avoid the switch

Case 1:22-cv-07986-JPO-SLC Document2 _ Filed 09/19/22 Page 137 of 162

was to keep Grandma in a good mood.
N’Kano: “I respect the classics.” P.15

Lady In Lavender: “You respect the corny.”

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Remember why we are here.”

N’Kano: “These men are weak, my king. We
did we even need ... oof!”

Andrea: “T believe that’s our cue, Andrea.”
Andreas: “Yes, I believe it is Andrea.”

Andrea: “And what a treat we have! Chief
T’Challa and his merry band of monkeys.”

Andreas: “Shall we put the monkeys back in
their cage, Andrea?” ,

Andrea and Andreas (together): “Yes, I
believe we shall.”

Black Panther: “Clearly you were not paying
attention the last time we did this.”

Andrea: “Oh, but we were. You should never
have come here, T’Challa. Our house. Our
rule. Our party. His suit absorbs and reflects
energy Andreas.”

Andreas: “How about we give it a stress test,
Andrea? So much for your suit, I guess. What
now, Chief T’Challa?”

T’Challa: “What, indeed ...”

Andrea: “Hey ... where did ... Find him!?”
Lady In Lavender: “No need.”

T’Challa: “Option one: you settle your guards

down now. Option two: I deploy this energy
dagger and we get to see exactly what’s on

your mind. P-perhaps this is a good time f-for
a détente. Smart move.”

Andrea: “We don’t know anything about a
girl, T-Challa.”

Andreas: “And if we did, we certainly
wouldn’t say anything to a kaffir like you.”

Andrea: “Yes, monkeys belong in cages.
Someday we will put you in one.”

N’Kano: “That’s your mans and them?”
Lady In Lavender: “Corny.”

N’Kano: “No. That is neither my mans nor
them.”

T’Challa: “Take them away. But not
thunderball.”

Brian: ‘Dude racist much?”

T’Challa: “Dr. Franklin. It’s always an honor.
I do not think I have ever told you this, but I
studied your research as a student. It was
impressive.”

Brian: “You ... you know me?”

T’Challa: “Of course. Your work on gamma
radiation was pioneering. How could I forget
your name?”

Brian: “Yeah ... the black Bruce Banner.”

T’Challa: “No. Dr. Franklin. Dr. Eliot
Augustus Franklin, The names these people
give us — as though they know us better than
our fathers, or our own deeds. They have no
imagination Dr. Franklin. To them we are
only shadows of their glory, never our
beautiful, original selves. There is nothing
original in being “black Bruce Banner.” This
country’s prisons heave with black Bruce

10

Case 1:22-cv-07986-JPO-SLC Document2_ Filed 09/19/22 Page 139 of 162

Banners. As I think you know. Dr. Franklin, I
will be brief. Time is of the essence.”

N’ Kano: “The girl.”

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employ you, these people who mock us, to
whom we are only shadows, they took her and
... well, Dr. Franklin, I believe that you are a
brilliant man. But more, I believe you were a
good man one. And that you might well be
one again. You do not have to answer to
whatever they call you Dr. Franklin. It is not
too late to recover your own name.”

Black Panther: Avengers Of The New World,
Part One, 16

(IX) Captain: “He must too know what he
lives to fight for. And so I ask, my son, what
do you fight for?

T’Challa: “Home. I... I fight to get back
home.”

Captain: “Where is home?”

Black Panther: The Intergalactic Empire Of
Wakanda, Part One, 1 .

Farouk: “You are being told that we
kidnapped the Jengu. That we work with the
empire. You have been told wrong.”

Girl With Afro: “Wrong how?

Farouk: “Follow me, please. I will show you.”

Girl With Afro: “Follow you where?”

Black Panther: Intergalactic Empire Of
Wakanda, Part Two, 9

Farouk: “So far he has failed to deliver the
Jengu, and has thus likely promised
something more.”

She would threaten my cousins, one in
particular, that “You going to the pen.” I’m
thinking like, “What pen ... the pig pen? And
why would you be sent to the pig pen for
being a big liar?” I was too young to
understand but she was fixated on keeping her
grandchildren “out the pen.” P.15

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Case 1:22-cv-07986-JPO-SLC Document2 _ Filed 09/19/22 Page 140 of 162

Girl With Afro: “Something ... like us?”

Black Panther: Intergalactic Empire Of
Wakanda, Part Two, 9

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ParUUk. LOOT aly Jdiall Cae up Witt a
novel idea: sue for peace with the empire ...
by offering up the Jengu.”

Girl With Afro: “What? Jafari is a freedom
fighter?”

Black Panther: Intergalactic Empire Of
Wakanda, Part Two, 9

Andreas: “How about we give it a stress test,
Andrea? So much for your suit, I guess. What
now, Chief T’Chaila?”

T’Challa: “What, indeed ...”

Black Panther: Avengers Of The New World,
Part One, 16

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Case 1:22-cv-07986-JPO-SLC Document 2

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EXHIBIT H

Below is a comparison of the dialogue in Captain America versus the prose in Shock Exchange.

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Captain America

Shock-Exch
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(1)Micah: “Y-you wanted to see me, Vicar
Gallo?”

Vicar Gallo: “Yes Micah. I was just going
over your numbers, and I must say, they don’t
look good. In fact, they haven’t looked good
for some time now.

Micah: “I —I know. I’ve tried. I really have. I
brought you Johnny. He’s a hard worker, isn’t
he.?

Vicar Gallo: “He is that. But this is America,
Brother Micah. Hard workers abound. I don’t
need more labor.”

| Micah: “I’ve done the best I can, I am telling
you. Please Vicar. This place means so much.
First time I been clean in years. Everybody’s
given up on me: My daddy. My daughter,
Mary. All of ‘em. So you see, ain’t nothing ©
out there for men like me. Just dust and sin.
Adamsville is all I got left. Please ... Pll try
harder. You’!l see. Please don’t throw me
away. Been thrown away all my life. Daddy.
My Mary ... don’t throw me away like the
others.”

Vicar: Gallo: “Oh, brother Micah. Let me

assure you of something. I am nothing like
the others.”

Captain America: All Die Young, 20

Whenever he came home from work
Sharmane usually met him in the driveway
before he could get out of the car ...
Grandpa was seemingly in three states —
going to work, at work, or coming from
work. We never saw him except for on
weekends. He worked the night shift for
decades and | never once heard the man
complain. He did whatever he had to do in
order to provide for his family. As much as
he was a killjoy, he definitely had our
respect. He worked hard and was a man of
means.

P.12

(I) TV Commentator: “It is here in the
heartlands so often dismissed as sleepy
flyover country, that a revolution is brewing.
This revolution is being led by the American
man, who is at last standing up for his values.
If you’re looking for champions in these dark

My Daddy was never around. During the
weekdays he was always working. He had
lots of jobs growing up, but the job I
remembered most was when he worked in
construction in Richmond. Suzie would
drive him to meet his carpool at 6 a.m. when
we were in the bed sleep. He was like a

times, look no further than the men who’ ve

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come to this hamlet of Adamsville. Men like
Guy Perkins.”

Guy Perkins: “Problem is we’ve gone soft.
My daddy worked 30 years in the steel

ghost ... we could hear footsteps from time

to time but never really saw him. And on the
weekends he was always out with his cousin
Larry; the two were inseparable. When you

mentioned one you had to mention the other

| factories. Hard work, yeah, but hard work 1
made for hard men, And my daddy was hard,

I’m telling you. Didn’t take nothing off the
bosses or the illegals. And when the scabs
cam sniffing around, my god, my daddy knew
how to handle‘ em. But we got soft. You see.
Let video games raise our kids. Stopped
protecting our women.

Any wonder that when Hydra marched
through our streets, we all bent the knee?
Soft, I tell you! By God, my poor old daddy
knew how to handle ‘em. Would’ve said,
‘Boy, pass me my boots and rifle. Stand me
up one last time.’ By God, I can hear him
now.” I don’t know what happened to us. I
don’t know how you go from the greatest
generation to ,.. this ...

TV Commentator: “However it happened, we
now know how it will be undone. Adamsville
is a small Ohio town where men rededicate
themselves to the wisdom of plain folk. Hard
work is plentiful to any American male with
two hands.”

Captain America: All Die Young, 20

a aT ee

1 always had the impression that My Daddy
could not have cared less about us, since he
was never around. And we sort of liked it that
way because when he was around he was
always barking orders; he was either giving
orders or critiquing the orders we were
supposed to carry out.

P.22

(IIL) Guy Perkins: “Problem is we’ve gone
soft. My daddy worked 30 years in the steel
factories. Hard work, yeah, but hard work
made for hard men. And my daddy was hard,
I’m telling you. Didn’t take nothing off the
bosses or the illegals. And when the scabs
cam sniffing around, my god, my daddy knew
how to handle‘ em. But we got soft. You sce.
Let video games raise our kids. Stopped
protecting our women.

Captain America: All Die Young, 20

Whenever he came home from work
Sharmane usually met him in the driveway
before he could get out of the car ... Grandpa
was seemingly in three states — going to work,

| at work, or coming from work. We never saw

him except for on weekends. He worked the
night shift for decades and I never once heard
the man complain. He did whatever he had to
do in order to provide for his family. As
much as he was a killjoy, he definitely had
our respect. He worked hard and was a man
of means.

P.12

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(IV) Man In Teal Shirt 1: “I gotta tell you,
Adamsville isn’t the first time I’ve even seen
this. A while back I was in this other town,
and it was the same thing — this hunger for
something old, something lost.”

When we played football I had to be ‘Number
43’ for Larry Brown, the All-Pro running
back for the Washington Redskins. Larry
Brown was my hero and if I could not be #43
then I was not playing. And if I wasn’t

wilox T ould

Man In Blue Overalls: “Yeah, miss me with
that. A crowd like this, talking about bringing
back the old days? Believe me, I know what
comes with it.” .

Man In Teal Shirt: “A lie. That’s what comes
with it. A big fat lie, That town I was in, it
was a cover for manufactured nukes. So the
question here is, what is Selene covering for?

What is the lie?’

Man In Green Shirt: “We don’t have to figure -

out all of that to save Sharon.”

Man In Teal Shirt: “No. We don’t. But we
should. We’re the good guys, right? So what
do we know?”

Man In Green Shirt: “From what I can see,
it’s got all the markings of what these Wall
Street guys call ‘multilevel marketing.’

Man In Blue Overalls: “A pyramid scheme.”
Man In Green Shirt: “Yep.” -

Man In Teal Shirt: “So what is 1t? To stay in
Adamsville, you have to keep bringing in
recruits?”

Man In Green Shirt: “Seems like that. Men
who can’t meet the quota just disappear.”

Man In Blue Overalls: “Disappear or get
disappeared? Selene’s a vampire. She hunts
down her victims and devours them.”

Man In Teal Shirt: “Right, but why hunt ...
when you can just farm?”

playing nebedy-was-going te play -weuld
hold up games for 15-20 minutes at a time
with my nonsense.

P.14

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Captain America: All Die Young, 20

(V) Dr. Selene Gallo: “Brothers of
Adamsville, I am not from here. I am from the
old world. I grew up in a small village,
modest and clean. I had a mother, father, kind

Whenever he came home from work
Sharmane usually met him in the driveway
before he could get out of the car ... Grandpa
was seemingly in three states — going to work,

neiohbors._We were not people of means but—
we were happy. And then came a madman
who burned our village, tortured the men, shot
the boys ... and the girls ... Let us not speak
of what became of the girls.

Eva was right. Soldiers from your America,
men of America — they saved us. Just as your
greatest generation saved the world itself. I
know what they say — the American man is
not what he was, the American man has fallen
into the long night of iniquity. His boys can
be seen languishing among the drug dens, and
his girls ... well, I say it again ... let us not
speak of the girls. That is why what we have
done her in Adamsville is a miracle, more
than a miracle, even. It is restoration.”

Captain America: All Die Young, 21

_atwerk_orcoming fromverk—_We never saw

him except for on weekends. He worked the
night shift for decades and I never once heard
the man complain. He did whatever he had to
do in order to provide for his family. As
much as he was a killjoy, he definitely had
our respect. He worked hard and was a man
of means.

P.12

(VI) Lady In Pantsuit: “Uncle William. He’s
such a cad, but harmless, really, I assure you.
Cheer Chadwick. I’m uncle William’s niece
and valet. I met with your wife a month ago
when we were ... formalizing things.”

Man In Tuxedo: “Your uncle ... quite dashing
isn’t he?”

Lady In Pantsuit: “Master of Kronas
Corporation. Acquired and flipped Roxxon
Energy for a multi-billion dollar profit. And
now shado-master of Madripoor. Perhaps
soon even more. Much more. Sounds dashing
to me. And really one wonders why such a
dashing gentleman even bothers with such
petty jealousy when he can easily take what
he wants. And so simply discard what he does
not.”

But what I heard were “black people and
welfare.” In the mid’80s “welfare” was a hot-
button topic. President Reagan politicized it
during his presidential campaign by implying
that welfare was dragging the country down
and linking to the image of a black woman
with five kids by three different men.

Even in the black community it was seen as
persona non grata. Uncle Jesse railed against
it on the way to Sunday school, during
Sunday school, and on the way home from
Sunday school. Thomas, Mark and I had
heard that “welfare speech” so many times
that we could recite it by heart.

P.51

Captain America: All Die Young, 21

(VID Man In Green Shirt: “Mistress, please!”

Man In Orange Shirt: “Please don’t sent me
away.”

Furthermore, the theory about people not
wanting to work was the darnedest thing I
had ever heard and a complete folly. My
arguing was the equivalent of “taking a
knife into a gun fight.” I had emotion on my

M “Begging | |

weakness is what got you here. We do not
need beggars in Adamsville. We need men,
Now prepare ...”

Captain America: All Die Young, 21

hundred years of economic theory and data
on human behavior.
P.51

(VILD Steve Rogers: “You sure you wanna
do this?”

Sharon: “Are you?”

Steve Rogers: “Not the same old Sharon
anymore, huh?”

Sharon: “Not the same young Sharon. Not
after that upgrade from Shuri.”

Steve Rogers: “Yeah, I see. I’m still trying to
calibrate.”

Sharon: “How ‘bout you don’t calibrate at all,
soldier.”

Captain America: All Die Young, 24

He was like a ghost ... we could hear
footsteps from time to time but never really
saw him. And on the weekends he was always
out with his cousin Larry; the two were
inseparable. When you mentioned one you
had to mention the other — “Ralph and Larry”
or “Larry and Ralph.”

P.22

(IX) Steve Rogers: “I know what the past few
months have meant to you. I know how much
you’ve been hurt. And I know that I’ve been
part of that hurt. I’m Captain America — not
Captain Perfect. But I’ve been fighting for
this country since I was a kid. And what I
know now, more than ever ... is that our
greatest generations are yet to come. I know
we’ve seen some dark times — broken trust,
betrayal. I’ve seen firsthand what that betrayal
has done to us. I’ve seen the families divided,
the small towns abandoned, the closed
factories, the shuttered churches. And I’ve
seen those who'd pose as saviors unmasked
as charlatans. And I know how hard it is to
believe again. But I am asking you to still

The students later gathered at John’s
auditorium where they gave us a pep talk
about what a fine college choice we had
made and the expectations of a “Hampden-
Sydney Gentleman.” A Hampden-Sydney
Gentleman was a man of honor and
everyone took a pledge not to “lie, cheat or
steal, or tolerate anyone who does.” The
College was dead serious about that Honor
Code. You could get suspended simply for
writing a bad check. The majority of the
Honor Code violations was a result of
procrastination. If you waited until the last
minute on an assignment, you were prone to
take shortcuts. I knew a guy who
procrastinated on a research paper. He went

into his fraternity’s files to find a paper

|—side-but Hendley had me -outeunned —a_fey—_——§£—__—
believe in America. Believe in yourselves.
Believe in the people.

Captain America: All Die Young Part Two,
24

written in that same professor’s class. First
he merely got an idea for a subject to write
about. He then borrowed a paragraph or
two, and that paragraph turned into three or
four paragraphs. He got an “A” on the

assignment atid afterward the professor
inquired about his sources. The professor
had remembered the original paper and the
student who had written it from over a
decade earlier. Naturally, he suspected the
student of plagiarism.

P.38

(X) Man In Green Shirt: “You know, dear, the
world really has changed.”

Sinthea: “More Lessons?”
Man In Green Shirt: “Lectures Sinthea.”

Sinthea: “Yeah? And what do I need those
for?”

Man In Green Shirt: “Because you are not
some mere thug slinking slinking through the
alleys of American ghettos. You are my
daughter.”

Sinthea: “I am not you — “

Man In Green Shirt: “More importantly, you
are my hetr. And as such, it is necessary that
you do not repeat certain errors I’ve made.
Certain mistakes. The Red Skull doesn’t
make mistakes. The Red Skull — a man. I am
aman, my dear. And mistakes are how men
learn. Indeed, it was a mistake to ever let you
think I was more,”

Sinthea: “But ... the mask ...”
Man In Green Shirt: “The mask is not the
man. The mask must ever be a tool. Once, I

allowed this tool to use me, to dictate to me.”

Sinthea: “I am not following.”

' There was always something going on Up

the House, like some big-time family
gathering or activity. For Mother’s Day the
boys took on the girls in a family softball
game. The boys won of course, but this
nonsense was a spectacle. You always
knew whose mother was at bat because the
kid would stare at the ground out of
embarrassment or try to hide behind a tree.

First of all, my mother hit from the left side
of the plate. I mean, who does that? Then
she pulled her right leg out before swinging,
as if she was afraid to get hit by the ball.
You were supposed step toward the pitcher,
that way you generate more power when
swinging through the ball. Who didn’t
know that? Then she couldn’t make contact
with the ball ... embarrassing! It took her
about 10 swings before she could ever put
the ball in play and that was usually a weak
ground ball. We would pretend to misplay
the ball so she could get on base. Every year
the boys would destroy the girls.

P.17

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Man In Green Shirt: “Hmmm ... Perhaps a
more concrete example. Some years, I sought
to augment the hate men felt and turn them
against my enemies. It failed. I tried again. It

failed again. Why? Because I was blinded by

. sotoaod hota
3 PStOod Ware

itself. You see hate is natural.”

Narrator: “Hate is part of what makes us who
we are. Something so human need not be
implanted. It need not be augmented. It need
only be hamessed. For hate is a tool. Hate is a
device.”

Captain America: All Die Young Part Two,
27

Captain America: “So let me guess — your
brother, he disappears into the Internet. And
when he comes back out he can’t stop talking
about his new theory of the world. And that
theory comes from one man. “The Red
Skull.”

The Man Who Wasn’t: “Y-yeah ... He did.”

Captain America: “It’s the same for all of
them. Young men. Weak. Looking for
purpose. { found the flag. I found the badge.
They found the skull. He tells them what
they’ve always longed to hear. That they are
secretly great. That the whole world is against
them. That if they’re truly men, they’ re fight
back. And bingo — that’s their purpose. That’s
what they live for. And that’s what they’ ll die
for.”

Captain America: All Die Young Part Two,
28 .

(XI) Red Skull: “What has happened to the
men of the world is truly one of the great
tragedies of our time. Once, the American
man was a coriqueror. Now his is but a
caretaker. And a caretaker of what? He stands
for some amorphous dream — a dream of
nothing. But what I offer you is more than

For Mother’s Day the boys took on the girls
in a family softball game. The boys won of
course, but this nonsense was a spectacle.
You always knew whose mother was at bat
because the kid would stare at the ground out
of embarrassment or try to hide behind a tree.

just some petty dream, more than a life of
tending the hearth. No more shall women be
summoned to fight our battles. I offer steal for
your spine and iron for your gut. I offer you
the sword of manhood.

First of all, my mother hit from the left side of
the plate. I mean, who does that? Then she
pulled her right leg out before swinging, as if
she was afraid to get hit by the ball. You
were supposed step toward the pitcher, that

Captain America: All Die Young Part Two,
28

Way you generate more power when swinging
through the ball. Who didn’t know that?
Then she couldn’t make contact with the bal!
... embarrassing! It took her about 10 swings
before she could ever put the ball in play and
that was usually a weak ground ball. We
would pretend to misplay the ball so she
could get on base. Every year the boys would.
destroy the girls.

P17

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EXHIBIT I

Below is a comparison of the dialogue in the Black Panther movie versus the prose from Shock

Exchange.

Pr
et

/ Sheek Exchange _

(DKillmonger: “I was just checking out these
artifacts. They tell me you’re the expert.

Museum Employee: “You could say that.”

Killmonger: “They’re beautiful. Where is this
one from.”

Museum Employee: “The Bobo Ashanti tribe,
present day Ghana,19" century.”

Killmonger: “For real? What about this one?”
Museum Employee: “That one’s from the Edo
people of Benin, 16" century.”

Killmonger: “Now, tell me about this one.”
Museum Employee: “Also from Benin,
seventh century. Fula tribe, I believe.”

Killmonger: “Nah.”

Museum Employee: “I beg your pardon.”
Killmonger: “It was taken by British soldiers
in Benin but it’s from Wakanda,”’

15:36 mark!®

And from then on Grandma had a rule, “If
that boy don’t play, nobody plays!” To this
day my cousins describe me as the “demon”
that could do no wrong. Grandma had about
20 grandkids, 17 great-grandkids and kept
two or three foster kids from time to time.
Add in some additional kids from the
neighborhood and there was an army of us.
The activities went around the clock. And
whatever games were going on, all you heard
was, “Let that boy play.”

P.13

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(ID T’Challa: “Are you finished? So
surprised my little sister came to see me off
before our big day.

Princess: “You wish. I’m here for the EMP

She would threaten my cousins, one in
particular, that “You going to the pen.” I’m
thinking like, “What pen ... the pig pen? And
why would you be sent to the pig pen for
being a big liar?” I was too young t to

beads [ve developed an update” 7

T’Challa: “Update? No. It worked perfectly.”

Princess: “How many times do I have to teach
you? Just because something works doesn’t
mean it cannot be improved.”

T’Challa: “You are teaching me? What do
you know?

Princess: “More than you.”

T’Challa: “I can’t wait to see what kind of
update you make to your ceremonial outfit.”

Ramonda: “Shuri ...”
Shuri: “Sorry Mother.”
T’Challa: “How are you feeling today,

Mama?”
14:35 mark -

grandchildren ‘ ‘out t the pen.”
P.15

(IIT) Old Lady: “The Merchant Tribe will not
challenge today.”

Man From Border Tribe: “The Border Tribe
will not challenge today.”

Man From River Tribe: “The River Tribe will
not challenge today.”

Woman From Mining Tribe: “The Mining
Tribe will not challenge today.”

Zuri: “Is there any member of a royal blood
who wishes to challenge for the throne?”

Shuri: “This corset is really uncomfortable, so
could be all just wrap it up and go home?
Mother! ,.. Are they Jabari?”

And from then on Grandma had a rule, “If
that boy don’t play, nobody plays!”

To this day my cousins describe me as the
‘demon’ that could do no wrong. Grandma
had about 20 grandkids, 17 great-grandkids
and kept two or three foster kids from time to
time. Add in some additional kids from the
neighborhood and there was an army of us.
The activities went around the clock. And
whatever games were going on, all you heard
was, ‘Let that boy play.’ If there was a
basketball game going on and my older
cousins blew me off, I ran into the house to
tell Grandma. She would come outside and
take the ball away until they let me shoot a
few times, or let me stand on the court and

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Ramonda: “Yes.”

Zuri: “M’Baku, what are you doing here?”

give the illusion as if 1 was actually playing.
P.14

M Baki: “It’s challenge day, We have
watched and listened from the mountains. We
have watched with disgust as your
technological advancements have been
overseen by a child! Who scoffs at tradition.
And now you want to hand the nation over to
this prince who could not keep his own father
safe. Mmm? We will not have it. I say we will
not have it, oh! I, M’Baku, leader of the
Jabari ...”

T-Challa: “I accept your challenge, M’Baku

39

Zuri: “Let the challenge begin.”
22:00 mark

(IV) T’Challa: dn Wakandan) “Father,”
T’Chaka: (In Wakandan) “My son.”
T’Challa: (in Wankandan) “T’m sorry.”

T’Chaka: “Stand up. You are a king ... (In
Wakandan) What ts wrong with my son?”

T’Chala: (In Wakandan) “I am not ready.”

T’Chaka: Un Wakandan) “Have you not
prepared to be king your whole life? Have
you not trained and studied, been by my
side?”

T’Challa: “That is not what I am talking
about. | am not ready to be without you.”

T’Chaka: “A man who has not prepared his
children for his own death has failed as a
father. Have I ever failed you?

T’Challa: “Never. Tell me how to best protect
Wakanda. I want to be a great king Baba just
like you.”

While the rest of the guys charged out of the
locker room hollering and screaming, Wesley
Hackney and I charged out carrying the water
cooler filled with some new drink called
“Gatorade.” It tasted good too. When the
starters came off the field the benchwarmers
got chewed out for drinking all the Gatorade.

I spent my first year of high school football
trying to keep bad stuff from happening. Do
not get lit up in practice. Do not drink all the
Gatorade. Huddle together with the other
benchwarmers to avoid frostbite on the
sidelines. And if by a miracle I did play and
happened to get jacked up, do not let my
mama come onto the field.

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T’Chaka: “You’re going to struggle so you’ll
need to surround yourself with people you
trust. You are a good man with a good heart.
And it’s hard for a good man to be king.”

T’Chalta: [Gasping|
Zuri: “Breathe. T’challa. breathe. Breathe.”
T’Challa: “He was there. He was there. My

father.”
31:00 mark

(V) T’challa: “Come home, Nakia.”
Nakia: “I’m right here.”
T’Challa: “Stay.”

Nakia: “T came to support you and to honor
your father but I can’t stay. It’s just I found
my calling out there. I’ve seen to many in
need just to turn a blind eye. I can’t be happy
here knowing that there’s people out there
who have nothing.”

T’Challa: “What would you have Wakanda
do about it?”

Nakia: “Share what we have. We could
provide aid and access to technology and
refuge to those who need it. Other countries
do it. We could do it better.”

T’Challa: “We are not like these other
countries, Nakia. If the world found out what
we truly are, what we possess, we could lose
our way of life.”

33:00 mark

For Mother’s Day the boys took on the girls
in a family softball game. The boys won of
course, but this nonsense was a spectacle.
You always knew whose mother was at bat
because the kid would stare at the ground out
of embarrassment or try to hide behind a tree.
First of all, my mother hit from the left side of
the plate. I mean, who does that? Then she
pulled her right leg out before swinging, as if
she was afraid to get hit by the ball. You
were supposed step toward the pitcher, that
way you generate more power when swinging
through the ball. Who didn’t know that?

Then she couldn’t make contact with the ball
... embarrassing! It took her about 10 swings
before she could ever put the ball in play and
that was usually a weak ground ball. We
would pretend to misplay the ball so she
could get on base. Every year the boys would
destroy the girls.

P17

(VI) T’Challa: “If you were not so stubborn
you could make a great queen.”

Nakia: “I would make a great queen because I
am so stubborn.”
34:25 mark

He was like a ghost ... we could hear
footsteps from time to time but never really
saw him. And on the weekends he was always
out with his cousin Larry; the two were
inseparable. When you mentioned one you
had to mention the other -- “Ralph and Larry”
or “Larry and Ralph.”

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P22

(VID) Shuri: “Here are your communication
devices for Korea. Unlimited range, also

He was like a ghost ... we could hear
footsteps from time to time but never really
saw him. And on the weekends he was always

| equipped with audio surveillance system.
amete access ameve

oto 40 AA oe

Cheelcthese ae eut Remo the Ce eo STEN aF
beads. Updated to interface directly with my
sand table.

T'Challa: “Ah. And what are these?”

Shuri: “The real question is, “What are those’?
Why do you have your toes out in my lab?”

T’Challa: “What, you don’t like my royal
sandals?”
38:20 mark

SPU with his Wg Larry: the Pe Were
inseparable. When you mentioned one you
had to mention the other — “Ralph and Larry”
or “Larry and Ralph.”

P.22

(VIII) T’Challa: “I wanted to go old school
for my first day.”

Shuri: “I bet the elders loved that. Try them
on, Fully automated like the old American
movie Baba used to watch.

T’Challa: “Mmm”

Shuri: “And I made them completely sound
absorbent.”

T’Challa: “Interesting.”

Shuri: “Guess what I call them. Sneakers.
Because you ... never mind. If you’re going
to take on Klaue you’ll need the best the
design group has to offer. Exhibit A.
T’Challa: “My design?”

Shur: “Old tech,”

T’Challa: “Old?”

Shuri: “Functional, but old.”
38:48 mark

She would threaten my cousins, one in
particular, that “You going to the pen.” I'm
thinking like, “What pen ... the pig pen? And
why would you be sent to the pig pen for
being a big liar?” I was too young to
understand but she was fixated on keeping her
grandchildren “out the pen.”

P.15

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({X) Shuri: “Now, look at these. Do you like
that one?”

T’Challa: “Tempting. But the idea is to not be
unnoticed.”

Suzie would drive him to meet his carpool at
6 a.m. when we were still in bd sleep. When
he got home at 10 p.m. or later, we were in
bed sleep. He was like a ghost ... we could
hear footsteps from time to time but never

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+a —_HS-_ORE.

really savw-him

Shuri: “Now tell it to go on ... Qooooh! The
entire suit fits within the teeth of the necklace.
Strike it.”

T’Challa: Anywhere?”

Shuri: “Mmm-hmm ... Not that hard,
genius!”

T’Challa:“You told me to strike it. You didn’t
say how hard.”
39:38 mark

ori

And on the weekends he was always out
with his cousin Larry; the two were
inseparable. When you mentioned one you
had to mention the other — “Ralph and
Larry” or “Larry and Ralph.”

P.22

(X) T’Challa: “You are buying from Klaue.”

Agent Ross: “What I’m doing or not doing on
behalf of the U.S. government is none of your
concern. Now, whatever the hell you’re up to,
do me a favor, and stay out of my way.”

T’Challa: “I gave you Zemo”

Agent Ross: “Didn’t I keep it under wraps
that the king of a third world country runs
around in a bulletproof catsuit? I’d say we
were even. You really need to leave, now.”

T’Challa: “Klaue is leaving out that door with
me. You’ve been warned ...”
43:20 mark

Suzie would drive him to meet his carpool at
6 a.m. when we were still in bd sleep. When
he got home at 10 p.m. or later, we were in
bed sleep. He was like a ghost ... we could
hear footsteps from time to time but never
really saw him,

And on the weekends he was always out with
his cousin Larry; the two were inseparable.
When you mentioned one you had to mention
the other — “Ralph and Larry” or “Larry and
Ralph.”

P.22

(XI) Agent Ross: “Okay, hold up. The king of
Wakanda is here. He cannot leave with Klaue
... All right, vibranium from the attack on
Sokovia links back to a person that I’m not
actually saying I’m here to make a deal with
but that deal will not be called off. When the
dust settles, you and me can work something
out.

T'Chalia: “I’m not here to make a deal ...”

It was not just what she did, but how she did
it. First of all, she would always make us
peanut butter and jelly sandwiches for lunch.
She always bought the crunchy peanut butter
because that what we liked. She would then
cut the sandwiches diagonally across the
corners, making two triangles. For your
birthday would bake you a cake in any style
you liked; she had 11 grandchildren in

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Agent Ross: “Please, don’t make me listen to
your music. I meant you got a lot of people
with you.”

Farmville, which equated to 11 birthday cakes
a year,
P.10

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EOE

you? Don’t worry. I can do a deal with you all
by myself, thank you very much.”
44:30 mark and 45:50 mark

(XID Black Panther: “Klaue! Did you think
we would forget? Look at me, murderer!
Where did you get this weapon?”

Ulysses Klaue: “You savages didn’t deserve
it. Oh mercy, King. Mercy.”

Black Panther: “Every breath you take is
mercy from me.”

Okoye: “King!”
53:00 mark

The little boy was still crying and acting up
while the mother shouted something in a
foreign language. The Swiss speak about five
different languages, but whatever she was
saying, I was certain it involved some “tea.”
Lake Geneva seemed as if it would go on
forever. I thought what a shame it was that
everybody from Farmville did not get the
opportunity to see the sun set over Lake
Geneva. And then it happened! The little
boy received his tea and in an instant, I was
back in Farmville, waiting for Grandma to
save me from Suzie. -

P.143

(XIII) Ulysses Klaue: “A technological
marvel all because it was built on the mound
of the most valuable metal known to man.
Isipho, they call it. The gift. Vibranium.”

Agent Ross: “Vibranium, yeah, strongest
metal on earth.”

Klaue: “It’s not just a metal. They sew it into
their clothes. It powers their city, their tech,
their weapons.”

Agent Ross: “Weapons?”

Klaue: “Yeah. Makes my arm cannon look
like a leaf blower.

Agent Ross: That’s a nice fairy tale but
Wakanda is a third world country and you
stole all their vibranium.”

Klaue: “I stole ... [laughing] all of it? I took a
tiny piece of it. They have a mountain full of

She would threaten my cousins, one in
particular, that “You going to the pen.” I’m
thinking like, “What pen ... the pig pen? And
why would you be sent to the pig pen for
being a big liar?” I was too young to
understand but she was fixated on keeping her
grandchildren “out the pen.”

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it. They’ ve been mining it for thousands of
years and they still haven’t scratched the
surface. I’m the only outsider who’s seen it
and got out of there alive. If you don’t believe
me, you ask your friend what his suit is made

56:00 mark

(XIV) T’Challa: “He’s not here. He slipped
through our hands.”

W’Kabi: “Slipped? For 30 years, your father
was in power and did nothing. With you, I
though it would be different. But it’s more of
the same.”

101:20 mark

She would threaten my cousins, one in
particular, that “You going to the pen.” [’m
thinking like, “What pen ... the pig pen? And
why would you be sent to the pig pen for
being a big liar?” I was too young to
understand but she was fixated on keeping her
grandchildren “out the pen.”

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(XV) T’Challa: “What happened to my uncle
N’Jobu? My father told me he disappeared.
There was a man today wearing a ring
identical to this one.”

Zuri: “That is not possible.”

T’Challa: “He helped Klaue escape from us
and he was wearing this ring! My
grandfather’s ring! Do not tell me what is
possible. Tell me the truth!”

Zuri: “Some truths are too much to bear,
T’Challa.”

T’Challa: “That is not your choice to make.
What happened to him?”

Zuri: “I promised the king to say nothing.”

T’Challa: “Tam your king now!”
1:04:10 mark

Whenever he came home from work
Sharmane usually met him in the driveway
before he could get out of the car ...
Grandpa was seemingly in three states —
going to work, at work, or coming from
work. We never saw him except for on
weekends. He worked the night shift for
decades and I never once heard the man
complain. He did whatever he had to do in
order to provide for his family. As much as
he was a killjoy, he definitely had our
respect, He worked hard and wasamanof |
means.

P.12

(XVI) Agent Ross: “All right, where am I?”
Shuri: “Don’t scare me like that colonizer.”

Agent Ross: “Coloniz ... What? My name is
Everett.”

For Mother’s Day the boys took on the girls

in a family softball game. The boys won of
course, but this nonsense was a spectacle.

You always knew whose mother was at bat
because the kid would stare at the ground out
of embarrassment or try to hide behind a tree.
First of all, my mother hit from the left side of
the plate. I mean, who does that? Then she

Shuri: “Yes, I know. Everett Ross. Former
Air Force pilot and now CIA.”

Agent Ross: “Right. Okay, is this Wakanda?”

pulled her right leg out before swinging, as if
she was afraid to get hit by the ball. You
were supposed step toward the pitcher, that
way you generate more power when swinging
through the ball. Who didn’t know that?

Shur: “No,it’s Kansas”

Agent Ross: “How long ago was Korea?”
Shuri: “Yesterday.”

Agent Ross: “I don’t think so. Bullet wounds
don’t just magically heal overnight.

Shuri: They do here, but not by magic, by
technology. Don’t touch anything. My brother
will return soon.”

Agent Ross: “These train things ... that ...
that’s magnetic levitation, right?”

Shuri: “Obviously.”

Agent Ross: “Obviously, but I have never
seen it this efficient. The light panels, what
are they.”

Shuri: “Sonic stabilizers.”

Agent Ross: “Sonic what?”

Shuri: “In its raw form vibranium is too
dangerous to be transported at that speed so I
... [developed a way to temporarily

deactivate it.”

Agent Ross: “There’s vibranium on those
trains?”

Shuri: “There’s vibranium all around us.”

1:09:00: mark

Then she couldn’t make contact with the ball
... embarrassing! It took her about 10 swings
before she could ever put the ball in play and
that was usually a weak ground ball. We
would pretend to misplay the ball so she
could get on base. Every year the boys would
destroy the girls.

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(XVID Killmonger: “I’m standing in your
house serving justice to a man who stole your
vibranium and murdered your people. Justice
your king couldn’t deliver.”

She did not tolerate laziness, or
insubordination. She also had a thing about
“putting your hands on something that didn’t
belong to you.” She would threaten my

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T’Challa: “I don’t care that you brought
Klaue. Only reason I don’t kill you where you
stand is because I know who you are. Now,
what do you want?”

cousins, one in particular, that “You going to
the pen.” I’m thinking like, “What pen ... the
pig pen? And why would you be sent to the
pig pen for being a big liar?” | was too young
to understand but she was fixated on keeping

her grandchildren “out the pen.

Killmonger: “I want the throne.”

Woman In Beads: (In Wakandan) “My
goodness.”

Killmonger: “Ya'll sittin’ up here
comfortable. Must feel good. It’s about two
billion people all over the world that look like
us. But their lives are a lot harder. Wakanda
has the tools to liberate ‘em all.”

T'Challa: “And what tools are those?”
Killmonger: “Vibranium. Your weapons.”

T’Challa: “Our weapons will not be used to
wage war on the world. It is not our way to be
judge, juror and executioner for people who
are not our own.”

Kilimonger: “Not your own? But didn’t life
start right here on this continent? So ain’t all
people your people?”

‘T’Challa: “I am not king of all people. I am
king of Wakanda. And it is my responsibility
to make sure our people are safe and that
vibranium does not fall into the hands of a
person like you.”

Killmonger: “Mmmm,”

Ramonda: “Son. We have entertained this
charlatan for too long. Reject his request.”

Killmonger: “Oh, I ain’t requesting nothing.
Ask who I am.”
1:13:40 mark

Whenever someone broke one of her rules
you knew the penalty — the switch. She
would make you go into the woods and pick
your own. Now there was a strategy to this.
The bigger the switch, the more stable it was,
the more it would hurt, and the longer the
beating would last. However, if you did not
get a big enough switch Grandma would have
Mr. Allen, the man she remarried later in life,
go get one. And he would come back with an
entire tree branch.

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(XVITD) Nakia: “You are the greatest warrior
Wakanda has. Help me overthrow him before
he becomes too strong.”

Okoye: “Overthrow? Nakia! [’m not a spy
who can come and go as they so choose! J am

She would threaten my cousins, one in
particular, that “You going to the pen.” [’'m
thinking like, “What pen ... the pig pen? And
why would you be sent to the pig pen for
being a big liar?” I was too young to

loyal to that throne, no ‘matter who sits upon —| understand but she was fixated on keeping her

it! What are you loyal too?”
Nakia: “I loved him. I loved my country too.”
Okoye: “Then you serve your country,”

Nakia: “No. I save my country.”

grandchildren “out the pen.”
P.1S

1:23:00 mark
(XIX) Killmonger: “The heart-shaped herb She would threaten my cousins, one in
did that? This all of tt?” particular, that “You going to the pen.” I’m

Wakandan: “Yes. So when it comes time for
another king, we will be ready.”

Killmonger: “Another king? Yeah, go ahead
and burn all that.”

Wakandan Woman: “My king, we cannot do
that. It is our tradition ...”

Killmonger: “When I tell you to do
something, I mean that shit ... Burn it all!”
1:28:30 mark

thinking like, “What pen ... the pig pen? And
why would you be sent to the pig pen for
being a big liar?” I was too young to
understand but she was fixated on keeping her
grandchildren “out the pen.”

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(XX) Agent Ross: “So where are we goin:
again?”

Nakia: “We’re taking the Heart-Shaped Herb
to Jabariland.”

Agent Ross: “Heart-Shaped Herb? What is
that?

Shuri: It gives whoever takes it heightened
abilities.”

Nakia: “It’s what made T’Challa so strong.”

Ramonda: “Nakia. I don’t like this. The Herb |

belongs to us. We make be creating a bigger
monster with M’Baku ... Nakia, you should
take it yourself.”

She would threaten my cousins, one in
particular, that “You going to the pen.” [’m
thinking like, “What pen ... the pig pen? And
why would you be sent to the pig pen for
being a big liar?” I was too young to
understand but she was fixated on keeping her
grandchildren “out the pen.”

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Nakia: “IT am a spy with no army. I wouldn’t |
stand a chance.”

Ramonda: “We'll go.”

C320 mark

(XX) T° Chaka: “The time has come for you
to come home and be reunited with me.” -

T’Challa: “Why? Why didn’t you bring the
boy home? Why Baba?”

T’Chaka: “He ... he was the truth I chose to
omit.”

T’Challa: “You were wrong to abandon him.”

T’Chaka: “I chose my people. I chose
Wakanda. Our future depended on ...”

T’Challa: “You were wrong! All of you were
wrong! To turn your backs on the rest of the
world! We let the fear of our discovery stop
us from doing what is right! No more! I
cannot stay here with you. I cannot rest while
he sits on the throne. He is a monster of our
own making. I must take the mantle back. I
must! I must right these wrongs.”

1:36:20 mark

She ruled more with the “carrot” than the
“stick.” It was not just what she did, but how
she did it. First of all, she would always
make us peanut butter and jelly sandwiches
for lunch. She always bought the crunchy
peanut butter because that’s what we liked.
She would then cut the sandwiches
diagonally across the corners, making two

triangles. For your birthday would bake you

a cake in any style you liked; she had 11
grandchildren in Farmville, which equated
to 11 birthday cakes a year. And whenever
you would cut your leg or hand from
playing outside or falling off your bike, she
would put hydrogen peroxide on it instead
of alcohol because peroxide didn’t sting. It
seems insignificant now but to a child that
stuff was important. You would never play
with reckless abandon if you knew that the
alcohol was waiting for you.

P.10

(XXID) M’Baku: “Are you done? ... Are you,
are you, are you done?”

T’Challa: “Could you give me and Lord
M’Baku a moment? ... Thank you.”
M’Baku: “I owed you a great debt. A life for
a life. Consider it paid.”

T’Challa: “Please allow my mother to stay
here.”

M’Baku: “No harm will come to her. I give
you my word.”

TC: “You know, I could use an army as well.”

She would threaten my cousins, one in
particular, that “You going to the pen.” I’m
thinking like, “What pen ... the pig pen?
And why would you be sent to the pig pen
for being a big liar?” I was too young to
understand but she was fixated on keeping
her grandchildren “out the pen.”

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M’Baku: “I bet you could. But no, I will give
no Jabari lives towards your cause.”

TC: “It is our cause. It is for all of us.”

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lease 6 eth os Gt Tepes
IVE Lah ir, M7, WoT Wor PU ait im Tirst BROTE
to come here in centuries and now you speak
of ‘us 393

T’Challa: “I cannot speak for past kings. But
an enemy sits on the throne right now. We
both know the power of vibranium. If
Killmonger gains control of it, who do you
think he will come for next?”

1:39:40 mark

of the Royal Talon with this.”

Agent Ross: “So what will I do?”

Shuri: “You'll have to fly it.”

Agent Ross: “What?”

Shuri: “You were a great pilot. Don’t worry.
Pll guide you through it. It’s just like riding a

hoverbike.”

Agent Ross: “What? You guys have
hoverbikes?”

Shuri: “Hey, Nakia, take that.”
Nakia: “Pm not a Dora.”

Shuri: “Just put it on it, 1's armor! Come!
Good luck, Agent Ross!”

Agent Ross: “Yeah, I don’t know what I’m
doing with this.”
1:45:20 mark

(XXIDD) Shuri: “Nakia and I will get control _

She would threaten my cousins, one in
particular, that “You going to the pen.” [’'m
thinking like, “What pen ... the pig pen? And
why would you be sent to the pig pen for
being a big liar?” I was too young to
understand but she was fixated on keeping her
grandchildren “out the pen.”

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EXHIBIT J — Notes And Sources

“P, ” is a reference to page numbers in the hardback copy of The Water Dancer and
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